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                    EXHIBIT C
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                                                                                 Page 1
 1             IN THE UNITED STATES DISTRICT COURT
 2            FOR THE EASTERN DISTRICT OF VIRGINIA
 3                     ALEXANDRIA DIVISION
 4
 5    _____________________________
                                   )
 6    LEAGUE OF UNITED LATIN       )
      AMERICAN CITIZENS - RICHMOND )
 7    REGION COUNCIL 4614, et al., )                          Civil Action
                                   )
 8           Plaintiffs,           )                          No. 1:18cv-00423
                                   )                              (LO/IDD)
 9    vs.                          )
                                   )
10    PUBLIC INTEREST LEGAL        )
      FOUNDATION, et al.,          )
11                                 )
             Defendants.           )
12    _____________________________)
13
14
15
16            VIDEOTAPED DEPOSITION OF NOEL JOHNSON
17                       Washington, DC
18                       April 12, 2019
19
20
21
22
23
24    Reported by: John L. Harmonson, RPR
25    Job No. 158968

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                                                                            Page 2
 1

 2

 3

 4

 5                                            April 12, 2019
 6                                            9:01 a.m.
 7

 8

 9          Videotaped Deposition of NOEL JOHNSON, held
10    at the offices of Skadden, Arps, Slate, Meagher &
11    Flom LLP, 1440 New York Avenue, N.W., Washington,
12    D.C., pursuant to the Federal Rules of Civil
13    Procedure, subject to such stipulations as may be
14    recited herein or attached hereto, before John L.
15    Harmonson, a Registered Professional Reporter and
16    Notary Public of the District of Columbia, who
17    officiated in administering the oath to the
18    witness.
19

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 2

 3    On behalf of the Plaintiffs:
 4          SKADDEN, ARPS, SLATE, MEAGHER & FLOM
 5          1440 New York Avenue, NW
 6          Washington, DC          20005
 7          BY:    SEAN TEPE, ESQ.
 8                 ANDREW HANSON, ESQ.
 9

10

11    On behalf of the Defendants:
12          FOLEY & LARDNER
13          3000 K Street, NW
14          Washington, DC          20007
15          BY:    MICHAEL LOCKERBY, ESQ.
16

17

18    ALSO PRESENT:
19          J. CHRISTIAN ADAMS
20          NAM NGO, Legal Video Specialist
21

22

23

24

25


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                                                                            Page 9
 1   -------------------------------------------------
 2                      P R O C E E D I N G S
 3                                9:01 a.m.
 4   -------------------------------------------------
 5                  THE VIDEOGRAPHER:                 This is the start
 6          of tape labeled number 1 of the videotaped
 7          deposition of Noel Johnson, in the matter of
 8          League of United Latin American Citizens, et
 9          al. v. Public Interest Legal Foundation, et
10          al., in the United States District Court for
11          the Eastern District of Virginia, Case
12          Number 1:18cv423.
13                  This deposition is being held at 1440
14          New York Avenue, Northwest, Washington, D.C.
15          20005, on April 12, 2019, at approximately
16          9:01 a.m.
17                  My name is Nam Ngo from TSG Reporting,
18          and I'm the legal video specialist.                      The
19          court reporter is John Harmonson in
20          association with TSG Reporting.
21                  Will counsel please introduce
22          yourself.
23                  (Whereupon, counsel placed their
24          appearances on the video record.)
25   //

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                                                                           Page 10
 1   Whereupon,
 2                              NOEL JOHNSON,
 3   after having been first duly sworn or affirmed,
 4   was examined and did testify under oath as
 5   follows:
 6                  MR. TEPE:          And for the record,
 7          Mr. Christian Adams is also here attending
 8          the deposition.
 9                                EXAMINATION
10   BY MR. TEPE:
11          Q.      Mr. Johnson, can you state your full
12   name for the record.
13          A.      Noel Henry Johnson.
14          Q.      Have you been deposed before?
15          A.      No.
16          Q.      Have you testified under oath before?
17          A.      Yes.
18          Q.      In what capacity?
19          A.      It was a car accident involving
20   someone else.
21          Q.      When was this?
22          A.      Around 2003.
23          Q.      So this was at a trial?
24          A.      It was not a trial.                   It was a brief
25   hearing.      I'm not sure of the nature of the

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                                                                          Page 11
 1   proceeding, but I was asked a question.
 2          Q.      Have you testified under oath in any
 3   other proceedings?
 4          A.      Not that I recall, no.
 5          Q.      You understand you're under oath
 6   today?
 7          A.      I do.
 8          Q.      Is there any reason why you cannot
 9   give truthful and accurate testimony today?
10          A.      No.
11          Q.      Before we get underway, and
12   particularly since you haven't been deposed
13   before, and I assume your counsel, Mr. Lockerby,
14   has gone through some of the ground rules, but
15   just to make sure we're on the same page I'll go
16   through some of those.
17                  The first thing is please provide
18   verbal responses, no nodding.                     Is that okay?
19          A.      That's okay.
20          Q.      All right.          And if you can wait until
21   I finish the question so we're not talking over
22   each other.       Can you do that?
23          A.      I can.
24          Q.      Counsel may object to some of my
25   questions, but you must answer unless you're

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                                                                               Page 12
 1   specifically instructed not to answer.                           Okay?
 2          A.      Okay.
 3          Q.      If you are confused by my question,
 4   I'm more than happy to restate it.                          Just let me
 5   know.     Okay?
 6          A.      Okay.
 7          Q.      And I usually go about 60 to 90
 8   minutes before sort of taking a break, but if at
 9   any time you want to take a break, just let me
10   know.     The only thing I ask is that if I have a
11   question pending, you answer the question and
12   then we can take a break.                  Okay?
13          A.      Okay.
14          Q.      Did you do anything to prepare for
15   today's deposition?
16          A.      Yes.
17          Q.      What did you do?
18          A.      I met with my attorney.
19          Q.      Who is that?
20          A.      Mr. Lockerby.
21          Q.      Did you meet with anyone else?
22          A.      No.
23          Q.      So to prepare for today's deposition,
24   you met with Mr. Lockerby and no one else?
25          A.      Correct.

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                                                                          Page 13
 1          Q.      When did you meet with Mr. Lockerby?
 2          A.      Yesterday.
 3          Q.      And for how long?
 4          A.      It was all day.
 5          Q.      Did you look at documents?
 6          A.      I did.
 7          Q.      Did any of those documents refresh
 8   your recollection of the matters involved in this
 9   case?
10          A.      Yes.
11          Q.      What documents were those?
12          A.      I don't have a specific recollection
13   of every document.
14          Q.      But there were a number?
15          A.      What do you mean by number?
16          Q.      More than one?
17          A.      More than one, yes.
18          Q.      Did you talk to anyone else about your
19   deposition today other than Mr. Lockerby?
20          A.      Yes.
21          Q.      Who?
22          A.      I told my wife it was happening.
23          Q.      Anyone else?
24          A.      I probably told others at my office it
25   was happening.

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                                                                          Page 14
 1          Q.      Did you talk to Mr. Adams about your
 2   testimony?
 3          A.      Yes.
 4          Q.      And what did you discuss?
 5          A.      Well, not about my testimony, no.
 6          Q.      Did you talk to Mr. Adams about the
 7   fact that you were being deposed today?
 8          A.      Yes.
 9          Q.      And in that regard, what did you
10   discuss?
11          A.      We had -- we briefly discussed the
12   testimony -- or the deposition of Clara Belle
13   Wheeler.
14          Q.      And what did you discuss there?
15          A.      He mentioned that she was not
16   represented by counsel.                 He mentioned -- I'm not
17   recalling exactly what he mentioned other than
18   that.
19          Q.      Did Mr. Adams mention that he was in
20   attendance at the Clara Belle Wheeler deposition?
21          A.      Yes.
22          Q.      Did he tell you about anything that
23   happened in that deposition?
24          A.      Yes.
25          Q.      What did he tell you about?

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                                                                          Page 15
 1          A.      I think he mentioned some of the line
 2   of questioning that they gave, that she was
 3   asked.
 4          Q.      Did he explain why he was telling you
 5   this?
 6          A.      No.
 7          Q.      Did you ask for this information?
 8          A.      No.
 9          Q.      And you don't recall what he told you?
10          A.      I'm not recalling what he told me.
11   Sorry.      He mentioned that they had asked her
12   questions about who -- who she associates with.
13          Q.      Other than Mr. Adams telling you
14   certain things about what transpired at the
15   Wheeler deposition, was there anything else that
16   Mr. Adams told you in preparation for today's
17   deposition?
18          A.      Yes.
19          Q.      And what was that?
20          A.      We discussed some of the questions
21   that were asked by Ms. Riggs of Edgardo Cortes.
22          Q.      Such as?
23          A.      Her line of questioning regarding the
24   process at DMV for citizenship verification; the
25   process for creating the VERIS reports that

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                                                                          Page 16
 1   reflect noncitizen cancellations.
 2          Q.      Anything else?
 3          A.      Not that I recall.
 4          Q.      So it's not the case that in
 5   preparation for today's deposition you only spoke
 6   with Mr. Lockerby, correct?
 7                  MR. LOCKERBY:             Object to the form.
 8          Misstates the witness's testimony.
 9   BY MR. TEPE:
10          Q.      You can clarify.
11          A.      Please repeat the question.
12          Q.      So it's not the case that in
13   preparation for today's deposition you only spoke
14   with Mr. Lockerby, correct?
15          A.      I guess it depends on how you define
16   "preparation."        If you could define "preparation"
17   for me, I can answer the question.
18          Q.      If I have to define "preparation" then
19   I think I'm going to have to extend the length of
20   this deposition today.
21                  MR. LOCKERBY:             And I'm going to object
22          to the form of the question.
23                  MR. TEPE:         Because it wasn't a
24          question.
25   BY MR. TEPE:

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                                                                                     Page 17
 1          Q.      Well, when I asked -- also I asked if
 2   you had talked to anyone else about today's
 3   deposition.       You didn't actually volunteer that
 4   you had conversations with Mr. Adams.                            Is that
 5   correct?
 6          A.      I did eventually.
 7          Q.      Eventually?
 8          A.      Right.
 9          Q.      When I use the word "you" today, I'm
10   going to be referring to you as a person.                           If
11   there is any question as to whether or not I'm
12   referring to you or PILF, just let me know.                              I'll
13   try and say when I'm talking about PILF, I'll
14   mention PILF.
15                  Now, what is PILF?
16          A.      It's a legal foundation.
17          Q.      Public Interest Legal Foundation?
18          A.      Correct.
19          Q.      And is that your current employer?
20          A.      Yes.
21          Q.      What is your title at PILF?
22          A.      I don't have an official title.                       I go
23   by litigation counsel.
24          Q.      How long have you been at PILF?
25          A.      Around June of 2012.                    But at that time

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                                                                           Page 18
 1   it was known as ActRight Legal Foundation.
 2          Q.      What are your responsibilities as
 3   litigation counsel?
 4          A.      I do research, education, and
 5   litigation.
 6          Q.      Can you describe what research you do
 7   in your capacity as litigation counsel?
 8                  MR. LOCKERBY:             I'm just going to
 9          object to the extent that the question seeks
10          to invade the attorney-client privilege.                  If
11          the question is about general types of
12          research, I would have no instruction not to
13          answer.     However, if the question seeks to
14          determine specific research that Mr. Johnson
15          has undertaken for specific clients, I would
16          instruct him not to answer.
17                  THE WITNESS:            Generally speaking, I
18          review election and voter registration data.
19          I research laws in various states and at the
20          federal level.          Other issues related to
21          elections and election laws.
22   BY MR. TEPE:
23          Q.      I should have asked before, where do
24   you work in terms of geographic location?
25          A.      Indianapolis, Indiana.

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                                                                               Page 19
 1          Q.      And PILF is an Indianapolis, Indiana,
 2   organization.        Is that right?
 3          A.      Correct.
 4          Q.      But Mr. Adams works in Virginia.                    Is
 5   that right?
 6          A.      Yes.
 7          Q.      How do you I guess transact business
 8   with Mr. Adams in Virginia and PILF in Indiana?
 9          A.      Can you define what you mean by
10   "transact business"?
11          Q.      How do you accomplish your daily
12   tasks?
13          A.      With Mr. Adams?
14          Q.      Uh-huh.
15          A.      We use e-mail or speak on the
16   telephone.
17          Q.      So then in terms of written product,
18   e-mail is the main way that you transact business
19   with Mr. Adams?
20          A.      Yes.
21          Q.      You had mentioned research, education
22   and litigation.          Generally speaking, what is the
23   education aspect of your responsibilities?
24          A.      I have helped produce reports.                    I have
25   written material for the media.

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                                                                              Page 20
 1          Q.      What do you mean, you have written
 2   material for the media?
 3          A.      Op-eds, for example.
 4          Q.      And what kind of reports have you
 5   written?
 6          A.      Reports showing -- touching on voter
 7   registration matters.
 8          Q.      Such as the Alien Invasion reports?
 9          A.      That would be one example.
10          Q.      You said litigation.                   Can you describe
11   that aspect of your job?
12          A.      I act as an attorney for the
13   foundation and for foundation clients.
14          Q.      Who are foundation clients?
15                  MR. LOCKERBY:             I'll object to the form
16          to the extent it seeks the identity of
17          clients whose identity is not publicly
18          known.
19                  MR. TEPE:         Fair enough.
20                  THE WITNESS:            Can you better explain
21          what you're asking?
22   BY MR. TEPE:
23          Q.      Well, you said you act as an attorney
24   for foundation clients, and then I asked who are
25   the foundation clients.

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                                                                               Page 21
 1          A.      They're the clients we represent.
 2          Q.      But who are they?
 3          A.      Their identity?
 4          Q.      Yes.
 5                  MR. LOCKERBY:              I'm going to object to
 6          the relevancy of this.                     To the extent that
 7          the identity of certain clients is a matter
 8          of public record is reflected in public
 9          filings, I'm not instructing the witness not
10          to answer.        However, to the extent that the
11          identity of clients is not publicly known, I
12          am instructing the witness not to answer.
13                  THE WITNESS:             All I know is I can
14          recall the Virginia Voters Alliance.                       David
15          Norcross.       The American Civil Rights Union.
16   BY MR. TEPE:
17          Q.      Any others coming to mind?
18          A.      We have been a client ourselves, the
19   foundation.
20          Q.      How many -- Strike that.
21                  Do you appear in court on behalf of
22   your clients or the foundation?
23          A.      Yes.
24          Q.      And how many cases do you have as an
25   active docket?

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                                                                                Page 22
 1          A.      That I am counsel of record?
 2          Q.      Correct.
 3          A.      Right now I can think of two.
 4          Q.      Do you oversee the work of others as
 5   litigation counsel?
 6          A.      What do you mean by "oversee"?
 7          Q.      Manage.
 8          A.      I have no subordinates if that's what
 9   you're asking.
10          Q.      That's not what I'm asking.                      I'm
11   saying do you manage other individuals at PILF as
12   part of your responsibilities?
13          A.      I'm not in a management position of
14   anyone else that I would say.
15          Q.      But does it depend on the project?                     On
16   certain projects you're sort of coordinating and
17   managing those projects?
18          A.      I would say that I have supervisory
19   responsibility on the cases of which I am counsel
20   of record.       Others may do work that I review.
21          Q.      And do you have supervisory
22   responsibility for certain reports that you're
23   drafting?
24          A.      I have, yes.
25          Q.      Have you ever made media appearances

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                                                                              Page 23
 1   on behalf of PILF?
 2          A.      Yes.
 3          Q.      Can you recall what those media
 4   appearances are -- or were, should I say?
 5          A.      Yes.
 6          Q.      What are they?
 7          A.      I recall a radio appearance I did in
 8   Wisconsin related to a voter ID lawsuit in I
 9   think 2015.
10                  I can recall an appearance on the Bret
11   Baier show in I believe 2017.
12                  I don't recall any others.
13          Q.      And that appearance on Bret Baier,
14   PILF depended on you to discuss the findings of
15   Alien Invasion II.            Is that right?
16          A.      I discussed some of the findings of
17   Alien Invasion II in that interview, yes.
18          Q.      And am I correct that PILF has trusted
19   you to provide testimony to government bodies on
20   its behalf?
21          A.      Yes, I've done that.
22          Q.      What bodies?
23          A.      I have appeared before the Privileges
24   and Elections Commission in the Virginia general
25   assembly; I think it was a joint session.                        And I

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                                                                          Page 24
 1   appeared before a committee in Pennsylvania,
 2   although I cannot recall the name.
 3          Q.      Have you appeared before other
 4   committees?
 5          A.      Not that I recall.
 6          Q.      I think you mentioned you supervised
 7   the preparation of the Alien Invasion reports.
 8   Is that right?
 9          A.      Yes.
10          Q.      You drafted those reports?
11          A.      The drafting was a collective effort.
12          Q.      You wrote the first draft?
13          A.      Yes.
14          Q.      And you oversaw sort of finalization
15   of the product?
16          A.      Yes.
17          Q.      And PILF relied on you to have
18   correspondence with Virginia election officials,
19   correct?
20          A.      Correct.
21          Q.      If I asked you to describe the Public
22   Interest Legal Foundation, how would you describe
23   it?
24          A.      Are you asking me to describe it?
25          Q.      I said how would you describe it.

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                                                                           Page 25
 1          A.      I would describe it as a 501(c)(3)
 2   corporation that focuses on election integrity
 3   and the preservation of the constitutional
 4   framework under which states and the federal
 5   government share control of elections.
 6          Q.      Would you describe it as nonpartisan?
 7          A.      Yes.
 8          Q.      Why?
 9          A.      Because it is.
10          Q.      That's kind of conclusory.                        So
11   again --
12                  MR. LOCKERBY:              Object to the form.
13          Actually, there was no question to object
14          to.    It was a gratuitous comment.
15   BY MR. TEPE:
16          Q.      All right.           So I asked would you
17   describe PILF as nonpartisan, and you answered
18   yes.
19          A.      I did.
20          Q.      And what is the basis for you saying
21   that PILF is nonpartisan?
22          A.      We do not act in a partisan manner.
23          Q.      Can you answer that question without
24   using the word "partisan"?
25          A.      Our activities have been reviewed by

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                                                                              Page 26
 1   the Internal Revenue Service, and we have been
 2   approved as a 501(c)(3) legal foundation.                       One of
 3   those requirements is that we do not act in a
 4   partisan manner.
 5          Q.      And when you say "We do not act in a
 6   partisan manner," what do you mean by that?
 7          A.      We do not intervene in political
 8   campaigns on the side of one partisan interest
 9   over another.
10          Q.      What do you mean, "We do not intervene
11   in political campaigns"?
12          A.      We do not advocate the election or
13   defeat of an identified candidate.
14          Q.      You don't publicly advocate for the
15   election or defeat of a particular candidate,
16   correct?
17                  MR. LOCKERBY:             Object to the form of
18          the question.
19                  THE WITNESS:            Correct.
20   BY MR. TEPE:
21          Q.      But you privately support the election
22   or defeat of particular candidates, correct?
23                  MR. LOCKERBY:             Object to the form of
24          the question.         Also it's undefined as to
25          whether "you" means Mr. Johnson or PILF.

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                                                                          Page 27
 1                  MR. TEPE:         Fair enough.
 2   BY MR. TEPE:
 3          Q.      But PILF privately supports the
 4   election or defeat of particular candidates,
 5   correct?
 6          A.      No, I wouldn't say that.
 7          Q.      PILF works with political parties,
 8   correct?
 9                  MR. LOCKERBY:             Object to the form.
10                  THE WITNESS:            Define "works with."
11   BY MR. TEPE:
12          Q.      You don't know what "works with"
13   means?
14                  MR. LOCKERBY:             I'm going to object to
15          form.     It's vague.           It's not clear as to
16          whether the question is directed to PILF
17          having clients that are political parties or
18          something else.
19   BY MR. TEPE:
20          Q.      PILF coordinates with political
21   parties on certain activities, yes?
22                  MR. LOCKERBY:             Object to the form.
23                  THE WITNESS:            No, I don't recall us
24          coordinating with a political party on
25          certain activities.

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                                                                          Page 28
 1   BY MR. TEPE:
 2          Q.      You had mentioned before, I think,
 3   that PILF was once known as ActRight Legal
 4   Foundation.
 5          A.      I did mention that.
 6          Q.      And do you recall when PILF changed
 7   its name from ActRight Legal Foundation to Public
 8   Interest Legal Foundation?
 9          A.      I don't recall the exact date.
10                  (Exhibit 1 marked for identification
11          and attached hereto.)
12                  MR. TEPE:          The court reporter has
13          marked as Exhibit 1 a document.
14   BY MR. TEPE:
15          Q.      Do you recognize this?
16          A.      It looks like my LinkedIn profile.
17          Q.      And your profile has you working for
18   ActRight Legal Foundation from 2012 to the
19   present, right?
20          A.      That's what the document says.
21          Q.      Is there any distinction between
22   ActRight Legal Foundation and Public Interest
23   Legal Foundation in your mind?
24          A.      Yes.
25          Q.      And what's that distinction?

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                                                                            Page 29
 1          A.      At the time the name was changed we
 2   had some change in focus of our organizational
 3   mission, I'll call it.
 4          Q.      And what was that change in focus?
 5          A.      With ActRight Legal Foundation we were
 6   a little more -- we were a little broader in our
 7   focus on matters of public interest, and along
 8   with the name change came more of a focus on
 9   election integrity and those types of matters.
10          Q.      Many of the same people who worked for
11   ActRight Legal Foundation currently work for
12   Public Interest Legal Foundation, correct?
13          A.      Some of them do.
14          Q.      Yourself is one?
15          A.      I am one.
16          Q.      Who else?
17          A.      Kaylan Phillips.                   Shawna Powell.   I
18   believe those are the only employees who have --
19          Q.      What about Mr. Vanderhulst?
20          A.      No.
21          Q.      Some of the board members are the
22   same?
23          A.      Yes.
24          Q.      And in what kind of work did ActRight
25   Legal Foundation engage in?

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                                                                          Page 30
 1          A.      I would describe it as a number of
 2   matters including free speech, religious freedom.
 3   Those are the only two that I can recall
 4   generally speaking.            Other constitutional rights.
 5          Q.      Was ActRight Legal Foundation involved
 6   in, generally speaking, conservative causes?
 7                  MR. LOCKERBY:             Object to the form.
 8                  THE WITNESS:            You might say that,
 9          yeah.
10   BY MR. TEPE:
11          Q.      According to your profile, before
12   working for ActRight Legal Foundation you worked
13   as an attorney for the Bopp Law Firm.
14          A.      Correct.
15          Q.      What kind of law did the Bopp Law Firm
16   practice in at that time?
17          A.      Campaign finance and First Amendment.
18          Q.      It was also conservative focused --
19                  MR. LOCKERBY:             Objection.
20   BY MR. TEPE:
21          Q.      -- in its political leanings?
22          A.      I don't consider the First Amendment
23   to be a conservative viewpoint, if that's what
24   you're asking.
25          Q.      It's not what I'm asking.

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                                                                           Page 31
 1          A.      I think some might characterize it
 2   that way, but I don't think defense of the First
 3   Amendment is conservative or liberal, if that's
 4   what you mean.
 5          Q.      No, I'm just asking questions.
 6                  MR. TEPE:         Can we go off the record?
 7                  THE VIDEOGRAPHER:                 We are going off
 8          the record.        The time is 9:29 a.m.
 9                  (Off the record.)
10                  THE VIDEOGRAPHER:                 We are back on the
11          record.     The time is 9:30 a.m.
12                  (Exhibit 2 marked for identification
13          and attached hereto.)
14   BY MR. TEPE:
15          Q.      The court reporter is handing you a
16   document marked Exhibit 2.
17                  Do you recognize this document?
18          A.      Is it the whole stack or just the top
19   page?
20          Q.      The whole stack.
21          A.      Yes, I've seen this before.
22          Q.      This is an e-mail that begins with an
23   e-mail from Rizwana Ahmad with the Prince William
24   County election office.                Is that right?
25          A.      The bottom e-mail on the first page,

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                                                                                Page 32
 1   that's correct.
 2          Q.      And he sent this e-mail on August 16,
 3   2016, to PILF.         Is that right?
 4          A.      Correct.
 5          Q.      And was this sent to PILF's general
 6   e-mail mailbox?
 7          A.      It looks like it was sent to the
 8   contact e-mail at the foundation.
 9          Q.      And then you forwarded that on to some
10   other folks at PILF, correct?
11          A.      Correct.
12          Q.      Let me direct your attention to one of
13   the attachments to the e-mail.                       If you go to the
14   document with the Bates number 9067.
15                  Do you recognize this document?
16          A.      I've seen it before.
17          Q.      And it's a letter drafted to the
18   Prince William registrar.                  Is that correct?
19          A.      It does say it's to the general
20   registrar, Michele White, and that it was
21   received by the Prince William County registrar
22   and elections office.
23          Q.      So date of this letter is August 8th?
24          A.      Yes.
25          Q.      It's signed by Shawna Powell.                     Is that

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                                                                              Page 33
 1   right?
 2          A.      Yes.
 3          Q.      And she's the secretary of PILF?
 4          A.      Yes.
 5          Q.      And that's like an officer position,
 6   correct?
 7          A.      I believe so.
 8          Q.      You were involved in the drafting of
 9   this letter, correct?
10          A.      I think I was, yes.
11          Q.      So the letter starts by saying:                   "I am
12   writing on behalf of the Public Interest Legal
13   Foundation to request inspection of records
14   related to your office's voter list maintenance
15   obligations under the National Voter Registration
16   Act of 1993."
17                  Do you see that?
18          A.      I see that.
19          Q.      And the National Voter Registration
20   Act is commonly known as the NVRA?
21          A.      Yes.
22          Q.      And two paragraphs below that the
23   letter explains:           "The NVRA requires your office
24   to make available for public inspection all
25   records concerning the implementation of programs

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                                                                           Page 34
 1   and activities conducted for the purpose of
 2   ensuring the accuracy and currency of official
 3   lists of eligible voters."                  Correct?
 4          A.      That's what the -- that's what this
 5   letter says, yes.
 6          Q.      And then pursuant to this section of
 7   the NVRA, PILF makes a records request of Prince
 8   William County, correct?
 9          A.      Correct.
10          Q.      And the first request is for, quote,
11   documents regarding all registrants who are
12   identified as potentially not satisfying the
13   citizenship requirements for registration.
14   Correct?
15          A.      That's part of the first sentence,
16   yes.
17          Q.      It goes on "from any information
18   source including the Department of Motor Vehicles
19   and the State Board of Elections."                         Correct?
20          A.      Correct.
21          Q.      This request doesn't ask for who were
22   determined by Prince William County to be
23   noncitizens, does it?
24                  MR. LOCKERBY:             Object to the form.
25          The document speaks for itself.

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                                                                          Page 35
 1                  THE WITNESS:            I think that's one thing
 2          that is responsive to this request.
 3   BY MR. TEPE:
 4          Q.      That wasn't the question I was asking.
 5   I was asking this request does not seek a list of
 6   registrants who were determined by Prince William
 7   County to be noncitizens, does it?
 8                  MR. LOCKERBY:             Objection; asked and
 9          answered.
10                  THE WITNESS:            I think it does.
11   BY MR. TEPE:
12          Q.      How so?
13          A.      A record showing those that they
14   determined not to be citizens would be responsive
15   to the request.
16          Q.      And so would a list of individuals
17   who, as is stated here in the record, are
18   potentially not satisfying the citizenship
19   requirements.        True?
20          A.      That would also be responsive, I
21   think, yes.
22          Q.      Where did the idea for this request
23   come from?
24          A.      I don't recall.
25          Q.      Well, you drafted this letter,

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                                                                               Page 36
 1   correct, a version of it at least?
 2          A.      Again, I think I did.
 3          Q.      Do you recall why you were drafting
 4   this letter?
 5          A.      To obtain the records we requested.
 6          Q.      And why were you seeking these
 7   records?
 8          A.      We were exploring the extent of
 9   noncitizen registration in Virginia.
10          Q.      Were you looking for a particular
11   record?
12          A.      At this time, I'm not sure.                      We were
13   looking for the records that are described or
14   that are requested, whatever the registrar may
15   have.
16          Q.      Similar letters were sent to other
17   jurisdictions in Virginia, correct?
18          A.      Correct.
19          Q.      If you flip to the previous two pages
20   with the number on the bottom of 9065.                          Do you
21   see that?
22          A.      I see it.
23          Q.      And this is a letter back from the
24   Prince William County Office of Elections in
25   response to your PILF's August 8th letter,

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                                                                          Page 37
 1   correct?
 2          A.      That's what it says, yes.
 3          Q.      And in the second paragraph it says:
 4   "You have requested the inspection of records
 5   related to voter maintenance, especially those
 6   identified as potentially not satisfying the
 7   citizenship requirements for registration."
 8   Correct?
 9          A.      Correct.
10          Q.      And the end of that, that's PILF's
11   language from the previous August 8th letter,
12   correct?
13          A.      Yeah.      It's not verbatim but it's --
14          Q.      But you used the same "potentially not
15   satisfying the citizenship requirements"?
16          A.      It does, yes.
17          Q.      And then in the next paragraph Prince
18   William states:         "In response to your information
19   request, I am providing a PDF of Prince William
20   cancellation - declared noncitizen list dating
21   back from January 1, 2011, to the present date."
22   Is that right?
23          A.      Correct.
24          Q.      Is there anything in this letter that
25   states that people in the list that they were

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                                                                          Page 38
 1   providing were determined by Prince William
 2   County to not be U.S. citizens?
 3                  MR. LOCKERBY:              Object to the form.
 4          The document speaks for itself.
 5                  THE WITNESS:             Yes.
 6   BY MR. TEPE:
 7          Q.      Where is that language?
 8          A.      The second paragraph says that she is
 9   providing a PDF of Prince William County
10   cancellation - declared noncitizen.
11          Q.      No.     I asked -- my question was is
12   there anything in this letter that states that
13   people in the list that they were providing,
14   which is what you just mentioned, were determined
15   by Prince William County to not be U.S. citizens?
16                  MR. LOCKERBY:              Object to the form.
17          Asked and answered.                The fact that counsel
18          doesn't like the answer doesn't mean he is
19          entitled to ask the question over and over
20          again.
21   BY MR. TEPE:
22          Q.      You can answer.
23          A.      Yes.      It says declared noncitizen.
24          Q.      Declared by whom?
25          A.      The letter does not say.

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                                                                          Page 39
 1          Q.      So you have made some interpretations
 2   as to what this list shows, correct?
 3                  MR. LOCKERBY:             Object to the form.
 4                  THE WITNESS:            The letter -- the
 5          language speaks for itself.                     They were
 6          declared noncitizen.
 7   BY MR. TEPE:
 8          Q.      Again, the question was declared by
 9   whom?     Not Prince William County, correct?
10                  MR. LOCKERBY:             Object to the form.
11                  THE WITNESS:            It does not say that
12          Prince William County did not declare them,
13          no.
14   BY MR. TEPE:
15          Q.      And it doesn't say that Prince William
16   County did declare them noncitizens, does it?
17          A.      Well, it does say declared noncitizen.
18          Q.      Right.
19          A.      It being a record of Prince William
20   County, yes, I would interpret that to mean
21   Prince William County or the registrant
22   themselves have declared them a noncitizen.
23   Either way --
24          Q.      And do you know how they did this
25   declaration?

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                                                                          Page 40
 1          A.      I'm not sure of the question you're
 2   asking.
 3          Q.      Well, you just said that you're
 4   interpreting from the three words -- or actually
 5   it's two words, "declared noncitizen," that
 6   Prince William County made a determination that
 7   these individuals on the list were noncitizens.
 8   And I'm asking you, to your knowledge, how did
 9   they go about making this determination?
10          A.      Well, what I said was either Prince
11   William County or the registrant themselves who
12   appears in the list has made the declaration.
13          Q.      And I'm asking you again, how did they
14   go about doing that?
15          A.      As I understand it, the way the list
16   is compiled, it is a list of people who indicated
17   at the DMV that they are not a citizen, under
18   oath.     The DMV compiles a list of those
19   individuals, transmits it to the Department of
20   Elections, who then transmits it to the county
21   election offices.           Their registrations are then
22   canceled based on either a declaration under oath
23   by the registrants themselves.
24          Q.      Under this process, isn't it correct
25   that the registrants who are canceled can provide

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                                                                          Page 41
 1   an affirmation that says actually yes, I am truly
 2   a citizen?
 3          A.      I believe the law requires the county
 4   election official to send them an affirmation for
 5   them to sign.
 6          Q.      Right.       And if they receive that
 7   affirmation within two weeks, then they're not
 8   canceled from the rolls?
 9                  MR. LOCKERBY:             Object to the form of
10          the question.
11                  THE WITNESS:            If who receives it in
12          two weeks?
13   BY MR. TEPE:
14          Q.      The registrar.
15          A.      I understand if it is returned by the
16   registrant with a signature declaring --
17   affirming that they are in fact a citizen, the
18   registrar is not supposed to cancel their
19   registration.
20          Q.      And in the process that you just
21   outlined, there was no investigation by Prince
22   William County into whether or not these people
23   are citizens.        Is that right?
24                  MR. LOCKERBY:             Object to the form.
25                  THE WITNESS:            The investigation would

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                                                                          Page 42
 1          be reviewing the list sent to them by the
 2          Department of Elections of all people who
 3          indicated at the Department of Motor
 4          Vehicles under oath that they are not a
 5          citizen.      So yes, they have investigated the
 6          matter.
 7   BY MR. TEPE:
 8          Q.      So they receive a list and then they
 9   send out a mailer, correct?
10                  MR. LOCKERBY:             Object to the form.
11          Asked and answered.               Misstates the witness's
12          prior testimony.
13                  THE WITNESS:            If by "mailer" you mean
14          the affirmation of citizenship, then that is
15          sent -- supposed to be sent to everyone on
16          that list.
17   BY MR. TEPE:
18          Q.      And -- now, how do you get onto the
19   voter registration rolls to begin with?
20          A.      Where?
21          Q.      In Virginia.
22          A.      There are a number of ways, as I
23   understand it.
24          Q.      You have to file -- fill out a voter
25   registration application, correct?

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                                                                          Page 43
 1          A.      I'm not completely familiar with the
 2   law, but yes, I believe that's one way.
 3          Q.      How else do you get onto the voter
 4   rolls in Virginia?
 5          A.      I don't know of any other way.
 6          Q.      And so when you fill out that voter
 7   registration application, there is a question as
 8   to whether or not you are a U.S. citizen,
 9   correct?
10          A.      There is supposed to be, yes.
11          Q.      And there is -- to your knowledge,
12   there is one?
13          A.      Yes.
14          Q.      And so those individuals who check
15   "Yes" are supposed to then, assuming the rest of
16   the application is fine, go on the voter rolls,
17   correct?
18          A.      If they are otherwise eligible, yes.
19          Q.      And that affirmation of citizenship at
20   the beginning is also under oath, correct?
21          A.      Correct.
22          Q.      But then as you understand it and as
23   you just described, there is at some point some
24   contrary information about citizenship that is
25   provided to the DMV that is then transmitted to

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                                                                          Page 44
 1   election officials that triggers this notice of
 2   potential cancellation.                Is that right?
 3          A.      The process you described sounds
 4   right, yes.
 5          Q.      So let's just briefly look at the PDF
 6   that Prince William County sent a couple of pages
 7   later.      Do you see that?
 8          A.      Starting on 9070?
 9          Q.      Correct.
10          A.      Yes, I'm there.
11          Q.      And this is a form that has listed at
12   the top "Cancellation - Declared Noncitizen"
13   underneath Prince William County, correct?
14          A.      Correct.
15          Q.      And there is a list of individuals
16   with their home addresses.                  Is that right?
17          A.      Correct.
18          Q.      Their voter registration ID?
19          A.      Correct.
20          Q.      A date of cancellation?
21          A.      Correct.
22          Q.      And a column called "Canceled Type"?
23          A.      Correct.
24          Q.      And that's where it says declared
25   noncitizen, right?

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                                                                          Page 45
 1          A.      It says that under "Canceled Type" as
 2   well as two other places.
 3          Q.      And there are other cancel types in
 4   the records maintained by Virginia election
 5   officials, correct?
 6          A.      Correct.
 7          Q.      There's like mentally incapacitated,
 8   correct?
 9          A.      That's one type, yes.
10          Q.      Are you aware of some other types of
11   cancellations?
12          A.      Yes.
13          Q.      What are some of the other ones?
14          A.      Deceased.          They are canceled if they
15   die.
16                  They are canceled if they move out of
17   the jurisdiction.
18                  I believe they're canceled if they
19   request cancellation.
20          Q.      So there are a variety of cancel
21   types?
22          A.      Yes.
23          Q.      And on this list from Prince William
24   County there are 433 names.                       Is that right?
25          A.      On page 9098 it says that declared

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                                                                          Page 46
 1   noncitizen total is 433.                 But I did not count the
 2   number of names.
 3          Q.      And it's for the period January 1,
 4   2011, through August 16, 2016.                      Is that right?
 5          A.      That's what it purports to be.
 6          Q.      When PILF received this list from
 7   Prince William County, do you recall if people at
 8   PILF were happy?
 9                  MR. LOCKERBY:             Object to the form of
10          the question.
11                  THE WITNESS:            I don't recall.
12   BY MR. TEPE:
13          Q.      Do you recall anyone saying in
14   response that "You hit pay dirt"?
15          A.      I can't say for sure if I recall that,
16   no.
17                  (Exhibit 3 marked for identification
18          and attached hereto.)
19                  THE WITNESS:            Are you all done with
20          this one?
21   BY MR. TEPE:
22          Q.      I think so.           You can put it aside.
23                  The court reporter has handed you a
24   document marked as Exhibit 3 with the Bates
25   number 46537.        Do you see that?

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                                                                            Page 47
 1          A.      I see that.
 2          Q.      Do you recognize this document?
 3          A.      I don't recognize it, but I think I've
 4   seen it before.
 5          Q.      Okay.       But this is an e-mail from
 6   Public Interest Legal Foundation, correct, this
 7   e-mail chain?
 8          A.      Yes.
 9          Q.      And it shows that from the previous
10   e-mail from Prince William County, that was
11   forwarded by you to a number of folks at PILF,
12   correct?      On August 16th?
13          A.      At 4:42?
14          Q.      Correct.
15          A.      Yes, I see that.
16          Q.      And then at the top of the chain
17   Mr. Adams responds to you, copying some other
18   folks at PILF on the same day at 6:05 p.m.:                      "As
19   you saw, David Norcross said we hit pay dirt."
20                  Do you see that?
21          A.      I see that.
22          Q.      Who is David Norcross?
23          A.      He's currently a foundation board
24   member.
25          Q.      Was he on the board at this time?

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                                                                               Page 48
 1          A.      I don't believe so.
 2          Q.      Do you recall Mr. Norcross saying "We
 3   hit pay dirt"?
 4          A.      I don't recall him saying that.
 5          Q.      Do you recall a conversation with
 6   Mr. Norcross between the time that Prince William
 7   County sent over these records at 3:13 p.m. and
 8   the time of this e-mail at 6:05 p.m.?
 9          A.      I don't recall that conversation.
10          Q.      What did you understand, when you saw
11   this e-mail, David Norcross to be saying?
12                  MR. LOCKERBY:             Object to the form.         I
13          would ask that it be identified on the
14          record where the e-mail from David Norcross
15          is in this document.
16                  THE WITNESS:            I don't recall David
17          Norcross saying that previously in a
18          conversation with me.
19   BY MR. TEPE:
20          Q.      But Mr. Adams did write here:                    "As you
21   saw, David Norcross said we've hit pay dirt."
22   Correct?
23          A.      I see that, yes.
24          Q.      Do you have any reason to believe that
25   Mr. Adams was incorrect?

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                                                                          Page 49
 1          A.      No.
 2          Q.      You don't know what Norcross meant by
 3   saying "We've hit pay dirt"?
 4          A.      I don't know what he meant, no.
 5          Q.      Were other people at PILF pleased with
 6   receiving this record from Prince William County?
 7          A.      I'm not recalling any expressions of
 8   pleasure.
 9          Q.      Were you happy?
10          A.      I was happy that they responded to our
11   records request, yes.
12          Q.      You had mentioned earlier that the
13   August 8th letter that we saw had been sent to
14   other jurisdictions, correct?
15          A.      I believe so, yeah.
16          Q.      And other jurisdictions, at least some
17   of them, provided responses, correct?
18          A.      They did, yes.
19                  (Exhibit 4 marked for identification
20          and attached hereto.)
21   BY MR. TEPE:
22          Q.      The court reporter has marked for
23   identification this document as Exhibit 4 with
24   the Bates number beginning 8775.                       Do you see
25   that?

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                                                                                Page 50
 1          A.      I see it.
 2          Q.      Do you recognize this document?
 3          A.      I do.
 4          Q.      What do you recognize it to be?
 5          A.      It's an e-mail chain including a
 6   conversation with the general registrar in
 7   Bedford County, Virginia, and a subsequent e-mail
 8   between members of the foundation.                          At least the
 9   top e-mail.
10          Q.      So let's begin with the initial
11   e-mail.      It's an e-mail from Barbara Gunter,
12   correct?
13          A.      I see that, yes.
14          Q.      Director of elections, general
15   registrar for Bedford County, Virginia?
16          A.      Correct.
17          Q.      And she says -- and this is dated
18   August 18th.       She says:           "I am responding to a
19   letter dated August 8, 2016, from Shawna Powell,
20   secretary of PILF."            Right?
21          A.      Correct.
22          Q.      She then states:                  "Her letter requests
23   information pertaining to registrants identified
24   as potentially not satisfying the citizenship
25   requirements for registration."                        Correct?

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                                                                               Page 51
 1          A.      I see that.            That's correct.
 2          Q.      And then in her e-mail she lists
 3   basically the descriptions of the documents that
 4   she's sending over, correct?
 5          A.      Correct.
 6          Q.      Let's look at one of these documents.
 7   If you go to the Bates number 8777.                              It's a
 8   notice of intent to cancel.
 9          A.      I see it.
10          Q.      And is this the notification that you
11   were referring to earlier in your testimony after
12   receiving some information from the DMV?
13          A.      Yes.
14          Q.      And so it states here:                     "We have
15   received" -- it's addressed to an individual
16   voter, correct?
17          A.      Correct.
18          Q.      It says:         "We have received
19   information that you indicated on a recent DMV
20   application that you were not a citizen of the
21   United States.         If the information provided was
22   correct, you are not eligible to register to
23   vote."
24                  You see that, right?
25          A.      I see that.

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                                                                          Page 52
 1          Q.      It continues:             "If the information is
 2   incorrect and you are a citizen of the United
 3   States, please complete the affirmation of
 4   citizenship form and return it using the enclosed
 5   envelope."
 6                  Do you see that?
 7          A.      I see it.
 8          Q.      So you would agree that election
 9   officials contemplate mistakes being made on the
10   DMV application, correct?
11                  MR. LOCKERBY:             Object to the form.
12                  THE WITNESS:            I think the record
13          speaks for itself.              I don't know what the
14          registrar herself was thinking.
15   BY MR. TEPE:
16          Q.      Well, you would interpret providing
17   this option to provide an affirmation of
18   citizenship that perhaps the information from the
19   DMV is not accurate, correct?
20          A.      Right.       It's asking the recipient if
21   the information they provided at DMV is correct.
22          Q.      And it might not be correct at the
23   DMV?
24          A.      It's a possibility that it's not
25   correct.

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                                                                          Page 53
 1          Q.      Because why else would you provide
 2   this option if there wasn't that possibility,
 3   correct?
 4                  MR. LOCKERBY:             Object to the form.
 5                  THE WITNESS:            Well, this is a
 6          requirement of the law.                   I don't know the
 7          purpose behind it.
 8   BY MR. TEPE:
 9          Q.      It then says:             "If you do not respond
10   within 14 days, you will be removed from the list
11   of registered voters."               Correct?
12          A.      It says that, correct.
13          Q.      And that's what we had discussed
14   before.      You said that there will be a period of
15   time that if you don't get the affirmation in,
16   you'll be canceled, correct?
17          A.      Correct.
18          Q.      Now, Ms. Gunter also provided PILF
19   with voter registration cancellation notices sent
20   to individual voters, correct?
21          A.      Could you identify them for me?
22          Q.      Yeah.      Let's go to -- we'll go to
23   8838.
24          A.      Okay, I see that.
25          Q.      So the previous document we looked at

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                                                                          Page 54
 1   was a notice of intent to cancel, right?
 2          A.      Correct.
 3          Q.      And the process we just processed, if
 4   you don't get the affirmation in within 14 days,
 5   the registrar can then cancel the voter from the
 6   rolls, correct?
 7          A.      If the notice of intent -- or the
 8   affirmation is not returned in 14 days, the
 9   registrar can cancel them.
10          Q.      And this has a title of "Voter
11   Registration Cancellation Notice," correct?
12          A.      Correct.
13          Q.      And this was -- this particular one
14   was directed to Kevin Christopher Moser?
15          A.      Correct.
16          Q.      And the voter registration notice
17   states that this office has canceled Mr. Moser's
18   voter registration, correct?
19          A.      Yes.
20          Q.      And it states that this action was
21   taken because Mr. Moser, quote, failed to timely
22   respond to a request to affirm United States
23   citizenship within 14 days as allowed by the Code
24   of Virginia, correct?
25          A.      That's not all it says but that is

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                                                                          Page 55
 1   language in this notice.
 2          Q.      Well, it provides the code cite,
 3   right?
 4          A.      Well, you didn't read "on the basis of
 5   official notification from the Virginia
 6   Department of Elections."
 7          Q.      That "you have failed to timely
 8   respond to a request to affirm United States
 9   citizenship"?
10          A.      It says that, yes.
11          Q.      Now, do you see the handwritten
12   notation in the upper right-hand corner?
13          A.      Yes.
14          Q.      It says "reregistered" I think
15   September -- the handwriting is a little vague --
16   September 29 of 2011.
17          A.      That's what it looks like, yes.
18          Q.      So it's possible for voters whose
19   registrations were canceled to reregister,
20   correct?
21          A.      Yes.
22          Q.      And if you go back to the cover e-mail
23   from Ms. Gunter, she states -- if you go to, I
24   guess, number 3.
25          A.      I see number 3.

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                                                                           Page 56
 1          Q.      She states in the last sentence:                  "I
 2   have noted on the voter cancellation forms if the
 3   voter responded after the 14-day window and
 4   reregistered either in Bedford County or some
 5   other locality."          Correct?
 6          A.      That's what it says, yes.
 7          Q.      Do you have any basis to believe that
 8   Mr. Moser didn't reregister?
 9          A.      I don't have any basis to believe that
10   he didn't reregister.
11          Q.      And when he reregistered, he would
12   have had to affirm his U.S. citizenship, correct?
13          A.      That's a requirement that he do that.
14   I have no basis to believe that he did or did
15   not.
16                  MR. LOCKERBY:             When we get to a
17          convenient stopping point, could we take a
18          break?     Among other things we owe an answer
19          on something.         We need to confirm that.
20                  MR. TEPE:         Yeah, we'll take a break in
21          a short little while.
22   BY MR. TEPE:
23          Q.      One of the other records that
24   Ms. Gunter provided is a copy of that
25   cancellation report, correct?                     If you go to

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                                                                          Page 57
 1   document with the Bates 8933.
 2          A.      I'm looking at that page.
 3          Q.      And this is the same type of report
 4   that Prince William County provided, correct?
 5          A.      It is.
 6          Q.      And it lists 35 people, correct?
 7          A.      Right.       The total at the bottom of the
 8   list says 35.
 9          Q.      And this number 35 made it into Alien
10   Invasion I, correct?             Do you recall?
11          A.      When you say "made it in," what do you
12   mean?
13          Q.      It was referenced in Alien Invasion I,
14   correct?
15          A.      Yes, it was.
16          Q.      I'm going to hand you another version
17   of this exhibit because I would like you to mark
18   it up.      Do you have a pen?
19          A.      I can get one.
20          Q.      I'm trying to find the right page to
21   direct you to.
22                  Can you take a look at that document
23   and confirm for me that's a copy -- another copy
24   of Exhibit 4?
25                  I tell you what, why don't you go in

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                                                                               Page 58
 1   the exhibit that's already been marked to that
 2   Bates number which is for Mr. Lee's notice.                          Do
 3   you see that?
 4          A.      8832?
 5          Q.      8832, correct.
 6                  Now, in the new document that I just
 7   handed you, why don't you flip to the
 8   cancellation report that we were just looking at.
 9                  MR. LOCKERBY:              What's the Bates number
10          on that?
11                  MR. TEPE:          I believe it's 8933.
12   BY MR. TEPE:
13          Q.      I'm going to ask you to check off some
14   of the names in that cancellation list.                          Okay?
15          A.      Okay.
16          Q.      All right.           So we're going to flip
17   through in Exhibit 4 these voter registration
18   cancellation notices.
19                  So the first one here we see under --
20   on Bates 8832 is for Mr. Lee.                      Is that right?
21          A.      Yes.
22          Q.      There is a handwritten notation that
23   he reregistered, correct?
24          A.      Yes.
25          Q.      Do you want to check off his name?

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                                                                                   Page 59
 1   Just put a little checkmark in front of his name
 2   on the document.
 3          A.      (Witness complies.)
 4          Q.      And let's flip through a few pages to
 5   8838.     You see Mr. Moser, correct?
 6          A.      I see his name on this page.
 7          Q.      And a handwritten notation that he
 8   reregistered, correct?
 9          A.      I see that.
10          Q.      Can you check off his name on the
11   cancellations.
12          A.      (Witness complies.)
13          Q.      We're going to go really through this
14   whole attachment doing the same thing.                            So if you
15   would flip through to the next person that you
16   see as having reregistered.                       I see Jon Guida.
17          A.      I see his name.
18                  MR. LOCKERBY:              What's the Bates number
19          on that?
20                  MR. TEPE:          8847.
21   BY MR. TEPE:
22          Q.      Do you see the handwritten notation
23   that he reregistered, correct?
24          A.      Yes.
25          Q.      Do you want to check off his name on

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                                                                                   Page 60
 1   the cancellation list?
 2          A.      (Witness complies.)
 3          Q.      A couple of pages later, 8850,
 4   Michelle Cabaniss.            Do you see the notation that
 5   she reregistered?
 6          A.      Yes.
 7          Q.      Do you want to check off her name?
 8          A.      (Witness complies.)
 9          Q.      A few pages later, 8856, Michael
10   Harmon.
11          A.      I see his name.
12          Q.      And a notation that he reregistered,
13   correct?
14          A.      Yes.
15          Q.      Do you want to check off his name on
16   the cancellation list?
17          A.      (Witness complies.)
18          Q.      8859.       Patricia Scoville.                    Do you see
19   the notation that she --
20          A.      I see her name.
21          Q.      -- that she reregistered?
22          A.      Yes.
23          Q.      Do you want to check her name off?
24          A.      (Witness complies.)
25          Q.      A couple of pages later, 8862, Billy

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                                                                                   Page 61
 1   Agee.     You see a notation that he reregistered,
 2   correct?
 3          A.      Yes.
 4          Q.      Could you please check his name.
 5          A.      (Witness complies.)
 6          Q.      A few pages later, 8865.                          Marie
 7   Toussaint.
 8          A.      I see her name.
 9          Q.      And it indicates in a handwritten
10   notation that she reregistered, correct?
11          A.      Yes.
12          Q.      Check her name off.
13          A.      (Witness complies.)
14          Q.      Go to 8871.            Justin Dunkley.                Do you
15   see that?
16          A.      I see his name.
17          Q.      And on the cancellation notice is a
18   handwritten notation that Mr. Dunkley
19   reregistered, correct?
20          A.      Yes.
21          Q.      Do you mind checking his name off.
22          A.      (Witness complies.)
23          Q.      8874.       Teresa Wright.               Do you see
24   that?
25          A.      Yes.

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                                                                                Page 62
 1          Q.      The notation is that she reregistered,
 2   correct?
 3          A.      Correct.
 4          Q.      Do you want to check her name off?
 5          A.      (Witness complies.)
 6          Q.      8877.       Phillip McGuire?
 7          A.      I see his name.
 8          Q.      A notation that he reregistered,
 9   correct?
10          A.      Yes.
11          Q.      Check his name off.
12          A.      (Witness complies.)
13          Q.      A couple of pages later, 8880.
14   Mr. Tomlinson.         Do you see his name?
15          A.      I see his name.
16          Q.      And a notation that he reregistered?
17          A.      Correct.
18          Q.      Do you want to check his name off?
19          A.      (Witness complies.)
20          Q.      A few pages later, 8883.                          Michael
21   Huddleston, II?
22          A.      I see his name.
23          Q.      You notice that he -- a notation that
24   he reregistered, correct?
25          A.      Correct.

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                                                                                   Page 63
 1          Q.      You can check his name off.
 2          A.      (Witness complies.)
 3          Q.      Go to 8889.            Scott Wilson.              Do you see
 4   his name?
 5          A.      I see his name.
 6          Q.      And a handwritten notation that he
 7   reregistered, correct?
 8          A.      Correct.
 9          Q.      Can you check his name off?
10          A.      (Witness complies.)
11          Q.      A couple of pages later, 8892.                       Evelyn
12   Garcia.
13          A.      I see her name.
14          Q.      A notation that she reregistered?
15          A.      Yes.
16          Q.      Check her name off, please.
17          A.      (Witness complies.)
18          Q.      If you go to 8898.                  Peggy Musselman.
19          A.      I see her name.
20          Q.      A notation that she reregistered?
21          A.      Correct.
22          Q.      Can you check her name off, please?
23          A.      (Witness complies.)
24          Q.      8901.       James Moore.
25          A.      I see his name.

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                                                                             Page 64
 1          Q.      And on the cancellation notice, a
 2   handwritten notation that he reregistered,
 3   correct?
 4          A.      Correct.
 5          Q.      Can you check his name off?
 6          A.      (Witness complies.)
 7          Q.      Can you go to 8924.                   Benjamin Fisher.
 8          A.      I see his name.
 9          Q.      And also the handwritten notation that
10   Mr. Fisher reregistered, correct?
11          A.      Correct.
12          Q.      Can you check his name off?
13          A.      (Witness complies.)
14          Q.      Okay.       So let's look at the
15   cancellation list that you used in Alien Invasion
16   I.    You have Mr. Douglas checked off, correct?
17          A.      I placed an X next to his name.
18          Q.      Moser?
19          A.      Correct.
20          Q.      Guida?
21          A.      Yes.
22          Q.      Cabaniss?
23          A.      Yes.
24          Q.      Harmon?
25          A.      Yes.

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                                                                          Page 65
 1   Q.      Scoville?
 2   A.      Yes.
 3   Q.      Agee?
 4   A.      Yes.
 5   Q.      Toussaint?
 6   A.      Yes.
 7   Q.      Dunkley?
 8   A.      Yes.
 9   Q.      Wright?
10   A.      Yes.
11   Q.      McGuire?
12   A.      Yes.
13   Q.      Tomlinson?
14   A.      Yes.
15   Q.      Huddleson?
16   A.      Yes.
17   Q.      Wilson?
18   A.      Yes.
19   Q.      Garcia?
20   A.      Yes.
21   Q.      Musselman?
22   A.      Yes.
23   Q.      Moore?
24   A.      Yes.
25   Q.      Fisher?

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                                                                          Page 66
 1          A.      Yes.
 2          Q.      How many names is that?
 3          A.      Would you like me to count them?
 4          Q.      Please.
 5          A.      I believe that's 18 by my count.
 6          Q.      It's a little bit more than half of
 7   the total of 35 on the list, correct?
 8          A.      That math adds up.
 9          Q.      So as of this date of August 18, 2016,
10   PILF was aware that 35 of these individuals had
11   reregistered, correct?
12          A.      No, not 35.
13          Q.      I'm sorry.           Let me try that again.
14                  So as of this date, August 18, 2016,
15   PILF was aware that 18 of these individuals had
16   reregistered, correct?
17          A.      There's -- right, there is the
18   designations on these cancellation notices that
19   they reregistered.
20          Q.      And you have no basis to believe that
21   those notations are incorrect, correct?
22          A.      No.
23          Q.      Did you -- Strike that.
24                  In Alien Invasion I, was there any
25   notation that the 35 people referenced in that

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                                                                             Page 67
 1   report, of that 35, 18 had reregistered?
 2          A.      I don't think so.
 3                  MR. TEPE:         We can go off the record.
 4                  MR. LOCKERBY:             Great.        Thank you.
 5                  THE VIDEOGRAPHER:                 We are going off
 6          the record.        The time is 10:18 a.m.
 7                  (Recess taken.)
 8                  THE VIDEOGRAPHER:                 We are back on the
 9          record.     The time is 10:40 a.m.
10   BY MR. TEPE:
11          Q.      Mr. Johnson, just a housekeeping item.
12   The document we just marked up, can you
13   reassemble that?
14          A.      I think this was it.
15          Q.      Yeah.
16          A.      Now I'm confused.                 That's in the
17   previous exhibit.
18          Q.      Yeah, that's right.                  That's got your
19   notations, right?           Yes.       Okay.
20                  MR. TEPE:         All right.            So we're going
21          to mark this -- I believe we're up to
22          Exhibit 5.
23                  (Exhibit 5 marked for identification
24          and attached hereto.)
25   BY MR. TEPE:

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                                                                          Page 68
 1          Q.      Earlier you testified, Mr. Johnson,
 2   that you are kind of responsible for overseeing
 3   the production of the Alien Invasion reports,
 4   correct?
 5          A.      Correct.
 6          Q.      Who came up with the idea to write
 7   this report, specifically Alien Invasion I?
 8          A.      I think the idea for a report was
 9   Mr. Adams'.
10          Q.      Who decided to call the report Alien
11   Invasion?
12          A.      I think Mr. Adams suggested the name,
13   but I'm not 100 percent sure.
14          Q.      Was PILF trying to suggest that
15   Virginia was being invaded?
16                  MR. LOCKERBY:             Object to the form.
17                  THE WITNESS:            No.
18   BY MR. TEPE:
19          Q.      Do you know the thinking behind
20   calling the report Alien Invasion?
21                  MR. LOCKERBY:             Object to the form.
22                  THE WITNESS:            It was satire.
23   BY MR. TEPE:
24          Q.      How do you know?
25          A.      That's my recollection of the process

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                                                                          Page 69
 1   by which it was created.
 2          Q.      Did Mr. Adams tell you that this was a
 3   satirical title?
 4          A.      Specifically in that language, no.
 5          Q.      So PILF was trying to use the term
 6   "invasion" but not actually suggest an invasion?
 7                  MR. LOCKERBY:             Object to the form.
 8                  THE WITNESS:            Not a literal invasion
 9          as you would understand that word typically.
10   BY MR. TEPE:
11          Q.      You wrote the first draft of Alien
12   Invasion I, correct?
13          A.      Correct.
14          Q.      Do you recall how long it took you to
15   draft the report from the first draft to
16   publication?
17          A.      I don't recall.
18                  (Exhibit 6 marked for identification
19          and attached hereto.)
20   BY MR. TEPE:
21          Q.      The court reporter has just marked as
22   Exhibit 6 a document.              Do you recognize it?
23          A.      I've seen it before, yes.
24          Q.      And what is it?
25          A.      The first page is an e-mail that I

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                                                                          Page 70
 1   sent to myself on September 23, 2016.
 2          Q.      And there is an attachment -- two
 3   attachments, correct?
 4          A.      There are two attachments.
 5          Q.      One is a draft, a first draft it looks
 6   like, of the Alien Invasion, correct?
 7          A.      It looks like a draft, yes.
 8          Q.      And then the second document that says
 9   "Notes for report."
10          A.      Correct.
11          Q.      So would you agree, then, that you
12   started drafting the report roughly around
13   September 23rd?
14          A.      Yes, that sounds right.
15          Q.      And did you send drafts of this for
16   review to Mr. Adams?
17          A.      Yes.
18                  (Exhibit 7 marked for identification
19          and attached hereto.)
20   BY MR. TEPE:
21          Q.      The court reporter has marked Exhibit
22   7.    I should note the Bates number is 5621.
23                  Do you recognize this document?
24          A.      I've seen it before.
25          Q.      What do you recognize it to be?

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                                                                            Page 71
 1          A.      It's an e-mail from myself to
 2   Mr. Adams attaching a draft of the -- I believe
 3   the Alien Invasion I report.
 4          Q.      This is dated September 29, 2016,
 5   correct?
 6          A.      Correct.
 7          Q.      And this is how you would normally
 8   exchange sort of your business records with
 9   Mr. Adams, would be by e-mail because he was in
10   Virginia and you were in Indiana, correct?
11                  MR. LOCKERBY:             Object to the form.
12                  THE WITNESS:            Correct.
13   BY MR. TEPE:
14          Q.      And then you say here:                    "Christian,
15   here is a draft of the Virginia report with what
16   we know so far."
17                  Do you see that?
18          A.      I see that, yes.
19          Q.      And this -- this was presumably
20   followed by later drafts to Mr. Adams?
21          A.      I don't know if there were later
22   drafts, but there could have been.
23                  (Exhibit 8 marked for identification
24          and attached hereto.)
25   BY MR. TEPE:

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                                                                          Page 72
 1          Q.      The court reporter has marked as
 2   Exhibit 8 a document with the Bates number 5601.
 3                  Do you see that?
 4          A.      I see that.
 5          Q.      Do you recognize this document?
 6          A.      I think I've seen it before.
 7          Q.      It's another draft report that you
 8   sent to Mr. Adams?
 9          A.      It's an e-mail attaching a draft, it
10   looks like, yes.
11          Q.      And this is dated September 29th,
12   correct?
13          A.      Correct.
14                  (Exhibit 9 marked for identification
15          and attached hereto.)
16                  THE WITNESS:            Should I keep these
17          exhibits in front of me?
18                  MR. TEPE:         Yeah, you can put them to
19          the side, whichever, but yes.
20   BY MR. TEPE:
21          Q.      The court reporter has marked as
22   Exhibit 9 a document with the Bates number ending
23   4985.     Do you see that?
24          A.      I see that.
25          Q.      Do you recognize this document?

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                                                                          Page 73
 1          A.      It's an e-mail written by me, at least
 2   one of them is.
 3          Q.      So this is a near final draft of the
 4   Alien Invasion report that you circulated
 5   internally.       Is that right?
 6          A.      It looks that way, yes.
 7          Q.      And this is on September 30th, right,
 8   2016?
 9          A.      The e-mail is dated September 30th.
10          Q.      The e-mail chain begins with Mr. Adams
11   sending an e-mail to you and Ms. Phillips and
12   Mr. Vanderhulst and the subject line says "Have
13   report up on Sunday."
14          A.      I see that.
15          Q.      What was he talking about there?
16          A.      I believe he --
17          Q.      What did you understand him to be
18   talking about there?
19          A.      That it needed to be uploaded to our
20   website by Sunday.
21          Q.      And why did it have to be uploaded to
22   your website by Sunday?
23          A.      Based on what he wrote in the e-mail,
24   because he was appearing on Fox.
25          Q.      On Fox News?

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                                                                          Page 74
 1          A.      That's how I understood that, yes.
 2          Q.      So then it took you roughly a week to
 3   pull together the Alien Invasion I report.                      Is
 4   that right?
 5                  MR. LOCKERBY:             Object to the form.
 6                  THE WITNESS:            Well, Exhibit 6 includes
 7          a draft that has already been written.                    I
 8          don't know how long before that I started
 9          writing.      So it was likely longer than a
10          week but...
11   BY MR. TEPE:
12          Q.      Maybe eight days, nine days?
13          A.      I can't say for sure.
14          Q.      Now, you recall that when Alien
15   Invasion I was published, some jurisdictions had
16   provided you records and other jurisdictions had
17   not provided you records, correct?
18          A.      Correct.
19          Q.      Do you know why PILF didn't wait for
20   the additional records to come in before
21   publishing?
22          A.      I do not recall.
23          Q.      Was PILF trying to get Alien Invasion
24   I published before the 2016 elections in
25   November?

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                                                                                  Page 75
 1          A.      I don't recall.
 2                  (Exhibit 10 marked for identification
 3          and attached hereto.)
 4   BY MR. TEPE:
 5          Q.      The court reporter has just marked and
 6   handed to you Exhibit 10.
 7                  Do you recognize this document?
 8          A.      Yes.
 9          Q.      What does it appear to be?
10          A.      It appears to be a copy of Alien
11   Invasion in Virginia.
12          Q.      For the record, we'll state that we
13   pulled this off of PILF's website as being the
14   published version of Alien Invasion I.
15                  Do you want to flip through it?                        Does
16   this look like the full report that PILF
17   published?
18          A.      It looks like it, although I don't
19   know entirely how many exhibits we had.                             But it
20   looks like it's the complete report.
21          Q.      So the title is "Alien Invasion in
22   Virginia:      The Discovery and Cover-up of
23   Noncitizen Registration and Voting."                             Correct?
24          A.      Correct.
25          Q.      On the top of the cover is Public

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                                                                               Page 76
 1   Interest Legal Foundation's logo.                        Is that right?
 2          A.      That's right.
 3          Q.      And on the bottom is Virginia Voters
 4   Alliance's logo.          Is that correct?
 5          A.      Correct.
 6          Q.      And PILF published this in
 7   coordination with Virginia Voters Alliance,
 8   right?
 9          A.      Correct.
10          Q.      And it's dated September 30, 2016?
11          A.      Correct.
12          Q.      Let me direct you to page 2 of the
13   report.
14          A.      I'm looking at that page.
15          Q.      In the second paragraph under "Summary
16   of Findings" -- do you see that?
17          A.      The bolded paragraph?
18          Q.      Correct.        In bold it says:                 "In our
19   small sample of just eight Virginia counties who
20   responded to our public inspection requests, we
21   found 1046 aliens who registered to vote
22   illegally."
23                  Do you see that?
24          A.      I see that sentence.
25          Q.      Now, the 1046, does that come from the

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                                                                             Page 77
 1   cancellation reports that we had been looking at
 2   earlier in your testimony?
 3          A.      I believe so, yes.
 4          Q.      We had looked at the cancellation
 5   report that Prince William County had provided,
 6   right?
 7          A.      We did look at that.
 8          Q.      And one for Bedford County?
 9          A.      Correct.
10          Q.      And so that 1046 includes the numbers
11   of people listed in those reports?
12          A.      Not only those reports.
13          Q.      Right.        And so if you go to page 12 of
14   the report, there is a chart.                      Do you see it says
15   noncitizens on the rolls in eight counties?
16          A.      Yes.
17          Q.      And this totals up to 1046, right?
18          A.      It should.           At the time the math was
19   done, it totaled 1046.
20          Q.      Would the math change between now and
21   then?
22          A.      No.
23          Q.      So Prince William is listed as 443
24   noncitizens.       Is that right?
25          A.      Correct.

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                                                                          Page 78
 1          Q.      And that's the number we saw in the
 2   report that we looked at in the previous exhibit
 3   or one of the earlier exhibits, correct?
 4          A.      The total listed at the bottom of the
 5   report.
 6          Q.      Right.       And then Bedford County, 35?
 7          A.      I see that.
 8          Q.      And that was the number listed in the
 9   report that we just looked at before the break,
10   correct?
11          A.      The total listed at the bottom,
12   correct.
13          Q.      If you go to page 7, at the bottom of
14   the page it says in bold:                 "Prince William County
15   provided a list of 433 noncitizens who had
16   registered to vote in the county but were then
17   removed after they were determined to not be U.S.
18   citizens."
19                  Do you see that?
20          A.      I see that.
21          Q.      And the phrase "433 noncitizens" is
22   not just bolded but it's also italicized,
23   correct?
24          A.      Correct.
25          Q.      And this sentence has a footnote

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                                                                          Page 79
 1   number 15 hanging off it, correct?
 2          A.      Correct.
 3          Q.      It says "see Exhibit 1"?
 4          A.      Correct.
 5          Q.      So this is directing the reader to
 6   look at Exhibit 1 for the 433 noncitizens in
 7   Prince William County, correct?
 8          A.      It's directing the reader to the VERIS
 9   report for Prince William County.
10          Q.      And I think that's the first time
11   you've used that term.                The cancellation report
12   that we were looking at is also sometimes called
13   the VERIS report?
14          A.      Correct.
15          Q.      That's because it is a report printed
16   off the VERIS system?
17          A.      Yes.
18          Q.      And the VERIS system is, I guess, a
19   software database that Virginia uses for its
20   records?
21          A.      That's my understanding.
22          Q.      So let's go to Exhibit 1 if you don't
23   mind, and I believe that's -- well, it says
24   Exhibit 1, page 1 of 29.                  Do you see that?
25          A.      I think I'm on the same page as you,

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                                                                          Page 80
 1   yes.
 2          Q.      This is the cancellation report from
 3   Prince William County, right?
 4          A.      Correct.
 5          Q.      And this is the report that you got
 6   from Prince William County that we looked at
 7   earlier, correct?
 8          A.      Yes.
 9          Q.      Now, just go back to page 8 of the
10   report.      The second paragraph in bold states:
11   "The United States attorney in Virginia has done
12   nothing about the felonies committed by 433
13   aliens registering in Prince William County
14   alone."
15                  Do you see that?
16          A.      I see that.
17          Q.      And this is again referring to the
18   people who were listed in Exhibit 1, correct?
19          A.      Correct.
20          Q.      If you go back to Exhibit 1 and flip
21   to page 26 of 29.
22          A.      I'm looking at page 26.
23          Q.      Do you see about five names down the
24   name Luciania Freeman?
25          A.      I see that.

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                                                                          Page 81
 1          Q.      So Ms. Freeman is one of the 1046
 2   aliens noted on page 2 of Alien Invasion,
 3   correct?
 4          A.      Correct.
 5          Q.      And that's the 1046 aliens who
 6   registered to vote illegally according to page 2
 7   of the Alien Invasion report, correct?
 8          A.      Right.       The 1046 refers to the
 9   individuals who are contained in the reports
10   provided by the election officials.
11          Q.      Right.       And you stated on page 2 there
12   were 1046 aliens who registered to vote
13   illegally, correct?
14          A.      Correct.
15          Q.      If you go to page 14 of the report,
16   the report states that Prince William County
17   provided voter registration applications for the
18   people listed on the VERIS report, correct?
19          A.      Well, it says they provided us
20   registration forms for those people removed since
21   2015.
22          Q.      Okay, correct.             You are correct.
23                  So Prince William had the voter
24   registration applications for 84 of the 433?
25          A.      That sounds right based on what's on

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                                                                              Page 82
 1   this page.
 2          Q.      And footnote 30 says that the
 3   registration applications that were provided to
 4   PILF are available in Exhibit 7.                        Is that right?
 5          A.      That's what footnote 30 says.
 6          Q.      So these are the registration forms
 7   for the what you call, or what PILF states is the
 8   84 noncitizens provided by Prince William County.
 9   Is that right?
10          A.      That's what footnote 30 is referring
11   to, yes.
12          Q.      Now let's go to Exhibit 7, page 48 out
13   of 84.      Exhibit 7.
14          A.      I'm looking at page 48.
15          Q.      And what is reflected on page 48?
16          A.      It appears to be an application for
17   voter registration.
18          Q.      For?
19          A.      Completed by Luciania Freeman.
20          Q.      It's got her home address, correct?
21          A.      Correct.
22          Q.      Daytime telephone number, correct?
23          A.      Correct.
24          Q.      And on the form she checked "Yes" to
25   the question "Are you a citizen of the United

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                                                                          Page 83
 1   States of America?"            Correct?
 2          A.      Correct.
 3          Q.      So regardless of how her name ended up
 4   on the VERIS report, as of the time PILF
 5   published Alien Invasion I, PILF had evidence of
 6   her attesting to her citizenship, correct?
 7                  MR. LOCKERBY:             Object to the form.
 8                  THE WITNESS:            We possessed this page,
 9          yes.
10   BY MR. TEPE:
11          Q.      Did you personally ever try to contact
12   Ms. Freeman to ask about her election records?
13          A.      No.
14          Q.      Did you personally try to contact
15   Ms. Freeman at all?
16          A.      No.
17          Q.      Are you aware of anyone at PILF trying
18   to contact Ms. Freeman at all?
19          A.      I'm not aware.
20          Q.      Did you contact any of the other 432
21   people identified by -- identified in Exhibit 1?
22          A.      I don't believe so, no.
23          Q.      Are you aware of anyone at PILF
24   contacting the 432 individuals other than
25   Ms. Freeman identified in Exhibit 1?

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                                                                          Page 84
 1          A.      I'm not aware of that.
 2          Q.      Let's go to page 8 of the report.
 3          A.      I'm looking at page 8.
 4          Q.      On page 8 there is a reference to
 5   Bedford County.
 6          A.      I see that.
 7          Q.      It says:        "Bedford County, a
 8   relatively small rural county in Virginia with
 9   only 60,000 individuals of voting age, also
10   provided a list of 35 noncitizens that have been
11   removed from their voter rolls."
12                  Do you see that?
13          A.      I see that.
14          Q.      Is there any notation in here that
15   PILF had information that 18 of those 35 had
16   reregistered to vote?
17          A.      I don't see that in here, no.
18          Q.      You can put this document aside.
19                  Now, PILF followed up with a second
20   Alien Invasion report, correct?
21          A.      We published a second Alien Invasion
22   report.
23          Q.      So the first one was published around
24   September 30th of 2016, correct?
25          A.      Correct.

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                                                                              Page 85
 1          Q.      Do you recall when the second one was
 2   published?
 3          A.      I think May of 2017.
 4                  (Exhibit 11 marked for identification
 5          and attached hereto.)
 6   BY MR. TEPE:
 7          Q.      The court reporter has marked as
 8   Exhibit Number 9 --
 9                  THE REPORTER:             11.
10   BY MR. TEPE:
11          Q.      Exhibit 11.           Do you recognize this
12   large document?
13          A.      It appears to be a copy of the Alien
14   Invasion II report and the exhibits cited
15   therein.
16          Q.      And again for the record, this is a
17   copy of the Alien Invasion II report that we
18   printed off from PILF's website.                       Is that what it
19   appears to be?
20          A.      It does.
21          Q.      And also just for the record, Alien
22   Invasion II was published with three different
23   versions of Exhibit 12, correct?
24          A.      I don't recall all three versions, no.
25          Q.      Well, do you recall when Alien

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                                                                                Page 86
 1   Invasion II was first published on PILF's website
 2   there was one version of Exhibit 12 that
 3   contained Social Security numbers that had not
 4   yet been redacted?
 5          A.      Yes.      That was brought to our
 6   attention.
 7          Q.      And once that was brought to PILF's
 8   attention, PILF published a second version of
 9   Exhibit 12 with those Social Security numbers
10   redacted, correct?
11          A.      That sounds right.
12          Q.      This exhibit in front of you uses that
13   version of Exhibit 12.
14          A.      I'll have to take your word for it.                     I
15   haven't looked at Exhibit 12.
16          Q.      And then there was a third version
17   that removed some voter registration applications
18   from Exhibit 12.           Do you recall that?
19          A.      Yes.
20          Q.      So just for the record, we're using
21   the second version in that exhibit.
22          A.      Okay.
23          Q.      Okay.       So the cover of the Alien
24   Invasion report says:               "Alien Invasion II:          The
25   Sequel to the Discovery and Cover-up of

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                                                                          Page 87
 1   Noncitizen Registration and Voting in Virginia."
 2   Do you see that?
 3          A.      I see that.
 4          Q.      Also on the cover it says "Welcome to
 5   Virginia.      Virginia is for Aliens."
 6          A.      I see that.
 7          Q.      And that's a takeoff on the old
 8   Virginia slogan "Virginia is for Lovers," right?
 9          A.      Yes.
10          Q.      The inside cover of Alien Invasion II
11   again has the logo of Public Interest Legal
12   Foundation, correct?
13          A.      Yes.
14          Q.      And the logo of the Virginia Voters
15   Alliance, correct?
16          A.      Correct.
17          Q.      And it's dated May 2017?
18          A.      Correct.
19          Q.      And so this sequel was also published
20   in conjunction with VVA, correct?
21          A.      Correct.
22          Q.      If you go to page 1 of the report, it
23   begins with a reference back to your findings in
24   Alien Invasion I.            Is that right?
25          A.      That's right.

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                                                                             Page 88
 1          Q.      It states in the first paragraph:
 2   "Our investigation revealed that in these eight
 3   Virginia localities more than 1000 noncitizens
 4   had recently been removed from the voter rolls."
 5                  Do you see that?
 6          A.      Yes, I do.
 7          Q.      It says:        "In this small sample,
 8   nearly 200 verified ballots were cast prior to
 9   official removal.           Each one of them is likely a
10   felony."
11                  Do you see that?
12          A.      I see that.
13          Q.      And then the report states that PILF
14   had done a more statewide look at the records in
15   Virginia, correct?
16          A.      I think it speaks for itself, but
17   that's what we did.
18          Q.      And on the third paragraph here on
19   page 1:      "As a result" -- it states:                        "As a
20   result, the number of registrants removed from
21   voter rolls for citizenship problems during the
22   last few election cycles grew to over 5500."
23                  Do you see that?
24          A.      I see that.
25          Q.      "Of these illegal registrants, 1852

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                                                                            Page 89
 1   cast nearly 7500 ballots in elections dating back
 2   to 1988."
 3                  Do you see that?
 4          A.      I see that.
 5          Q.      And so I understand the phrase
 6   "illegal registrants" is referring to the over
 7   5500 individuals, correct?
 8          A.      That's the logical inference from
 9   their inclusion on the VERIS reports.
10          Q.      Well, no, I'm just asking about the
11   sentence.      When you say of these illegal
12   registrants, 1852 cast a number of ballots,
13   you're saying --
14          A.      These refers to 5500 in the preceding
15   sentence.
16          Q.      So illegal registrants refers to over
17   5500, right?
18          A.      Correct.
19          Q.      On page 2, under "Summary of
20   Findings," the second paragraph, it states:                     "The
21   numbers are alarming:              5556 noncitizens have been
22   removed from the voter rolls for citizenship
23   problems in 120 of Virginia's 133 voting
24   jurisdictions since 2011."
25                  Do you see that?

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                                                                          Page 90
 1          A.      I see that.
 2          Q.      And beneath this paragraph is a
 3   graphic.
 4          A.      I see that.
 5          Q.      It says 5556 noncitizen registrations.
 6          A.      I see that.
 7          Q.      And 7474 votes cast by noncitizens.
 8   Do you see that?
 9          A.      I see that too.
10          Q.      How did PILF identify the 1852 out of
11   5556 having voted?
12          A.      PILF did not identify them.
13          Q.      Then how is it in your report?
14          A.      Someone else identified them.
15          Q.      Who identified them?
16          A.      The Virginia Voters Alliance.
17          Q.      So Virginia Voters Alliance performed
18   this analysis that yielded the 1852 number?
19          A.      Yes, with PILF's assistance.
20          Q.      I'm sorry, there's a siren in the
21   background.       Can you say it again?
22          A.      With the foundation's assistance.
23          Q.      PILF's assistance?
24          A.      Yes.
25          Q.      Did VVA work with anyone else in

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                                                                           Page 91
 1   calculating this number of 1852?
 2          A.      I believe they did.
 3          Q.      Did they work with a political action
 4   committee?       Is that right?
 5          A.      I believe one of the entities is a
 6   political action committee.
 7          Q.      And that's Middle Resolution PAC?
 8          A.      That sounds right.
 9          Q.      Are there other entities that VVA
10   worked with?
11          A.      Not that I'm aware.
12          Q.      The 5556 number comes from a statewide
13   VERIS report received by PILF.                       Is that right?
14          A.      It may come from more than one, but it
15   is a statewide report.
16          Q.      I'm not sure I understand your answer.
17          A.      We received more than one statewide
18   VERIS report.
19          Q.      Okay.       You're saying that you received
20   multiple statewide VERIS reports?
21          A.      Yes.
22          Q.      Well, one of them is published in
23   Exhibit 1 to Alien Invasion II, correct?
24          A.      I believe that's correct.
25          Q.      When you said "the other report," were

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                                                                                 Page 92
 1   you referring to the custom report that the
 2   Virginia Department of Elections sent over?
 3          A.      No.
 4          Q.      What are you referring to?                         Oh, I'm
 5   sorry.      You're referring to the fact that there
 6   was one report for a certain time period and then
 7   a second report for a more recent time period.
 8   Is that right?
 9          A.      Correct.
10          Q.      And so both of them together are
11   what's published in Exhibit 1, correct?
12          A.      I believe so.             I haven't looked at
13   Exhibit 1 right now.
14          Q.      You can feel free.                 I think the date
15   ranges are on the top of the pages.                             Right?
16          A.      Yes, it looks like there are two
17   reports from separate time periods in Exhibit 1.
18          Q.      And so the VERIS report that you just
19   looked at as Exhibit 1 is the same type of report
20   that was used in Exhibit 1 in the Alien Invasion
21   I, correct?
22                  MR. LOCKERBY:             Object to the form.
23                  THE WITNESS:            If you mean if it's also
24          a VERIS-generated report, yes.
25   BY MR. TEPE:

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                                                                          Page 93
 1          Q.      There are differences, such as the
 2   time period covered, correct?
 3          A.      Yes, that would be one difference.
 4          Q.      And when the report was generated,
 5   that would be another difference?
 6          A.      Yes.
 7          Q.      Is there another difference you're
 8   aware of?
 9          A.      The number of jurisdictions included
10   in the report is different.
11          Q.      Right.        So in Alien Invasion I,
12   Exhibit 1 was just Prince William County that you
13   had published, correct?
14          A.      I believe so, yes.
15          Q.      And in Alien Invasion II, you
16   published all of the jurisdictions that had names
17   listed in the cancellation report, which was
18   about 120 out of --
19          A.      Yes.
20          Q.      -- 133, if I recall correctly.
21          A.      Yes.
22          Q.      Please go to page 100 of 486.
23          A.      In Exhibit 1?
24          Q.      Exhibit 1.
25          A.      I'm looking at page 100.

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                                                                                     Page 94
 1          Q.      Do you see the name Eliud Bonilla at
 2   the bottom?
 3          A.      I see that.
 4          Q.      Do you see his home address listed?
 5          A.      I see an address listed.                          I don't know
 6   if it's his home address.
 7          Q.      And Mr. Bonilla is one of the 5556
 8   noncitizens noted in the Alien Invasion II
 9   summary of findings, right?
10          A.      Yes.
11          Q.      Now go to page 258 of 486.
12          A.      I'm looking at page 258.
13          Q.      Do you see the name Luciania Freeman?
14          A.      I do.
15          Q.      And an address for her?
16          A.      I see an address.
17          Q.      So Ms. Freeman is one of the 5556
18   noncitizens noted in the Alien Invasion II
19   summary of findings, correct?
20          A.      Yes.
21          Q.      PILF had the voter registration
22   application for Mr. Bonilla, correct?
23          A.      I don't recall if we did.
24          Q.      If you go to page 217 -- it should be
25   tabbed -- of Exhibit 12.

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                                                                           Page 95
 1          A.      Is it one of these other tabs?
 2          Q.      Yeah, it might be.                  It would be
 3   Exhibit 12.
 4          A.      Okay.
 5                  MR. LOCKERBY:              Can we get a Bates
 6          number for identification?                      The copy I'm
 7          looking at does not have page numbers on it.
 8                  MR. TEPE:          I guess it's PILF 50.
 9                  THE WITNESS:             I see that.
10   BY MR. TEPE:
11          Q.      Okay.       So this is a voter registration
12   application for Mr. Bonilla.                      Is that right?
13          A.      It appears to be.
14          Q.      It's got an address listed, right?
15          A.      Yes.
16          Q.      A telephone number?
17          A.      Yes.
18          Q.      And he checked the box "Yes" to "Are
19   you a citizen of the United States of America?"
20   Correct?
21          A.      Yes.
22          Q.      So at the time that PILF published
23   Alien Invasion II, PILF had at least one document
24   indicating Mr. Bonilla was claiming U.S.
25   citizenship, correct?

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                                                                          Page 96
 1          A.      We had this document in our
 2   possession, yes.
 3          Q.      And PILF had another document, the
 4   VERIS report, indicating his registration had
 5   been canceled, correct?
 6          A.      The VERIS report indicated his
 7   registration was canceled.
 8          Q.      Before publishing Alien Invasion II,
 9   did you try to contact Mr. Bonilla to ask about
10   these different documents?
11          A.      No.
12          Q.      To your knowledge, did anyone at PILF
13   try to contact Mr. Bonilla?
14          A.      Not to my knowledge.
15          Q.      His phone number is right there,
16   correct?
17          A.      It's on this document, yes.
18          Q.      You had the voter registration
19   application for Ms. Freeman as well, correct?
20          A.      We do have it, yes.
21          Q.      And it's in that set in front of you,
22   correct, enclosed in Exhibit 12, right?
23          A.      I don't think I've seen it yet but...
24          Q.      I think it might be the next tab in
25   your pile.       Right there, near the bottom.

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                                                                          Page 97
 1          A.      Yes, the application for registration
 2   for Luciania Freeman is in this exhibit.
 3          Q.      With her home address, or an address?
 4          A.      It includes an address.
 5          Q.      And telephone number?
 6          A.      Yes.
 7          Q.      And she marked "Yes" to the question
 8   "Are you a citizen of the United States of
 9   America?"
10          A.      Yes.
11          Q.      So you would agree at the time PILF
12   published Alien Invasion II, it had at least one
13   document indicating Ms. Freeman was claiming U.S.
14   citizenship, correct?
15          A.      We had this document in our
16   possession, correct.
17          Q.      And PILF had another document of the
18   VERIS report indicating her registration had been
19   canceled, correct?
20                  MR. LOCKERBY:              Object to the form.
21                  THE WITNESS:             Her name was included in
22          the VERIS report, yes.
23                  MR. TEPE:          What's the objection,
24          counsel?
25                  MR. LOCKERBY:              The objection is the

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                                                                            Page 98
 1          question is misleading.                    It assumes that
 2          this document does not say "canceled -
 3          declared noncitizen" on it.                      By using the
 4          phrase "another document" it misstates the
 5          record and the evidence.
 6   BY MR. TEPE:
 7          Q.      So you would agree at the time PILF
 8   published Alien Invasion II, it had at least one
 9   document indicating Ms. Freeman was claiming U.S.
10   citizenship, correct?
11          A.      This document was in our possession.
12          Q.      Her voter registration application,
13   correct?
14          A.      Yes.
15          Q.      Now, you also had another document
16   published in Exhibit 1 to Alien Invasion II that
17   indicated her voter registration had been
18   canceled, correct?
19          A.      The VERIS report indicated her voter
20   registration had been canceled.
21          Q.      Before publishing Alien Invasion II,
22   did you try to contact Ms. Freeman to ask about
23   these two different documents?
24          A.      No.
25          Q.      To your knowledge, did anyone at PILF

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                                                                                Page 99
 1    try to contact Ms. Freeman?
 2           A.      No.
 3           Q.      You had uploaded all these exhibits to
 4    PILF's website, correct?
 5           A.      I did not, I don't believe.                      I don't
 6    recall if I did.
 7                   (Exhibit 12 marked for identification
 8           and attached hereto.)
 9    BY MR. TEPE:
10           Q.      I believe this is marked as Exhibit
11    12.
12           A.      It is.
13           Q.      With a Bates number ending in 996?
14           A.      Correct.
15           Q.      Does this refresh your recollection as
16    to whether you uploaded exhibits to PILF's
17    website for Alien Invasion II?
18           A.      It does say:            "I have all the exhibits
19    uploaded to the website and ready to go."
20           Q.      Now, uploading all of these exhibits
21    to PILF's website effectively allowed anyone in
22    the world with Internet access to see the names
23    of the people listed in the exhibits to Alien
24    Invasion II, correct?
25           A.      Once the pages were made live, that's

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                                                                          Page 100
 1    correct.
 2           Q.      See their home addresses, correct?
 3           A.      I'm sorry, can you repeat the
 4    question?
 5                   MR. TEPE:        Strike that.
 6    BY MR. TEPE:
 7           Q.      Were there discussions at PILF
 8    regarding whether to publish these records on the
 9    Internet?
10           A.      By "these records" you mean what?
11           Q.      The records that were included as
12    exhibits to Alien Invasion II.
13           A.      We had discussions, yes.
14           Q.      What do you recall about those
15    discussions?
16           A.      I recall that with the Alien Invasion
17    I report we did not publish all the records
18    referenced in the report.
19           Q.      So in Alien Invasion I you had
20    published the VERIS report for Prince William
21    County but not the VERIS report for Bedford
22    County, for example?
23           A.      For example, correct.
24           Q.      But in Alien Invasion II you published
25    the VERIS report for 120-some-odd jurisdictions?

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                                                                          Page 101
 1           A.      Correct.
 2           Q.      Was there a discussion that you recall
 3    as to whether or not PILF should publish on the
 4    Internet the VERIS report?
 5           A.      I do not recall that discussion.
 6           Q.      Was PILF trying to make it easy for
 7    law enforcement -- Strike that.
 8                   By publishing these exhibits online,
 9    was PILF trying to make it easy for law
10    enforcement to prosecute people?
11           A.      I don't recall that being discussed as
12    a reason to publish them online.
13           Q.      Do you recall that being discussed as
14    a reason to have Alien Invasion reports
15    published?
16           A.      When you say "published," do you mean
17    printed somewhere other than online?
18           Q.      No.    Just published generally, whether
19    it's in print, online.
20           A.      I recall that being discussed.
21           Q.      Do you recall Mr. Adams telling you,
22    "Remember, this was intended to be a turnkey
23    prosecution for officials.                  I can hand them the
24    report and they can virtually get a grand jury
25    indictment."       Do you recall that?

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                                                                          Page 102
 1           A.      Vaguely.
 2           Q.      In the report Alien Invasion II, PILF
 3    advocated using the exhibits to Alien Invasion II
 4    to prosecute individuals, correct?
 5           A.      I recall that we advocated for
 6    enforcement of the law.
 7           Q.      And specifically prosecution of people
 8    in the records that PILF was publishing, correct?
 9           A.      I don't recall that as you're
10    characterizing it, no.
11           Q.      Let's go to page 16 of Alien Invasion
12    II.
13           A.      Is that in the same exhibit?
14           Q.      It's the bigger one.
15           A.      But Exhibit 12, is that a copy of the
16    report?     Or do you want me to use Exhibit 11?
17           Q.      Exhibit 12.
18           A.      This is Exhibit 11.
19           Q.      Or Exhibit 11.
20           A.      Page 16?
21           Q.      Correct.
22           A.      I'm looking at page 16.
23           Q.      Page 16 shows a number of
24    recommendations that PILF was making based on its
25    findings, correct?

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                                                                                Page 103
 1           A.      I think the page speaks for itself.
 2           Q.      So it says at the top "Recommendations
 3    and Solutions," correct?
 4           A.      Yes.
 5           Q.      And then one of the recommendations on
 6    the right-hand side, the last checked box, the
 7    checkmark says:          "Law enforcement at both the
 8    federal and state level should exercise their
 9    authority to prosecute cases of voter fraud.
10    Voter registration and voting history records
11    such as those contained in this report make
12    prosecution an easy task."
13                   Do you see that?
14           A.      I see that.
15           Q.      And then if you go to page 3 of the
16    report, the third paragraph on the left-hand
17    side, second sentence, it says:                        "The response of
18    law enforcement officials to both single
19    instances of voter fraud and the hundreds of
20    examples documented in this report should be the
21    same: swift, sure and unwavering."
22                   Do you see that?
23           A.      I see that.
24           Q.      Do you understand that to be swift
25    prosecution of the hundreds of examples

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                                                                          Page 104
 1    documented in this report?
 2           A.      I understand it to mean the response
 3    of law enforcement.           That is what it is
 4    modifying.
 5           Q.      Response of law enforcement should be
 6    swift, correct?
 7           A.      That's what it means, yes.
 8           Q.      It should be unwavering, correct?
 9           A.      Unwavering also modifies response.
10           Q.      And what kind of response was PILF
11    advocating there?
12           A.      Further investigation.
13           Q.      And potentially prosecution?
14           A.      If after the investigation there was
15    grounds to prosecute, then, yes.
16           Q.      Well, why wouldn't there be grounds to
17    prosecute if you had 5556 noncitizens who had
18    registered to vote illegally?
19           A.      I'm not a law enforcement official.
20    There may be a number of reasons they do not
21    prosecute.
22           Q.      Well, putting aside maybe a
23    discretionary decision whether to prosecute
24    people, you are confident that the 5556 people
25    listed in Exhibit 1 to Alien Invasion II are

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                                                                                Page 105
 1    noncitizens, right?
 2           A.      We reported the contents of the
 3    official records provided by the government.
 4           Q.      Right.      And in your report you call
 5    them 5556 noncitizens, correct?
 6                   MR. LOCKERBY:            Object to form.
 7                   THE WITNESS:           I believe the report
 8           uses that language, yes.
 9    BY MR. TEPE:
10           Q.      So part of PILF's purpose in
11    publishing Alien Invasion II was to see some
12    people be prosecuted, correct?
13                   MR. LOCKERBY:            Object to the form.
14                   THE WITNESS:           No, I would not agree
15           with that.
16    BY MR. TEPE:
17           Q.      That was not a purpose of publishing
18    Alien Invasion II, was to see some people be
19    prosecuted?
20           A.      One of the purposes was to investigate
21    whether there should be prosecution.                           This was
22    evidence we intended for them to use in their
23    investigation.
24           Q.      Well, I believe you recalled earlier
25    Mr. Adams telling you that Alien Invasion was

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                                                                          Page 106
 1    intended to be a turnkey prosecution for
 2    officials.      Hand them the report and they could
 3    virtually go get a grand jury indictment,
 4    correct?
 5                   MR. LOCKERBY:            Object to the form.
 6           The question misstates the witness's prior
 7           testimony.      The transcript reflects what he
 8           said.    And on its face the question has been
 9           asked and answered, if it is a question.
10                   THE WITNESS:           If there is a question,
11           I ask that it be repeated.
12    BY MR. TEPE:
13           Q.      Was publishing Alien Invasion II --
14    Strike that.
15                   Was one purpose of publishing Alien
16    Invasion II to get at least some people
17    prosecuted --
18                   MR. LOCKERBY:            Objection.
19    BY MR. TEPE:
20           Q.      -- by law enforcement?
21                   MR. LOCKERBY:            Objection; asked and
22           answered.
23                   THE WITNESS:           If there were grounds
24           for prosecution?
25    BY MR. TEPE:

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                                                                                 Page 107
 1           Q.      Yes.
 2           A.      Yes.
 3           Q.      Now, PILF also recognized that one of
 4    the goals of prosecution is to change the
 5    behavior of those who are not directly
 6    prosecuted, correct?
 7                   MR. LOCKERBY:              Object to the form.
 8                   THE WITNESS:             Please repeat the
 9           question.
10    BY MR. TEPE:
11           Q.      PILF also recognized that one of the
12    goals in prosecution generally is to change the
13    behavior of those who are not directly
14    prosecuted, correct?
15           A.      I guess I don't know who you're
16    referring to when you say "those not directly
17    prosecuted."
18           Q.      Okay.       Let's go to page 2 of the
19    report.
20           A.      I'm looking at page 2.
21           Q.      Under the header "The Stakes," fourth
22    paragraph down, the report states:                          "Even worse,
23    federal and state law enforcement officials who
24    are entrusted with prosecuting noncitizens who
25    register and vote as a means to deter others from

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                                                                          Page 108
 1    doing the same have repeatedly done nothing when
 2    provided with solid evidence of noncitizen
 3    participation in the electoral system."
 4                   Do you see that?
 5           A.      I see that.
 6           Q.      Is it fair to say that PILF believed
 7    that part of the reason why you prosecute is to
 8    deter others from engaging in the same conduct?
 9           A.      If by "others" you mean those who
10    would intend to break the law, then enforcement
11    of the law has a deterrent effect on those
12    people.     That is the theory, at least.
13           Q.      Do you believe that investigating
14    those accused of breaking the law could influence
15    the behavior of others accused of breaking the
16    law?
17                   MR. LOCKERBY:            Object to the form of
18           the question.
19                   THE WITNESS:           It depends on who is
20           doing the investigating and who's doing the
21           accusing.
22    BY MR. TEPE:
23           Q.      But it's possible?
24           A.      I would agree it's possible.
25           Q.      PILF could have simply handed the data

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                                                                          Page 109
 1    it collected from election officials to
 2    prosecutors confidentially, correct?
 3           A.      We could have.
 4           Q.      Instead, PILF decided to publish
 5    people's names for all the world to see, correct?
 6                   MR. LOCKERBY:              Object to the form.
 7                   THE WITNESS:             No, I disagree with "all
 8           the world."
 9    BY MR. TEPE:
10           Q.      Well, PILF decided to publish people's
11    names on the Internet, correct?
12                   MR. LOCKERBY:              Objection.
13                   THE WITNESS:             We published people's
14           names on the Internet.
15    BY MR. TEPE:
16           Q.      As opposed to just simply handing over
17    those names to prosecutors confidentially,
18    correct?
19           A.      It was not an either/or.
20           Q.      Well, those were two options, publish
21    it on the Internet or hand it over to
22    prosecutors, correct?               Those are two options?
23           A.      Those are two possible options, yes.
24           Q.      Are you aware of other options?
25           A.      Yes.

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                                                                                Page 110
 1           Q.      Such as?
 2           A.      We could have printed it and
 3    distributed it about town.
 4           Q.      Okay.     Any other options?
 5           A.      It could have been mailed to a select
 6    number of people.          There's probably many more
 7    options of what we could have done with a printed
 8    document.
 9           Q.      And you could have also not handed the
10    documents over to prosecutors, correct?                        That was
11    an option?
12           A.      Not giving it to prosecutors was an
13    option?
14           Q.      Right.
15           A.      That was an option.
16           Q.      Not publishing it on the Internet was
17    an option?
18           A.      That was an option.
19           Q.      So why -- why did PILF decide to
20    publish these records on the Internet?                         Do you
21    know?
22           A.      I do not recall discussions as to why
23    it should be published on the Internet.
24           Q.      So PILF published the names and
25    addresses of thousands of people, and you don't

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                                                                               Page 111
 1    know why they did it?
 2                   MR. LOCKERBY:            Object to the form.
 3                   THE WITNESS:           No, I said I don't
 4           recall discussions as to why it was
 5           published on the Internet.
 6    BY MR. TEPE:
 7           Q.      Okay.     So you don't recall
 8    discussions, but you know why PILF did it?
 9           A.      I know that it was done.                        I don't
10    recall discussing the reason why it was done.
11    Nor do I know the reason it was necessarily done.
12           Q.      So you uploaded for publication on the
13    Internet the names and addresses of over 5000
14    people and you don't know why?
15                   MR. LOCKERBY:            Object to the form.
16           Asked and answered.
17                   THE WITNESS:           Again, I don't -- I
18           don't recall having a discussion as to this
19           is why we need to publish this on the site,
20           no.
21    BY MR. TEPE:
22           Q.      Now, we had discussed earlier that
23    PILF had voter registration applications for many
24    people, correct?
25           A.      You're referring to the applications?

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                                                                          Page 112
 1           Q.      Published in Exhibit 12 to Alien
 2    Invasion II, correct.
 3           A.      We possessed the registration
 4    applications contained in Exhibit 12.
 5           Q.      There's 764 applications?
 6           A.      I don't know the exact number.
 7           Q.      Did you personally review these
 8    applications?
 9           A.      I did review some of them.
10           Q.      What was the purpose for collecting
11    these voter registration applications?
12           A.      One reason was to observe what answer
13    the registrant gave to the citizenship question.
14           Q.      Which box they checked, correct?
15           A.      "Yes" or "No," correct.
16           Q.      And so some registrants on these
17    applications checked "No," correct?
18           A.      We found some of them checked "No" to
19    that question, yes.
20           Q.      And there were a few registration
21    applications in which no box was checked?
22           A.      That sounds right, correct.
23           Q.      But the vast majority of voter
24    registrations had the citizenship question
25    answered yes, correct?

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                                                                                   Page 113
 1           A.      Correct.
 2           Q.      PILF didn't limit its Alien Invasion
 3    II report to just those people who had answered
 4    no to the citizenship question, correct?
 5           A.      Correct.
 6           Q.      Let's go to page 13 of the Alien
 7    Invasion II report.
 8           A.      13?    Did you say page 13?
 9           Q.      Yeah.      I'm sorry.             Yes, I did.
10           A.      Okay, I'm looking at page 13.
11           Q.      On the right-hand side, third
12    paragraph from the bottom, it begins:                           "In the 16
13    jurisdictions surveyed, PILF reviewed 764 voter
14    registration applications submitted by applicants
15    who were later removed for lacking U.S.
16    citizenship."
17                   Do you see that?
18           A.      I see that sentence.
19           Q.      And then two paragraphs down it refers
20    to 702 noncitizen registrants getting on the
21    voter rolls for checking "Yes" to the citizenship
22    question, correct?
23           A.      That's what the paragraph refers to,
24    yes.
25           Q.      And then the footnote 69, that refers

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                                                                              Page 114
 1    the reader to Exhibit 12.                Is that right?
 2           A.      Footnote 69 refers to Exhibit 12.
 3           Q.      So of the 764 voter registration
 4    applications reviewed by PILF, 702 answered "Yes"
 5    to the citizenship question, correct?
 6           A.      That's what's indicated on this page.
 7           Q.      But PILF in its report calls these 702
 8    registrants noncitizens, correct?                       On the bottom
 9    of page 13.
10           A.      I think the paragraph speaks for
11    itself.
12           Q.      It says 702 noncitizen registrants,
13    correct?
14           A.      The last paragraph does, yes.
15           Q.      And you had the phone numbers for
16    these 702 registrants, correct?
17           A.      I don't know if we had phone numbers
18    for all of them.
19           Q.      But for many of them you did because
20    it's part of the voter registration application,
21    correct?
22           A.      I can't say that we had many either
23    without looking at them.
24           Q.      Well, flip through.
25           A.      All 702?

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                                                                                   Page 115
 1           Q.      I mean, if you have a real doubt that
 2    the voter registration applications contained
 3    people's phone numbers, I guess so.
 4           A.      I don't have a basis for believing
 5    it's required information.
 6           Q.      That wasn't the question.                       The
 7    question was:       Isn't it true that for probably
 8    most if not all of the 702 applicants that are
 9    named as noncitizens in the report, you had their
10    phone numbers, correct?
11           A.      Again, I'm not willing to say that I
12    had them without looking at them.
13                   MR. LOCKERBY:            Object to the form.
14           "Most" is undefined.
15                   THE WITNESS:           I'm happy to look
16           through all 702 if you would like me to.
17    BY MR. TEPE:
18           Q.      You appear to be in real doubt as to
19    whether or not you had people's phone numbers.
20    So if you want to flip through it.
21                   MR. LOCKERBY:            Objection.             Now counsel
22           is arguing with the witness.                     Does the
23           question about most still stand, or has it
24           been withdrawn?
25                   MR. TEPE:        It still stands.

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                                                                                Page 116
 1                   THE WITNESS:             Then my answer is I do
 2           not recall how many applications contained a
 3           phone number.
 4    BY MR. TEPE:
 5           Q.      It's right in front of you.                       Do you
 6    want to check?
 7           A.      No.
 8           Q.      Why not?
 9           A.      If you're giving me the option, then I
10    would rather not look at them.
11           Q.      Why don't you go to page 96.                      I
12    believe it's flagged.
13           A.      Page 96 of what?
14           Q.      Of Exhibit 12.
15           A.      I don't believe they have page
16    numbers.
17           Q.      It should be flagged.                    We're looking
18    for the application of Abby Sharpe Focht.
19           A.      I believe I'm looking at it.
20           Q.      Ms. Focht, who, for the record, is now
21    known as Gearhart, checked "Yes" to the question
22    "Are you a citizen of the United States?"
23    Correct?
24           A.      Yes.
25           Q.      Now, when you published her voter

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                                                                           Page 117
 1    registration application as part of Exhibit 12,
 2    PILF knew that her application had not been
 3    canceled, correct?
 4                   MR. LOCKERBY:            Object to the form.
 5                   MR. TEPE:        Strike that.
 6    BY MR. TEPE:
 7           Q.      When PILF published Alien Invasion II
 8    and specifically Ms. Focht's application as part
 9    of Exhibit 12, PILF was aware that her voter
10    registration had not been canceled, correct?
11                   MR. LOCKERBY:            Object to the form of
12           the question.        Not only does it assume facts
13           not in evidence but counsel is required to
14           have a good faith basis for asking a
15           question when in fact the sworn testimony of
16           Ms. Gearhart is that her registration was
17           canceled at one point.
18                   MR. TEPE:        Okay.
19    BY MR. TEPE:
20           Q.      PILF was aware when it published Alien
21    Invasion II that Ms. Focht, now Gearhart, knew
22    that she had affirmed under oath her citizenship,
23    correct?
24                   MR. LOCKERBY:            Objection.             The
25           question is vague as to time period.

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                                                                          Page 118
 1    BY MR. TEPE:
 2           Q.      Any time period.
 3           A.      We possessed her voter registration
 4    application.
 5           Q.      And you also possessed her affirmation
 6    of citizenship, correct?
 7           A.      We did, but I cannot say that I was
 8    aware of it.
 9           Q.      You can put that to the side for the
10    moment.
11                   (Exhibit 13 marked for identification
12           and attached hereto.)
13    BY MR. TEPE:
14           Q.      The court reporter has marked as
15    Exhibit 13 a document with the beginning Bates
16    number of 13234.
17           A.      I see that.
18           Q.      Do you recognize this document?
19           A.      I've seen it before.
20           Q.      What do you recognize it to be?
21           A.      It's an e-mail from
22    waltlatham@yorkcounty.gov written to me and
23    Shawna Powell.
24           Q.      And it's dated November 22, 2016?
25           A.      The top e-mail is.                I'm sorry, the

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                                                                          Page 119
 1    first page of Exhibit 13 is.
 2           Q.      It's only one e-mail, correct?
 3           A.      Yes.
 4           Q.      Now, do you recall that for a period
 5    of time the Virginia Department of Elections took
 6    the position that it could not hand over the
 7    VERIS reports based on their interpretation of
 8    the federal statute?
 9           A.      Yes, they took that position.
10           Q.      And at this point in time, November of
11    2016, York County was taking the same position,
12    that it could not hand over the VERIS reports
13    themselves, correct?
14           A.      They were abiding by instructions from
15    the Department of Elections not to produce the
16    information requested, or at least the VERIS
17    report.
18           Q.      And so in lieu of that, Mr. Latham,
19    the general registrar of York County, sent copies
20    of correspondence with voters to you, correct?
21           A.      This e-mail says that he sent -- he
22    has attached a batch of letters sent to voters
23    who indicated that they were not citizens.
24           Q.      Right.        These are copies of the
25    notices of intent to cancel and affirmation of

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                                                                                Page 120
 1    citizenship forms and voter registration
 2    cancellation notices, correct?
 3           A.      Those appear to be documents that are
 4    attached to this e-mail.
 5           Q.      If you go to Bates number 13324.                      Do
 6    you see that?
 7           A.      I see that.
 8           Q.      This is a notice of intent to cancel
 9    directed to Abby Sharpe Focht.                     Is that right?
10           A.      Correct.
11           Q.      And it's dated April 13, 2012?
12           A.      That's the date on it.
13           Q.      And included with that mailing was an
14    affirmation of citizenship form for her to
15    complete, correct?
16           A.      That's the next page after the notice
17    of intent to cancel.
18           Q.      And in the notice of intent to cancel
19    from Mr. Latham to Ms. Focht it says:                          "Please
20    complete the affirmation of citizenship form and
21    return it using the enclosed envelope."                         Right?
22           A.      That's what the notice of intent to
23    cancel says.
24           Q.      And it says:           "If you do not respond
25    within 14 days, you will be removed from the list

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                                                                            Page 121
 1    of registered voters."                Correct?
 2           A.      Yes.
 3                   (Exhibit 14 marked for identification
 4           and attached hereto.)
 5    BY MR. TEPE:
 6           Q.      What has been marked as Exhibit 14
 7    begins with Bates number 13148.
 8           A.      I see that.
 9           Q.      Do you recognize this document?
10           A.      It's another e-mail from Walt Latham
11    to me and Shawna Powell.
12           Q.      Same day, November 22nd?
13           A.      Of 2016.
14           Q.      And in the subject line it says:
15    "York County Va - files requested - batch 3 of
16    4."    Correct?
17           A.      That's the top e-mail of this page,
18    yes.
19           Q.      So he was sending you a bunch of
20    records in four different e-mails.                          Is that
21    right?
22           A.      Yes.
23           Q.      And in this third batch you were sent
24    the voter registration application of Ms. Focht.
25    Is that right?

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                                                                          Page 122
 1           A.      I have to look at the -- And what was
 2    attached?
 3           Q.      13185.
 4           A.      13185 appears to be the application of
 5    Ms. Focht.
 6           Q.      And this was the application that was
 7    published in Exhibit 12 to Alien Invasion II,
 8    correct?
 9           A.      It appears to be the same, yes.
10                   (Exhibit 15 marked for identification
11           and attached hereto.)
12    BY MR. TEPE:
13           Q.      The court reporter has marked as
14    Exhibit 15 a document with the Bates number
15    13118.      Do you see that?
16           A.      I see that.
17           Q.      Do you recognize this document?
18           A.      I've seen it before.
19           Q.      And it's the fourth e-mail of four
20    from Mr. Latham on November 22nd?
21           A.      That looks right.
22           Q.      And he states here:                 "And, finally,
23    here are the responses from voters to our
24    letters."
25                   Do you see that?

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                                                                          Page 123
 1           A.      I see that.
 2           Q.      Do you understand that to mean that
 3    these were the responses to the notices of intent
 4    to cancel?
 5           A.      I don't know what I thought it meant
 6    at the time it was received.
 7           Q.      But you understand that now?
 8           A.      I understand that to be true now.
 9           Q.      If you go to the attachment to this
10    e-mail, not very far in, Bates number 13121.
11           A.      I see that.
12           Q.      What do you recognize this to be?
13           A.      This looks like an affirmation of
14    citizenship from Ms. Focht.
15           Q.      And do you see the "received" stamp at
16    the bottom?
17           A.      I do.
18           Q.      It says "Received April 23, 2012"?
19           A.      I see that.
20           Q.      It was received within two weeks of
21    the notice of intent to cancel going out,
22    correct?
23           A.      I don't recall the date the notice
24    went out.
25           Q.      Well, go back to the earlier exhibit,

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                                                                                   Page 124
 1    Exhibit 13.
 2           A.      Which page?
 3           Q.      I believe it's 13324.                  So the date on
 4    the intent to cancel was April 13th, right?
 5           A.      I see that, yes.
 6           Q.      And York County received it on, it
 7    would appear, April 23rd, correct?                        Based on the
 8    stamp on her affirmation of citizenship form.
 9           A.      Yes, her affirmation of citizenship,
10    it says received April 23, 2012.
11           Q.      That was within two weeks of the
12    intent to cancel going out?
13           A.      According to these dates, yes.
14           Q.      At this time, when Alien Invasion II
15    was published, what was PILF's basis for saying
16    that Ms. Focht was a noncitizen?
17           A.      I believe her application was
18    inadvertently included in Exhibit 12.
19           Q.      And that was PILF's mistake, correct?
20                   MR. LOCKERBY:            Object to the form.
21                   THE WITNESS:           We are the ones who
22           initially included it in Exhibit 12.
23    BY MR. TEPE:
24           Q.      So at the time Alien Invasion II was
25    published you had two things, right?                           You had her

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                                                                            Page 125
 1    voter registration application, correct?
 2           A.      It had been sent to us, correct.
 3           Q.      And you had her affirmation of
 4    citizenship, correct?
 5           A.      It had also been included in an e-mail
 6    from Mr. Latham.
 7           Q.      And they both indicated citizenship,
 8    correct?
 9           A.      I would have to look back at her
10    application to know if she checked "Yes" to that
11    question.
12           Q.      We just looked at that.                     That was
13    13324.      13185, Exhibit 14.
14           A.      131 --
15           Q.      85.
16           A.      Yes, she answered the question "Yes."
17           Q.      So the two documents that PILF had
18    when it published Alien Invasion II indicated
19    citizenship for Ms. Focht, right?
20           A.      We -- we had these two documents.
21           Q.      You included one of those documents,
22    her registration, in Exhibit 12, correct?
23           A.      Her application for voter registration
24    was initially included in Exhibit 12.
25           Q.      And Exhibit 12 contained voter

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                                                                          Page 126
 1    registration applications that PILF said were
 2    noncitizens, correct?
 3                   MR. LOCKERBY:            Object to the form.
 4                   THE WITNESS:           Only based on our
 5           understanding of what was -- should have
 6           been included in there.                  Again, her
 7           application was -- the inclusion of her
 8           application was inadvertent.
 9    BY MR. TEPE:
10           Q.      And that was an inadvertent mistake by
11    PILF, correct?
12                   MR. LOCKERBY:            Object to the form.
13                   THE WITNESS:           Again, I said it was
14           inadvertent, yes.
15    BY MR. TEPE:
16           Q.      And it was a mistake by PILF, correct?
17           A.      The foundation is the one who included
18    it.    Yes.
19           Q.      It wasn't the fault or an error by the
20    Virginia Department of Elections, correct?
21           A.      Well, I believe there was a subsequent
22    e-mail from Mr. Latham in which he explained that
23    he had included correspondence from voters who
24    later affirmed their citizenship.                       He never
25    mentioned that he had included registration

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                                                                                   Page 127
 1    applications of those same voters.
 2           Q.      My question was:                 Isn't it true that
 3    the inclusion of Ms. Focht's voter registration
 4    application in Exhibit 12 of Alien Invasion II
 5    was not the fault of the Virginia Department of
 6    Elections?
 7                   MR. LOCKERBY:            Object to the form.
 8           Asked and answered.
 9                   THE WITNESS:           They were not sent to us
10           by the Virginia Department of Elections, no.
11    BY MR. TEPE:
12           Q.      But PILF blamed the Virginia
13    Department of Elections for Ms. Focht's
14    application getting into Exhibit 12.                            Isn't that
15    right?
16                   MR. LOCKERBY:            Object to the form.
17                   THE WITNESS:           I'm not aware of that
18           accusation.
19                   MR. TEPE:        Do you want to take a
20           break?
21                   MR. LOCKERBY:            This is probably a good
22           time.
23                   MR. TEPE:        Why don't we go off the
24           record.
25                   THE VIDEOGRAPHER:                We are going off

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                                                                            Page 128
 1           the record.        The time is 12:07 p.m.
 2                   (Recess taken.)
 3                   THE VIDEOGRAPHER:                 We are back on the
 4           record.     The time is 12:18 p.m.
 5    BY MR. TEPE:
 6           Q.      Still on the topic of Alien Invasion
 7    II, Mr. Johnson, let's discuss an individual who
 8    troubled you even before Alien Invasion II was
 9    published.      Do you know who I'm referring to?
10           A.      No.
11           Q.      Do you want to go to page 10 of Alien
12    Invasion II?
13           A.      I'm on page 10.
14           Q.      At the very top left there is an
15    individual named Maureen H. Erickson mentioned in
16    the report.
17           A.      I see that.
18           Q.      Now, before she was mentioned in Alien
19    Invasion II, you thought she might be a citizen.
20    Is that right?
21           A.      I don't recall that.
22                   (Exhibit 16 marked for identification
23           and attached hereto.)
24    BY MR. TEPE:
25           Q.      The court reporter has handed you

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                                                                          Page 129
 1    what's been marked as Exhibit 16, Bates number
 2    210.    Do you see that?
 3           A.      I see it.
 4           Q.      Do you recognize this document?
 5           A.      I have seen this before, yes.
 6           Q.      And it is an e-mail discussing Maureen
 7    Erickson, correct?
 8           A.      Some of it appears to discuss her,
 9    yes.
10           Q.      So this e-mail chain is dated June 19,
11    2017, right?
12           A.      Yes.
13           Q.      So that was just two and a half weeks
14    after Alien Invasion II was published, right?
15           A.      That sounds about the right amount of
16    time.
17           Q.      And I understand there was an article
18    that -- in the media that pointed out that
19    Maureen Erickson was a U.S. citizen, correct?
20           A.      Yes.      I think I remember the article
21    that her husband or father had informed the
22    media -- they claimed that she was a U.S.
23    citizen, yes.
24           Q.      Do you have any basis to dispute that
25    claim?

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                                                                          Page 130
 1           A.      Other than her inclusion on the VERIS
 2    report, no.
 3           Q.      That her registration had at one time
 4    been canceled?
 5           A.      Under the designation declared
 6    noncitizen, yes.         Other than that, I have no
 7    reason to.
 8           Q.      On June 19th you wrote with regard to
 9    Ms. Erickson:       "It troubled me too."
10                   Do you see that?
11           A.      I see that.
12           Q.      What troubled you?
13           A.      I think it troubled me that I could
14    not verify the requirements of UOCAVA.
15           Q.      What is UOCAVA?
16           A.      The Uniformed and Overseas Citizens
17    Voter Act.      I'm not sure what the other letters
18    mean.
19           Q.      So just taking a step back, on the
20    VERIS report for Prince William County there was
21    a Guatemalan address, correct?
22           A.      I think we determined it was in
23    Guatemala, yes.
24           Q.      But just because someone is residing
25    abroad doesn't mean that they can't, if they're

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                                                                                   Page 131
 1    citizens, vote in U.S. elections, correct?
 2           A.      Correct.
 3           Q.      Now, why did PILF highlight her in the
 4    text of Alien Invasion II?                 Do you recall?
 5           A.      I believe it was because of the
 6    indication that she resided at a foreign address,
 7    which was unique to her among those on the list.
 8           Q.      But at the time, you knew that just
 9    residing at a foreign address didn't necessarily
10    indicate one way or another about citizenship,
11    right?
12           A.      Correct.
13           Q.      In your e-mail you said:                        "If it
14    wasn't her, it would be someone else they could
15    dig up that was actually a citizen."
16                   Do you see that?
17           A.      I see that.
18           Q.      What did you mean by that?
19           A.      I believe I was predicting that the
20    reports would come under scrutiny and that there
21    would be an effort to try to verify that someone
22    on these lists was actually a citizen.                            Which is
23    what happened.
24           Q.      At the time you understood that there
25    was a chance that some of the people identified

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                                                                          Page 132
 1    in Alien Invasion II were in fact citizens,
 2    correct?
 3           A.      Well, I was referring to the claim
 4    that Maureen Erickson was a citizen.
 5           Q.      No, I understand.                I'm asking a
 6    different question, which is at the time Alien
 7    Invasion II was published you recognized that
 8    some of those people on the list are citizens,
 9    right?
10           A.      That's my understanding now.                    I
11    understand that when they were canceled, they
12    were canceled for citizenship reasons, and they
13    could have since then become citizens.
14           Q.      But certainly on June 19th you
15    recognized that, if it wasn't Maureen Erickson,
16    there would be someone else on the list published
17    with Alien Invasion II that would actually be a
18    citizen?
19                   MR. LOCKERBY:            Object to the form.
20                   THE WITNESS:           I think I was
21           speculating that could be a possibility,
22           yes.
23    BY MR. TEPE:
24           Q.      And in fact, you had knowledge of --
25    Strike that.

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                                                                          Page 133
 1                   So before Alien Invasion II was
 2    published, you knew that people listed in the
 3    exhibits to Alien Invasion II had reregistered
 4    after their registration had been canceled,
 5    correct?
 6           A.      I don't recall having that knowledge
 7    at the time necessarily.                I recognize now that
 8    there's notations on them suggesting that they
 9    reregistered.
10           Q.      And specifically today we looked at
11    Bedford County as an example, right?
12           A.      We did, yes.
13           Q.      Are you -- is it your testimony that
14    you didn't look at the records sent to you to
15    verify that these people had not reregistered?
16                   MR. LOCKERBY:            Objection; misstates
17           the witness's testimony.
18                   THE WITNESS:           I'm not following the
19           question.
20    BY MR. TEPE:
21           Q.      So before Alien Invasion II was
22    published, you possessed information that people
23    listed in the exhibits to Alien Invasion II had
24    reregistered after their registration had been
25    canceled, correct?

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                                                                          Page 134
 1           A.      Yes.
 2           Q.      And before Alien Invasion II was
 3    published, you had information that people listed
 4    in the exhibits to Alien Invasion II had affirmed
 5    their citizenship under oath, correct?
 6           A.      Yes, we had documents showing that
 7    they checked "Yes" to the citizenship question at
 8    some point in time.
 9           Q.      And before Alien Invasion II was
10    published, you had information indicating that
11    what Alien Invasion II calls 5556 noncitizens
12    includes people who are likely citizens?
13           A.      No, I disagree with the
14    characterization.            And I don't know what "likely"
15    means.
16           Q.      Why was Alien Invasion II published in
17    May of 2017 as opposed to some other time?
18           A.      I don't recall.
19           Q.      Isn't it the case that there was some
20    urgency to get the report published in May of
21    2017?
22           A.      I might recall an e-mail to that
23    effect, but I don't know what the urgency was.
24           Q.      The court reporter has handed you a
25    document that was previously marked as VVA

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                                                                                     Page 135
 1    Deposition Exhibit 26.
 2           A.      I see that.
 3           Q.      And it has the Bates number 1233.                          Do
 4    you see that?
 5           A.      I do.
 6           Q.      Do you recognize this document?
 7           A.      Yes, I've seen it before.
 8           Q.      It's an e-mail that you sent on
 9    May 17, 2017, to Reagan George.                      Do you see that?
10           A.      Yes, I do see that.
11           Q.      Copying Logan Churchwell?
12           A.      Yes, I see that.
13           Q.      Who is also at PILF, right?
14           A.      He is.
15           Q.      You wrote to Mr. George:                        "I don't
16    mean to beat a dead horse but some issues on our
17    end have us needing to get our report out ASAP.
18    Whatever you can do to press this urgency with
19    the people running the voter history, that would
20    be appreciated."
21                   Do you see that?
22           A.      I see that.
23           Q.      Do you recall having conversations
24    with Mr. George about this urgency?
25           A.      I vaguely recall this e-mail.                        It

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                                                                             Page 136
 1    suggests that I had told him about it before, but
 2    I don't recall anything specific.
 3           Q.      Well, you say:            "I don't mean to beat
 4    a dead horse."        Usually that expression is used
 5    when you've told someone something before,
 6    correct?
 7           A.      Right.      That's what I mean by it
 8    suggests I mentioned this to him before.
 9           Q.      And you have no basis to say that you
10    didn't tell him that there was some urgency to
11    getting Alien Invasion II published?
12           A.      No, nothing to suggest I did not
13    mention this before.
14           Q.      Was the reason Alien Invasion II was
15    published in May of 2017 related to the fact that
16    Mr. Adams wanted to piggyback on President
17    Trump's announcement of the Voter Fraud
18    Commission?
19                   MR. LOCKERBY:            Object to the form.
20                   THE WITNESS:           Right.         The phrasing is
21           a little vague.          I do recall something about
22           the timing.       I don't remember why
23           specifically.
24    BY MR. TEPE:
25           Q.      The court reporter has handed over a

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                                                                                Page 137
 1    document that's been previously marked as VVA
 2    Deposition Exhibit 27.
 3           A.      I see that.
 4           Q.      Do you recognize this document?
 5           A.      Only vaguely.
 6           Q.      At the bottom of the document, meaning
 7    the first e-mail, the e-mail from Reagan George
 8    on May 17, 2017, to a Steve and a Nancy.                         Do you
 9    see that?
10           A.      On May 17th?
11           Q.      Yes.
12           A.      Yes, I see that.
13           Q.      Do you know who Steve and Nancy are?
14           A.      I mean, I'm familiar with them because
15    of some of these correspondence, but I do not
16    recall who they are specifically.
17           Q.      Well, Mr. George here writes:
18    "Christian is wanting to get their article
19    written ASAP to piggyback on Trump's announcement
20    of the Voter Fraud Commission."
21                   Do you see that?
22           A.      I see that.
23           Q.      Do you recall telling Mr. George that
24    this was the reason why PILF wanted to get Alien
25    Invasion II written ASAP?

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                                                                          Page 138
 1                   MR. LOCKERBY:             Object to the form of
 2           the question.
 3                   THE WITNESS:            I don't recall telling
 4           Mr. George that that was the reason for the
 5           urgency.
 6    BY MR. TEPE:
 7           Q.      Do you recall telling Mr. George that
 8    there was some other reason for the urgency?
 9           A.      No.
10           Q.      Do you recall having any
11    conversations, not with Mr. George but with
12    others at PILF, about the urgency to get Alien
13    Invasion II published?
14           A.      I don't recall having those
15    conversations.        Other than the fact that Logan
16    Churchwell was included on this previous exhibit
17    with Mr. George.
18           Q.      How did you receive the records that
19    you used from -- Strike that.
20                   How did you receive the records that
21    election officials sent to you and that were used
22    in Alien Invasion II?
23           A.      Some of them were received in the
24    mail, and I think some of them were received via
25    e-mail.     It's possible but I don't -- it's

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                                                                          Page 139
 1    possible that some registrars gave us removable
 2    media that included records, but I couldn't say
 3    for sure.
 4           Q.      And they would have mailed that out to
 5    you?
 6           A.      That would have also been mailed.
 7           Q.      So none of the records you relied on
 8    for Alien Invasion II came from people visiting
 9    the jurisdictions and collecting records,
10    correct?
11           A.      No, I think some of them were
12    collected in person.
13           Q.      Which ones?
14           A.      I don't recall the specific
15    jurisdictions.
16           Q.      Well, Alien Invasion -- excuse me,
17    Exhibit 1 to Alien Invasion II came by e-mail
18    from the Virginia Department of Elections,
19    correct?
20           A.      Yes.
21           Q.      And the other bulk of records that you
22    used for Alien Invasion II are contained in
23    Exhibit 12, correct?              The voter registration
24    applications?
25           A.      Exhibit 12 was the registration

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                                                                          Page 140
 1    applications.
 2           Q.      And how did PILF come to obtain those
 3    records?
 4           A.      I believe individual registrars sent
 5    us VERIS reports that pertained to their specific
 6    jurisdictions, and we then asked the registrars
 7    for applications for anyone included on those
 8    lists in a subsequent request.
 9                   MR. TEPE:        Break for lunch?
10                   THE WITNESS:           Sure.
11                   MR. LOCKERBY:            Works for me.
12                   THE VIDEOGRAPHER:                We are going off
13           the record.       The time is 12:46 p.m.
14                   (Recess taken.)
15

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                                                                           Page 141
 1    -------------------------------------------------
 2                          AFTERNOON SESSION
 3                                1:17 p.m.
 4    -------------------------------------------------
 5                   THE VIDEOGRAPHER:                We are back on the
 6           record.     The time is 1:17 p.m.
 7    BY MR. TEPE:
 8           Q.      Mr. Johnson, you understand you're
 9    still under oath, correct?
10           A.      I do understand that.
11           Q.      Have you ever discussed the Alien
12    Invasion reports with a prosecutor?
13           A.      I have not, no.
14           Q.      Have you ever discussed with a
15    prosecutor the subject of a noncitizen voting
16    generally?
17           A.      I don't believe so, no.
18           Q.      Have you ever discussed the outreach
19    to Virginia prosecutors with other PILF
20    personnel?
21           A.      I don't recall.
22           Q.      You may have?
23           A.      I may have.
24           Q.      Now, in Alien Invasion II, as we saw
25    earlier in your testimony, PILF recommended

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                                                                          Page 142
 1    prosecution of noncitizen registrants, correct?
 2                   MR. LOCKERBY:            Object to the form.
 3                   THE WITNESS:           I believe my testimony
 4           was that we recommended a response from law
 5           enforcement officials.                   And that response
 6           included investigation and, if grounds
 7           existed, for prosecution.
 8    BY MR. TEPE:
 9           Q.      And we also discussed that PILF
10    thought that voter registration and voting
11    history records such as those contained in Alien
12    Invasion II made prosecution an easy task,
13    correct?
14           A.      Is that a quote from the report?
15           Q.      If you want to refresh your
16    recollection, you can go to page 16 of Alien
17    Invasion II.
18           A.      Yes, it sounds like you're quoting the
19    last paragraph next to the last checkmark on page
20    60.
21           Q.      And this was one of the
22    recommendations?
23           A.      It's in the recommendation section,
24    yes.
25           Q.      And to make that task even easier,

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                                                                          Page 143
 1    PILF actually sent records to prosecutors,
 2    correct?
 3           A.      I believe so, yes.
 4                   (Exhibit 17 marked for identification
 5           and attached hereto.)
 6    BY MR. TEPE:
 7           Q.      The court reporter has just handed you
 8    what's been marked as Exhibit 17 with the
 9    beginning Bates number 782.
10                   Do you see that?
11           A.      I see that.
12           Q.      Do you recognize this document?
13           A.      I've seen it before, yes.
14           Q.      The first page is an e-mail from you
15    to Mr. Adams and others entitled -- or the
16    subject line is "Mailing list," correct?
17           A.      Yes.
18           Q.      And this is May 26, 2017?
19           A.      Yes.
20           Q.      So this is just a few days before
21    Alien Invasion II was published, correct?
22           A.      Yes.
23           Q.      And you write:              "Here is the mailing
24    list.    It should have everyone on the list you
25    sent and the people we discussed this morning."

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                                                                          Page 144
 1                   Do you see that?
 2           A.      I see that.
 3           Q.      And there is also a proposed cover
 4    letter attached, correct?
 5           A.      Right.        It's not in the exhibit, but
 6    it looks like it's attached to the e-mail.
 7           Q.      You don't have a copy of the -- it's
 8    the last page.
 9           A.      Oh, last page?
10           Q.      Yes.
11           A.      Yes, I see that now.
12           Q.      This is a draft of a letter that would
13    go to the individuals listed in the mailing list,
14    correct?
15           A.      It appears to be, yes.
16           Q.      The first sentence of the draft letter
17    says:    "Some people claim there is no voter
18    fraud.      The enclosed report refutes that claim."
19                   Do you see that?
20           A.      I see that.
21           Q.      Before Alien Invasion II was
22    published, did you believe that noncitizen voter
23    fraud was a problem?
24           A.      Before Alien II was published?
25           Q.      Yes.

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                                                                             Page 145
 1           A.      Yes, I did.
 2           Q.      And was one of the motivations of
 3    engaging in the project that resulted in Alien
 4    Invasion I and Alien Invasion II seeking to find
 5    proof of voter fraud?
 6           A.      I would characterize that as one of
 7    the motivations.           Maybe not just proof but the
 8    extent of voter fraud.
 9           Q.      That there was a significant amount of
10    it existing, correct?
11           A.      Well, we were exploring what the
12    extent was.
13           Q.      So this e-mail attaches a list, a
14    mailing list, correct?                Why don't we take a look
15    at that.
16           A.      It does say that a mailing list is
17    attached.
18           Q.      And in fact, a mailing list was
19    attached, correct?
20           A.      Yes.
21           Q.      So let's just go through this list.
22    The top of the list, there are a bunch of members
23    of the general assembly on the mailing list.                      Is
24    that right?
25           A.      I don't have a copy of the list.                  It

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                                                                             Page 146
 1    simply says produced in native format.
 2                   MR. TEPE:          Okay.           Why don't we just
 3           briefly go off the record.
 4                   THE VIDEOGRAPHER:                  We are going off
 5           the record.         The time is 1:24 p.m.
 6                   (Off the record.)
 7                   THE VIDEOGRAPHER:                  We are back on the
 8           record.     The time is 1:30 p.m.
 9    BY MR. TEPE:
10           Q.      Okay.       So just to begin, we're looking
11    at Exhibit 17, Bates 782, correct, on the front
12    page?
13           A.      782 on the front page of the exhibit?
14           Q.      Yes.      So this is Exhibit 17.
15           A.      Yes.
16           Q.      An e-mail from you to Mr. Adams and
17    others attaching a mailing list, correct?
18           A.      Correct.
19           Q.      And this is May 26, 2017?
20           A.      Yes.
21           Q.      This is a few days before Alien
22    Invasion II was published, correct?
23           A.      Yes.
24           Q.      And so this is a list of people that
25    PILF was planning on sending copies of the Alien

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                                                                          Page 147
 1    Invasion II report to, correct?
 2           A.      I believe so, yeah.
 3           Q.      If you take a look at the mailing
 4    list, on the third page of the mailing list there
 5    are a number of commonwealth attorneys listed.
 6    Do you see that?
 7           A.      I see that.
 8           Q.      There is also the U.S. attorney for
 9    the Eastern District of Virginia, correct?
10           A.      I see that, yeah.
11           Q.      The U.S. attorney for the Western
12    District of Virginia, correct?
13           A.      I see that.
14           Q.      The deputy assistant attorney general
15    of the United States?
16           A.      I see that.
17           Q.      And they were sent a copy of the
18    complete Alien Invasion report?
19           A.      I don't have personal knowledge that
20    they were sent one.           No, I don't.
21           Q.      Do you have personal knowledge that
22    they were sent at least a portion of the Alien
23    Invasion II report?
24           A.      What I mean is I didn't handle the
25    mailings, so I don't have knowledge if it's

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                                                                            Page 148
 1    complete or incomplete.
 2           Q.      Okay.       But certainly you were aware of
 3    the plan to send to prosecutors the Alien
 4    Invasion II report, correct?
 5           A.      Yes.
 6           Q.      Who was in charge of the mailing?                 Do
 7    you recall?
 8           A.      I believe Shawna Powell.
 9           Q.      Are you aware of whether or not any
10    commonwealth attorneys responded to a mailing?
11           A.      I don't recall any responses, or
12    having seen any.
13           Q.      Do you recall follow-up phone calls
14    that PILF made to prosecutors?
15           A.      I do not recall any phone calls.
16           Q.      Do you recall follow-up e-mails with
17    prosecutors regarding the Alien Invasion II?
18           A.      I don't recall seeing any e-mails
19    from -- that included any prosecutors.
20                   (Exhibit 18 marked for identification
21           and attached hereto.)
22    BY MR. TEPE:
23           Q.      The court reporter has just handed you
24    an exhibit that's been marked Exhibit 18 with the
25    Bates number 7382.            Do you see that?

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                                                                                Page 149
 1           A.      I see that.
 2           Q.      Do you recognize this document?
 3           A.      I have seen this before.
 4           Q.      This is an e-mail from you dated
 5    June 27, 2017, correct?
 6           A.      The top e-mail is, yes.
 7           Q.      And it's to Ms. Powell, Mr. Adams and
 8    Mr. Churchwell, correct?
 9           A.      Correct.
10           Q.      And does it appear to be a draft
11    e-mail from Shawna Powell to the Newport News
12    commonwealth attorney?
13           A.      It does, yes.
14           Q.      And in this letter -- it seems to be
15    the e-mail is in the form of a letter.                          Is that
16    fair?
17           A.      Yes, the body of the e-mail.
18           Q.      The draft e-mail?
19           A.      The draft e-mail was in the form of a
20    letter.
21           Q.      And the draft e-mail says:                      "Dear
22    Mr. Gywnn, thank you for speaking with me on the
23    phone yesterday.         Per our conversation, I have
24    attached the list of noncitizens removed for
25    citizen issues from Newport News' voter rolls

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                                                                                 Page 150
 1    from January 1, 2011, to May 22, 2017."
 2                   Do you see that?
 3           A.      I see that.
 4           Q.      Does this document refresh your
 5    recollection that there were phone calls with at
 6    least one commonwealth attorney?
 7           A.      I don't -- again do not recall having
 8    heard about this when it happened.                        But it
 9    does -- it is an e-mail I've seen before.
10           Q.      Do you know who was making phone calls
11    from PILF to commonwealth attorneys?
12           A.      The specific one seems to indicate
13    that Shawna at least spoke with the attorney in
14    Newport News.
15           Q.      Do you know of anyone else having
16    phone calls with commonwealth attorneys?
17           A.      One -- I recall an e-mail discussing a
18    meeting that Mr. Adams intended to have with a
19    commonwealth attorney or a U.S. attorney.                          Other
20    communications like this, I do not recall.
21                   (Exhibit 19 marked for identification
22           and attached hereto.)
23    BY MR. TEPE:
24           Q.      The court reporter has marked as
25    Exhibit 19 a document with Bates number 13405.

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                                                                            Page 151
 1                   Do you see that?
 2           A.      I see that.
 3           Q.      You just previously testified that you
 4    recall discussing a meeting Mr. Adams intended to
 5    have with either a commonwealth attorney or a
 6    U.S. attorney, correct?
 7           A.      I did say that, yes.
 8           Q.      Taking a look at this document, does
 9    this refresh your recollection?
10           A.      Looking at this, I think this is the
11    e-mail that I was remembering.
12           Q.      Okay.     So let's start with the e-mail
13    at the bottom, November 21st.                    It's on the second
14    page.    November 21, 2016, at 9:30 a.m., an e-mail
15    from Mr. Adams.        Do you see that?
16           A.      I see that.
17           Q.      He says:       "The list of alien name
18    printouts not in our report.                    Remember, we did
19    not put them all in as I recall.                      Also voter
20    history, voter names if you have them.                         I'm
21    talking to U.S. attorney in charge of prosecuting
22    them early afternoon.             Do so as soon as possible.
23    Thanks, very important."
24                   Do you see that?
25           A.      I see that.

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 1           Q.      And then you respond at 9:42 a.m., the
 2    same day to Mr. Adams saying you will look ASAP.
 3    Do you see that?
 4           A.      I see that.
 5           Q.      So as I understand, Mr. Adams is
 6    looking for the names of the people who were used
 7    to support Alien Invasion I, correct?
 8           A.      Yes, I believe that's what he's asking
 9    for.
10           Q.      And then in the e-mail above that he
11    specifies that "I'm meeting with EDVA US
12    attorney's office."           Do you see that?
13           A.      I do see that.
14           Q.      And then you respond:                  "Gotcha.    I'll
15    send what we have and check with Reagan on
16    names."
17                   Do you see that?
18           A.      I see that.
19           Q.      That's Reagan George?
20           A.      That's what Reagan refers to.
21           Q.      And then Mr. Adams responds:                    "I'm
22    more worried about getting the other counties we
23    have alien removal lists from.                     That's an ASAP
24    project.     The report did not include them."
25                   Do you see that?

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                                                                                    Page 153
 1           A.      I see that.
 2           Q.      So am I understanding this correctly
 3    that in Alien Invasion I, some of the records
 4    were included and some were not, correct?
 5           A.      Records meaning VERIS reports?
 6           Q.      As an example, yes.
 7           A.      Yes.
 8           Q.      So as we discussed earlier, Alien
 9    Invasion I had a VERIS report from Prince William
10    County but not the other counties?
11           A.      Correct.
12           Q.      And so is this Mr. Adams here asking
13    for the records for the other counties?
14                   MR. LOCKERBY:              Object to the form.
15                   THE WITNESS:             That's how I understood
16           this, yes.
17    BY MR. TEPE:
18           Q.      That's how you understood it?
19           A.      (Nodding head.)
20           Q.      And then also was he requesting the
21    analysis that would match these registrants with
22    voter history?
23           A.      That's what it sounds like, yes.
24           Q.      And then Mr. Adams wrote:                         "Remember,
25    this was intended to be a turnkey prosecution for

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                                                                                      Page 154
 1    officials.      I could hand them the report and they
 2    could virtually get a grand jury indictment."
 3                   Do you see that?
 4           A.      I see that.
 5           Q.      Do you recall whether or not you
 6    provided the lists and records requested by
 7    Mr. Adams?
 8           A.      I don't recall if I did.                          I don't know
 9    why I would not have, though.
10           Q.      Do you recall following up with
11    Mr. George about this?
12           A.      I don't recall that either.
13                   (Exhibit 20 marked for identification
14           and attached hereto.)
15    BY MR. TEPE:
16           Q.      The court reporter has handed you
17    what's been marked as Exhibit 20 with Bates
18    number 3261.
19                   Do you recognize this document?
20           A.      I've seen this before, I think, yeah.
21           Q.      This is an e-mail from you to
22    Mr. George on November 21st at 9:48 a.m.
23           A.      Yes.
24           Q.      And so this was just a few minutes
25    after Mr. Adams had e-mailed his request that we

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                                                                                 Page 155
 1    saw in the previous exhibit?                      9:30 p.m.
 2           A.      Yes, that sounds right.                      It looks
 3    right.
 4           Q.      The first e-mail.
 5           A.      This one?
 6                   MR. HANSON:            The second page.
 7                   THE WITNESS:             Yeah, that's after the
 8           first e-mail from Mr. Adams.
 9    BY MR. TEPE:
10           Q.      So you got the e-mail from Mr. Adams
11    at 9:30 requesting this information, right?
12           A.      Right.
13           Q.      And then 18 minutes later you follow
14    up with Mr. George, correct?
15           A.      Yes.
16           Q.      And you wrote:              "Reagan, Christian is
17    meeting with U.S. attorney's office today.                          Need
18    info ASAP."
19                   Do you see that?
20           A.      I see that.
21           Q.      Do you recall getting information from
22    Mr. George?
23           A.      I don't recall if I got it from him or
24    not.
25           Q.      Would your answer be the same as to

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                                                                             Page 156
 1    what I asked before, that you don't recall but
 2    you have no reason to believe that you would not
 3    have provided Mr. Adams with the information he
 4    requested?
 5           A.      Not necessarily.                  I can only speak to
 6    what I might have done.                I don't know about
 7    Mr. George's responsiveness.
 8           Q.      Right.       But you would -- if you were
 9    the one receiving it, you would know that, right?
10           A.      If I did receive it, then I would have
11    sent it to Christian.
12           Q.      Do you know if Mr. Adams met with this
13    EDVA U.S. attorney prosecutor?
14           A.      I don't recall if he did or not.
15           Q.      Are you aware of any other instances
16    in which Mr. Adams may have met with law
17    enforcement to discuss the Alien Invasion
18    reports?
19           A.      I don't recall other instances.
20           Q.      Are you aware of any instances in
21    which someone else affiliated with PILF other
22    than Mr. Adams met with law enforcement to
23    discuss the Alien Invasion reports?
24           A.      No.
25                   (Exhibit 21 marked for identification

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                                                                                Page 157
 1           and attached hereto.)
 2    BY MR. TEPE:
 3           Q.      The court reporter has just handed you
 4    a document that's been marked as Exhibit 21 with
 5    the Bates number 7468.
 6                   Do you recognize this document?
 7           A.      Vaguely.
 8           Q.      What do you recognize it to be?
 9           A.      It's an e-mail between myself and
10    Logan Churchwell regarding -- the subject says
11    Alabama letter.
12           Q.      Is that a shorthand for a letter that
13    was to be sent to Attorney General Sessions?
14           A.      It looks like it was.
15           Q.      So this e-mail is dated October 11,
16    2018, correct?
17           A.      Yes.
18           Q.      And attached to that letter is an
19    edited version of a PILF press release, correct?
20           A.      Yes.
21           Q.      Now, this letter -- excuse me.                    Strike
22    that.
23                   This press release states, this draft
24    press release states:               "Public Interest Legal
25    Foundation today praised a congressional letter

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                                                                          Page 158
 1    directed to U.S. Attorney Jeff Sessions urging
 2    that federal prosecutors dedicate resources to
 3    investigation and pursue noncitizens casting
 4    ballots."
 5                   Do you see that?
 6           A.      I see that.
 7           Q.      This letter was signed by 23 members
 8    of Congress.       Do you see that?
 9           A.      I see that.
10           Q.      And then two paragraphs below that the
11    press release states:             "The letter marks
12    particular concern for 'sanctuary' cities and
13    counties which 'already refuse to cooperate with
14    federal immigration authorities' and could
15    tolerate 'false claims of citizenship being made
16    during voter registration.'"
17                   Do you see that?
18           A.      I see that.
19           Q.      "The letter" -- continuing on the
20    press release:        "The letter references the Public
21    Interest Legal Foundation's August 2018 report
22    'Safe Spaces:       How Sanctuary Cities Are Giving
23    Cover to Noncitizens on the Voter Rolls' which
24    documented over 3100 incidences of noncitizen
25    registration."

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                                                                          Page 159
 1                   Do you see that?
 2           A.      I see that.
 3           Q.      Do you know how Congress -- these
 4    Congress members, these 23 members of Congress in
 5    their letter came to obtain the Safe Spaces
 6    report of PILF?
 7           A.      I'm not familiar with how they might
 8    have.
 9           Q.      Are you aware of whether or not PILF
10    worked with members of Congress on their letter
11    to Attorney General Sessions?
12           A.      I'm not familiar.                I don't recall if
13    they did or not.
14           Q.      And then in the next paragraph the
15    press release states:             "'The Foundation
16    appreciates Rep. Mo Brooks' leadership in
17    Congress and his efforts to keep this matter on
18    the minds of DOJ leadership,' PILF Communications
19    and Research Director Logan Churchwell said."
20                   Do you see that?
21           A.      I see that.
22           Q.      The quote continues:                  "We can't
23    underestimate the deterrent power that
24    prosecution carries here.                The Foundation will be
25    providing new investigative leads to U.S.

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                                                                          Page 160
 1    Attorneys in the weeks ahead."
 2                   Do you see that?
 3           A.      I do see that.
 4           Q.      Are you aware of the new investigative
 5    leads to U.S. attorneys that is referenced here
 6    in this press release?
 7           A.      I believe I'm familiar with one
 8    instance.
 9           Q.      What instance is that?
10           A.      I believe Mr. Churchwell transmitted a
11    list of potential noncitizens to the U.S.
12    attorney's office in Texas.                     I think El Paso
13    specifically.
14           Q.      Are you aware of any additional
15    communications with U.S. attorneys with respect
16    to individuals residing in Virginia?
17           A.      No, I'm not familiar.
18           Q.      The sentence that says "We can't
19    underestimate the current power that prosecution
20    carries here."
21                   Do you see that?
22           A.      I do.
23           Q.      Do you agree with that statement?
24           A.      I agree that prosecution carries with
25    it the power to deter future crime.

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                                                                           Page 161
 1           Q.      Would you agree that prosecution --
 2    Strike that.
 3                   Would you agree with the statement
 4    that investigation by prosecutors would carry
 5    with it deterrent power?
 6           A.      Not in and of itself.
 7           Q.      Why is that?
 8           A.      Well, investigations are often not
 9    public whereas prosecutions typically are.                     You
10    usually can't be deterred by something you don't
11    know about.
12           Q.      Any other basis?
13           A.      I can't think of any.
14           Q.      Your answer said investigations are
15    often not public whereas prosecutions typically
16    are.    Is that right?
17           A.      I believe that was my testimony.
18           Q.      So if an investigation was publicized,
19    do you believe that would have some deterrent
20    value?
21           A.      Yeah, it could.
22           Q.      Do you believe that if people were
23    accused publicly of engaging in illegal conduct,
24    that that could potentially deter other people
25    from engaging in conduct similar to that alleged?

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                                                                                  Page 162
 1           A.      Well, it depends on who is doing the
 2    accusing.
 3           Q.      How so?
 4           A.      If law enforcement was to accuse
 5    someone of a crime, that would carry more weight
 6    than if, say, I did it personally.                          The deterrent
 7    effect would be, I think, greater if the
 8    accusation came from someone with the power to
 9    investigate or prosecute.
10           Q.      You can put that document aside.
11                   Were you involved in efforts to
12    promote the Alien Invasion reports?
13           A.      Yes.
14           Q.      What was your role in that?
15           A.      Well, I appeared before the Privileges
16    and Elections Committee of the Virginia general
17    assembly, and I believe I mentioned an appearance
18    on the Bret Baier show.
19           Q.      Do you recall other activities that
20    you engaged in to promote the Alien Invasion
21    reports?
22           A.      I don't recall any other promotion,
23    no.
24           Q.      Who was in charge of the effort to
25    promote the Alien Invasion reports at PILF?

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                                                                            Page 163
 1           A.      To various -- to varying degrees it
 2    was a group effort.
 3           Q.      Was anyone in charge of that effort?
 4           A.      The second Alien Invasion report when
 5    it was published, we had hired Logan Churchwell
 6    as our communications director.                      He did most of
 7    the promotion, to my knowledge, of the second
 8    report in addition to Mr. Adams, whatever
 9    appearances he may have done.                    But I would not
10    say someone was in charge.
11           Q.      But there was an effort to widely
12    disseminate the Alien Invasion reports, correct?
13                   MR. LOCKERBY:            Object to the form.
14                   THE WITNESS:           There was an effort to
15           disseminate, yes.
16    BY MR. TEPE:
17           Q.      So with respect to Alien Invasion I,
18    do you recall PILF issuing a press release?
19           A.      I do.
20                   (Exhibit 22 marked for identification
21           and attached hereto.)
22    BY MR. TEPE:
23           Q.      The court reporter has handed you
24    Exhibit 22 with the Bates 13683.
25                   Do you recognize this document?

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                                                                                 Page 164
 1           A.      I think I've seen it, but I don't -- I
 2    don't remember having seen it.
 3           Q.      The first e-mail appears to be an
 4    e-mail press release dated October 4, 2016.                          Is
 5    that right?
 6           A.      Yes.
 7           Q.      And was this sent to a media list that
 8    PILF keeps?
 9           A.      It was sent to a media list.                      I don't
10    know who the recipients were based on looking at
11    this.
12           Q.      The subject line says "1000 plus
13    noncitizens discovered on voter rolls in
14    Virginia."      Is that right?
15           A.      Yes.
16           Q.      And then when you turn the page over,
17    the press release begins:                  "A Public Interest
18    Legal Foundation investigation has uncovered over
19    1000 noncitizens who have registered to vote in
20    just eight of Virginia's 132 voting
21    jurisdictions."
22                   Do you see that?
23           A.      I see that.
24           Q.      It continues:              "These ineligible
25    voters have cast nearly 200 ballots in American

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                                                                          Page 165
 1    elections.      Each fraudulent registration and vote
 2    is a potential felony."
 3                   Do you see that?
 4           A.      I do see that.
 5           Q.      And so sending a press release to
 6    media was one activity engaged in by PILF to
 7    publicize Alien Invasion I, correct?
 8           A.      Yes.
 9           Q.      And weren't there appearances on TV as
10    well to promote Alien Invasion I?
11           A.      I'm not recalling any specifically.
12           Q.      Do you recall Alien Invasion I being
13    unveiled on TV exclusively with Fox & Friends?
14           A.      Vaguely.         I recall from an earlier
15    e-mail you showed me that Christian mentioned an
16    appearance on Fox.
17                   (Exhibit 23 marked for identification
18           and attached hereto.)
19                   MR. TEPE:          The court reporter has just
20           marked and handed to the witness what has
21           been marked as Exhibit 23, a document with
22           Bates number 5600.
23    BY MR. TEPE:
24           Q.      Do you see that?
25           A.      I see that.

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                                                                                 Page 166
 1           Q.      And what does it appear to be?
 2           A.      It's an e-mail at the top from me to
 3    Christian copying Reagan George and Shawna
 4    Powell.     And the e-mail below that is an e-mail
 5    from Mr. Adams, I believe, to -- it doesn't say
 6    who it's to.
 7           Q.      But presumably it's to you since
 8    you're responding to it, correct?
 9           A.      Yes.
10           Q.      And this e-mail is dated September
11    30th from Mr. Adams?
12           A.      Yes.
13           Q.      And Mr. Adams writes:                    "I need to get
14    the Fox News producers a near final version of
15    the report in the early afternoon.                          I will be on
16    Fox & Friends in the a.m. to talk about it."
17                   Do you see that?
18           A.      I see that.
19           Q.      Then it continues:                  "Realize the most
20    important thing is the summary."
21                   Did you talk about the summary of the
22    Alien Invasion II report?
23           A.      I think that's what he's referring to.
24           Q.      "Nobody there will read past that so
25    the summary has to look good and easy to read and

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                                                                               Page 167
 1    avoid any legalese."
 2                   Do you see that?
 3           A.      I see that.
 4           Q.      Then you respond:                  "Understood.   We'll
 5    talk and I'll have it to you by then."
 6                   Do you recall any other television
 7    appearances by Mr. Adams in promoting the Alien
 8    Invasion I report?
 9           A.      I do not recall any.
10           Q.      But there -- do you recall doing a
11    phone interview with a radio station to promote
12    Alien Invasion I?
13           A.      Me?
14           Q.      Yes.
15           A.      Vaguely.
16                   (Exhibit 24 marked for identification
17           and attached hereto.)
18                   MR. TEPE:          The court reporter has just
19           handed the witness a document marked
20           Exhibit 24 with Bates number 44022.
21    BY MR. TEPE:
22           Q.      Do you recognize this document?
23           A.      I don't recall this document.
24           Q.      It does show, though, an e-mail
25    Mr. Adams sent to you on October 3, 2016, yes?

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                                                                                    Page 168
 1           A.      Yes.
 2           Q.      And the subject line is "KTRH Radio
 3    Texas interview request."
 4           A.      Yes.
 5           Q.      And Mr. Adams wrote:                    "Noel, please do
 6    it."
 7                   Is that him asking you to do the
 8    interview with KTRH Radio in Houston, Texas?
 9           A.      It appears to be, yes.
10           Q.      And then he followed up:                          "Remember,
11    short phrases, non-legalese."
12                   Do you see that?
13           A.      I do see that.
14           Q.      What did you understand him to mean by
15    that?
16           A.      To speak in terms that nonlawyers
17    would understand.
18           Q.      And what does that mean, nonlawyers
19    would understand?
20           A.      Don't use legal terms of art.
21           Q.      Such as?
22           A.      Perhaps language from the statutes
23    involved.      I don't know.              I don't recall what he
24    meant by that or whether I had anything in mind.
25           Q.      What else did PILF do to promote Alien

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                                                                                   Page 169
 1    Invasion I?
 2           A.      You're talking about other than what
 3    you have presented to me so far?
 4           Q.      These are just examples.                        What do you
 5    recall other than some television, some radio, a
 6    press release?
 7           A.      We printed -- well, I'm not sure.
 8    Nothing is coming to mind other than those things
 9    you mentioned.
10           Q.      Anything on Twitter?
11           A.      We likely posted on Twitter.
12           Q.      Facebook?
13           A.      And Facebook.
14           Q.      Did you interview -- I should say did
15    PILF do interviews to various print publications?
16           A.      It's likely, although I'm not
17    remembering any of them specifically.
18           Q.      Does -- to your knowledge, does PILF
19    do anything to attract a number of visits to the
20    PILF website?
21           A.      It's been some time since I've looked
22    at it, but at one point in time whomever hosted
23    our website had a feature where we could see
24    visitor numbers.
25           Q.      Who at PILF has access to this

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                                                                          Page 170
 1    information about the number of visitors to
 2    PILF's website?
 3           A.      It's likely that Travis Phillips would
 4    have access to that information.
 5           Q.      Who is Travis Phillips?
 6           A.      He's someone who consults with us on
 7    computer and IT matters.
 8           Q.      Is he a PILF employee?
 9           A.      I think he's an independent contractor
10    but I'm not entirely sure.
11           Q.      Was he working with PILF at the time
12    Alien Invasion I was published?
13           A.      Yes.
14           Q.      And so to your knowledge, he would be
15    the individual best able to answer any questions
16    about the number of visitors to PILF's website?
17                   MR. LOCKERBY:              Object to the form.
18           Calls for speculation.
19                   THE WITNESS:             He would be the person
20           who could most easily access that
21           information, but I don't know what knowledge
22           he has of it as a universe.
23    BY MR. TEPE:
24           Q.      Do you recall PILF engaging in similar
25    promotional efforts to publicize the Alien

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                                                                          Page 171
 1    Invasion II report?
 2           A.      I do.
 3           Q.      So there were appearances on TV?
 4           A.      There were.
 5           Q.      Radio appearances?
 6           A.      Likely, although I can't recall the
 7    specifics.
 8           Q.      Interviews to print media?
 9           A.      Same answer.
10           Q.      Twitter?
11           A.      Yes.
12           Q.      Facebook?
13           A.      Yes.
14           Q.      Press releases?
15           A.      Yes.
16           Q.      Do you recall Mr. Adams going on
17    Tucker Carlson's Fox News show with the rollout
18    of Alien Invasion II?
19           A.      I have some recollection, yes.
20                   (Exhibit 25 marked for identification
21           and attached hereto.)
22    BY MR. TEPE:
23           Q.      The court reporter has just handed you
24    a document marked Exhibit 25 with Bates number
25    770.

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                                                                               Page 172
 1                   Do you see that?
 2           A.      I do see that.
 3           Q.      Do you recognize this?
 4           A.      I have seen this before.
 5           Q.      You're at the top of the e-mail chain.
 6    Is that right?
 7           A.      Yes.
 8           Q.      But the e-mail chain begins, does it
 9    not, with an e-mail from Mr. Adams to Tucker
10    Carlson?
11           A.      Yes.
12           Q.      At his Gmail address.                    Is that right?
13           A.      Tucker's Gmail address?
14           Q.      Yes.
15           A.      Yes.
16           Q.      It's dated May 26, 2017?
17           A.      Yes.
18           Q.      And Mr. Adams said:                   "Tucker, embargo
19    release on a report we are putting out Tuesday."
20                   Do you see that?
21           A.      Yes.
22           Q.      And then it lists some key findings
23    and bullet points.            Is that right?
24           A.      I see those, yeah.
25           Q.      And then someone by the name of Kelly

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                                                                                Page 173
 1    McNally responds to Mr. Adams later that day,
 2    correct?
 3           A.      Yes.
 4           Q.      She's the senior booker for Tucker
 5    Carlson Tonight?
 6           A.      That's what it says in her signature
 7    line.
 8           Q.      And she wrote:              "I want to reach out
 9    to see if you are available on Tuesday to join
10    Tucker on this report."
11                   Do you see that?
12           A.      Yes.
13           Q.      And then Mr. Adams responds yes.                    Do
14    you see that?
15           A.      Yes.
16           Q.      And then it appears he forwards this
17    to you.     Would you agree with that?
18           A.      Yes.
19           Q.      So on May 26 at 5:51 p.m. he asks:
20    "Can you get me a few pages of just the screen
21    captures of some 'No' check boxes?"
22                   Do you see that?
23           A.      I see that.
24           Q.      What is he referring to there?                    Do you
25    know?

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                                                                          Page 174
 1           A.      He's referring to copies of
 2    applications for voter registration on which the
 3    applicant marked the citizenship question "No."
 4           Q.      Now, do you recall when we were
 5    talking about the voter registration applications
 6    included with Alien Invasion II only a fraction
 7    of those had "No" marked in the check box, right?
 8           A.      Yes.
 9           Q.      But those are the ones that Mr. Adams
10    wants copies of, correct?
11                   MR. LOCKERBY:              Object to the form of
12           the question.          Lack of foundation.
13                   THE WITNESS:             He's asking for copies,
14           screen captures of applications on which the
15           applicant checked "No."
16    BY MR. TEPE:
17           Q.      And he says:             "Pick ones with
18    outlandish foreign names, particularly Middle
19    Eastern if they exist."
20                   Do you see that?
21           A.      I see that.
22           Q.      Do you know why he was asking for such
23    names?
24           A.      No.     He didn't tell me.
25           Q.      Do you have an understanding or a

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                                                                                 Page 175
 1    belief -- Strike that.
 2                   Do you have a belief as to why he was
 3    asking for such names?
 4           A.      No.
 5                   MR. LOCKERBY:             Object to the form of
 6           the question.         Lack of foundation.                Calls
 7           for opinion testimony by a lay witness.
 8                   THE WITNESS:            No, I don't.
 9    BY MR. TEPE:
10           Q.      His e-mail continues:                   "The more
11    outlandish the handwriting the better.                          The more
12    obviously foreign the better."
13                   Do you see that?
14           A.      I see that.
15           Q.      What did you understand him to be
16    asking there?
17                   MR. LOCKERBY:             Object to the form.
18                   MR. TEPE:         What's the basis for your
19           objection?
20                   MR. LOCKERBY:             For one thing, there's
21           no -- you're asking him what you understood
22           him to be asking for.                There is no question
23           there.
24                   MR. TEPE:         I don't understand.
25                   MR. LOCKERBY:             There is also lack of

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                                                                              Page 176
 1           foundation.         Again, it calls for opinion
 2           testimony.
 3                   MR. TEPE:          What's the lack of
 4           foundation?         He said that he received this
 5           e-mail.     I'm asking about an e-mail he
 6           received from Mr. Adams.
 7                   MR. LOCKERBY:              Well, he doesn't know
 8           what the author of the e-mail intended.
 9                   MR. TEPE:          I'm not asking those
10           questions.
11                   MR. LOCKERBY:              I'm just going to
12           object to form.            Pardon me?
13                   MR. TEPE:          I'm not asking for his --
14           what Mr. Adams was asking.                      I'm asking for
15           his interpretation and understanding of what
16           Mr. Adams was asking.
17                   I mean, if there is a foundational
18           problem with my question, I want to fix it.
19           So that's what I'm trying to understand.
20                   MR. LOCKERBY:              It might help if we had
21           the question read back at this point.
22    BY MR. TEPE:
23           Q.      Okay.       So on May 26, 2017, Mr. Adams
24    sent you an e-mail at 5:51 p.m., correct?
25           A.      Yes.

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                                                                          Page 177
 1           Q.      And he asked you a question saying:
 2    "Can you get me a few pages of just the screen
 3    captures of some 'No' check boxes?"
 4                   Do you see that?
 5           A.      I see that.
 6           Q.      And I believe your testimony before
 7    was that this was in reference to the voter
 8    registration applications that you had in which
 9    applicants had checked "No" in the citizenship
10    box.
11           A.      Yes.
12           Q.      And we had established that of those
13    764 voter registration applications, PILF had
14    reviewed only I think 40-something that had "No"
15    check boxes marked, correct?
16           A.      I don't know if that number is correct
17    but...
18           Q.      The numbers in Alien Invasion II.
19           A.      But again, I don't know if the 46 or
20    47 --
21           Q.      Those are a small number of the 764,
22    correct?
23           A.      Yes.      Only a fraction of them were
24    "No" check boxes.
25           Q.      But those were the ones that Mr. Adams

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                                                                                Page 178
 1    wanted to send to Tucker Carlson's people,
 2    correct?
 3           A.      Yes.
 4           Q.      And then in asking this question,
 5    Mr. Adams instructed you:                  "Pick ones with
 6    outlandish foreign names, particularly Middle
 7    Eastern if they exist."
 8                   Do you see that?
 9           A.      I see that.
10           Q.      And he said:             "The more outlandish the
11    handwriting the better, the more obviously
12    foreign the better."
13                   Do you see that?
14           A.      I see that.
15           Q.      What is your understanding as to why
16    he was asking for foreign names?
17           A.      My answer was I don't know.                       He did
18    not tell me.
19           Q.      So you have no understanding as to why
20    he was making that request?
21           A.      Those are the ones he wanted.
22           Q.      And you have no understanding as to
23    why he wanted those particular names?
24           A.      No, I do not recall why.
25           Q.      He said:         "Ideally they will have

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                                                                           Page 179
 1    voted, but I don't know if you can find that.
 2    The degree of outlandishness in the name is just
 3    as important as whether they voted."
 4                   Do you see that?
 5           A.      I see that.
 6           Q.      "They just need a half dozen or so.
 7    Find the best ones.           Crazy names.              I assume I
 8    don't need to explain this in further detail."
 9                   Do you see that?
10           A.      I see that.
11           Q.      Did he need to explain this in further
12    detail to you?
13           A.      Apparently not.
14           Q.      Because you understood what he meant
15    by providing crazy names?
16           A.      Well, I understood what he was asking
17    for.    My understanding wasn't necessarily based
18    on the phrase "crazy names."
19           Q.      You responded:            "I can dig those out."
20    Correct?
21           A.      I did.
22           Q.      Do you recall what crazy names you dug
23    out?
24           A.      I did not dig them out.
25           Q.      Who did?

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                                                                          Page 180
 1           A.      I believe Logan Churchwell handled
 2    this request.
 3           Q.      Do you recall the names that he picked
 4    out?
 5           A.      I think there is an e-mail in which he
 6    transmits them, but I don't recall the names.
 7           Q.      Were the crazy names that Mr. Adams
 8    was requesting, do you believe that they were
 9    reflective or representative of all the names
10    listed in the records attached to Alien Invasion
11    II?
12                   MR. LOCKERBY:            Object to the form.
13                   THE WITNESS:           I don't have the
14           knowledge to answer that because I don't
15           remember what the names were.
16    BY MR. TEPE:
17           Q.      You can put that document aside.
18                   Alien Invasion II was released the
19    Tuesday after Memorial Day, correct?
20           A.      That sounds right based on the time
21    period.
22           Q.      And it was more advantageous to
23    release the report the Tuesday after Memorial
24    Day.    Do you agree?
25                   MR. LOCKERBY:            Object to the form.

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                                                                          Page 181
 1                   THE WITNESS:           I don't know in which
 2           way that would be more advantageous.
 3    BY MR. TEPE:
 4           Q.      Well, do you think it would be more
 5    advantageous to release the report the Tuesday
 6    after Memorial Day or on Memorial Day?
 7           A.      Advantageous how?
 8           Q.      In terms of enabling other people to
 9    see the release of Alien Invasion II.
10           A.      In my opinion, I think that releasing
11    something on a major holiday would be less
12    advantageous if your goal was to increase
13    viewership.
14           Q.      And PILF's goal was to increase the
15    number of people who viewed the Alien Invasion II
16    report, right?
17           A.      I would say that was one of our goals.
18                   (Exhibit 26 marked for identification
19           and attached hereto.)
20    BY MR. TEPE:
21           Q.      The court reporter has handed you
22    what's been marked as Exhibit 26, a document with
23    Bates number 37501.
24                   Do you see that?
25           A.      I see that.

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                                                                             Page 182
 1           Q.      Do you recognize this document?
 2           A.      I do.
 3           Q.      What do you recognize it to be?
 4           A.      It's an e-mail between -- well, among
 5    PILF employees and some others.
 6           Q.      This e-mail chain is dated October 2,
 7    2016.    Is that right?
 8           A.      Yes.
 9           Q.      And it begins with an e-mail from
10    Mr. Adams, the subject line "Congratulations
11    everyone."      Do you see that?
12           A.      I do.
13           Q.      And he says:             "Great lesson how to
14    generate, create, organize and weaponize
15    narrative."       And then there is a screenshot of
16    the Drudge Report home page.                      Is that right?
17           A.      Right.
18           Q.      And on the Drudge Report he linked to
19    an article reporting on the Alien Invasion I
20    report, right?
21           A.      Yes.
22           Q.      It says:         "Report:           1000 plus illegal
23    voters in Virginia..."                Correct?
24           A.      I see that, yes.
25           Q.      Do you have an understanding as to

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                                                                          Page 183
 1    what Mr. Adams was saying by "Great lesson how to
 2    generate, create, organize and weaponize
 3    narrative"?
 4           A.      I think he meant that this shows that
 5    our promotion of the report was effective in that
 6    it was or appeared on the Drudge Report.
 7           Q.      Well, more than that, in the e-mail
 8    above Mr. Adams says:             "Noel, remember our
 9    conversation on how important it was to cross the
10    1000 mark."
11                   Do you see that?
12           A.      I see that.
13           Q.      Do you remember that conversation?
14           A.      Yes, vaguely.
15           Q.      And what do you recall?
16           A.      Discussing that when we received the
17    records from Alexandria, that it put the total
18    of -- I think the total cancellations from the
19    VERIS reports above 1000.
20           Q.      Why did you answer the total
21    cancellations from the VERIS reports instead of
22    the total number of noncitizens?
23                   MR. LOCKERBY:            Object to the form.
24           Argumentative and it assumes facts not in
25           evidence.

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                                                                                   Page 184
 1                   THE WITNESS:           Because the numbers came
 2           from the VERIS reports.
 3    BY MR. TEPE:
 4           Q.      And you called --
 5           A.      The number of --
 6           Q.      -- them noncitizens?
 7                   MR. LOCKERBY:            Objection.
 8                   THE WITNESS:           Say that again.
 9    BY MR. TEPE:
10           Q.      And PILF called them noncitizens,
11    correct?
12                   MR. LOCKERBY:            Objection.             The
13           documents speak for themselves.
14                   THE WITNESS:           Yes, we've been over
15           what the reports say by now.
16    BY MR. TEPE:
17           Q.      Was Mr. Adams telling you in your
18    conversation with him that if you get to higher
19    numbers you're more likely to get media
20    attention?
21                   MR. LOCKERBY:            Object to the form.
22                   THE WITNESS:           I think that was part of
23           what he was saying.
24    BY MR. TEPE:
25           Q.      And then he wrote here to you:                        "Good

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                                                                                     Page 185
 1    example why below and it shows in Drudge
 2    headline.      It was an important psychological
 3    frontier crossed."
 4                   Do you see that?
 5           A.      I see that.
 6           Q.      And by that do you understand him
 7    saying by crossing the 1000 mark, that was an
 8    important psychological frontier crossed?
 9           A.      That's what it says.
10           Q.      And then you responded:                      "Amen.     Great
11    headline."
12           A.      Yes.
13           Q.      You can put that document aside.
14                   Would you agree that being able to get
15    higher numbers of purported noncitizens was
16    important to PILF?
17           A.      I think it's what we expected to find.
18           Q.      That's not what I asked.                          Would you
19    agree that people -- Strike that.
20                   Would you agree that being able to get
21    higher numbers of purported noncitizens was
22    important to PILF?
23                   MR. LOCKERBY:              Objection; asked and
24           answered.
25                   THE WITNESS:             Yes.

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                                                                               Page 186
 1    BY MR. TEPE:
 2           Q.      You said that you expected to find
 3    high numbers of purported noncitizens on the
 4    voter rolls.       Am I understanding you correctly?
 5           A.      Yes.
 6           Q.      What was the basis of that
 7    expectation?
 8           A.      I believe we were aware of a smaller
 9    investigation that had been done in Alexandria on
10    this very same issue, and based on that small
11    example we extrapolated statewide.                          We figured
12    the number would be quite high.
13           Q.      So what you're saying is if the
14    numbers that you received from Alexandria were
15    accurate and you extrapolated that statewide, you
16    would expect to find high numbers of purported
17    noncitizens.       Is that what you're saying?
18           A.      That's what I'm saying.
19           Q.      Now, you wanted to get above 5000
20    purported noncitizens, correct?
21                   MR. LOCKERBY:              Object to the form.
22                   THE WITNESS:             At some point in time I
23           believe that became notable.
24    BY MR. TEPE:
25           Q.      Notable for the same reasons 1000 was

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                                                                          Page 187
 1    notable?
 2           A.      I'm not sure we established those
 3    reasons.
 4           Q.      Well, we just discussed how it was
 5    notable to Mr. Adams that by crossing the 1000
 6    threshold for Alien Invasion I, PILF was able to
 7    get prominent placement on the Drudge Report,
 8    correct?
 9           A.      Right.
10           Q.      And so for the same reasons, would you
11    agree that if PILF were able to eclipse the 5000
12    mark that too would be helpful to PILF's ability
13    to reach viewers of its report?
14           A.      Yes.
15                   (Exhibit 27 marked for identification
16           and attached hereto.)
17    BY MR. TEPE:
18           Q.      The court reporter has just marked as
19    Exhibit 27 a document with the Bates number 1979.
20                   Do you recognize this document?
21           A.      I've seen this before, yes.
22           Q.      Now, I believe you had testified
23    earlier that there were two statewide VERIS
24    reports applied to PILF by the Virginia
25    Department of Elections, correct?

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                                                                          Page 188
 1           A.      They gave us two reports, each for a
 2    different period of time.
 3           Q.      Correct.         And is this e-mail
 4    reflecting the second report that you received?
 5    No, strike that.           I'm sorry.
 6                   So this is -- the first e-mail is an
 7    e-mail from the commissioner of the Virginia
 8    Department of Elections March 28th, right?
 9           A.      It looks that way, yes.
10           Q.      I'm sorry?
11           A.      Yes, it looks that way.                      Yes.
12           Q.      And then that got up to a total of
13    4967 on the list, the VERIS report that you sent
14    over, right?
15           A.      4976.
16           Q.      You said good luck to eclipse the 5000
17    mark, correct?
18           A.      That's what the e-mail says.
19           Q.      That's what you said in your e-mail?
20           A.      Yes.
21           Q.      Why?
22           A.      I suppose because 5000 was a clean
23    number and larger number.                  The more people that
24    appeared on these lists the higher the likelihood
25    that we might accomplish some of the reforms for

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                                                                           Page 189
 1    which we were advocating.
 2           Q.      Such as?
 3           A.      Such as changes to the federal
 4    registration form or changes to data sharing,
 5    better safeguards up front to prevent ineligible
 6    people from registering.
 7           Q.      So higher numbers would help PILF
 8    accomplish the policy objectives that it had,
 9    correct?
10           A.      Right.      If there is a higher number,
11    then it would draw more attention to the problem.
12           Q.      So just going back, when you received
13    the e-mail from Mr. Cortes, the statewide VERIS
14    report, this was for the period January 1, 2011,
15    through March 20, 2017.               Do you see that?
16           A.      I see that.
17           Q.      Okay.     And then so the second report
18    that you got was from March 21st through sometime
19    in May, right?
20           A.      Yeah.     I'll take your word for those
21    dates, but that sounds right.
22           Q.      And then you wrote back -- or actually
23    you forwarded this e-mail from Mr. Cortes to
24    Mr. Adams, Mr. Churchwell, and you said:                       "At
25    long last the VERIS report from Cortes."

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                                                                                  Page 190
 1           A.      Correct.
 2           Q.      What did you mean by "at long last"?
 3           A.      We had been trying to get this report
 4    from him for a long time, and he finally provided
 5    it.
 6           Q.      This was the report that PILF wanted
 7    to obtain, correct?
 8           A.      Well, getting it from the State meant
 9    that we could get all the jurisdictions at once.
10    So...
11           Q.      But whether it came from the
12    jurisdictions individually or the State, PILF
13    wanted this particular report, correct?
14           A.      Correct.         We wanted a VERIS report for
15    all jurisdictions in Virginia.                       The only person
16    who had the ability to generate that I believe
17    was Mr. Cortes.
18           Q.      So you received that e-mail from
19    Mr. Cortes at 1:25 p.m., correct, on March 28th?
20           A.      Yes.
21           Q.      And by 1:57 p.m. you joked:                       "Already
22    nabbed a descendant of George Washington"?
23           A.      Yes.
24           Q.      And you pasted a copy of a VERIS
25    report entry for a George Washington, Jr.                          Is

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                                                                                        Page 191
 1    that right?
 2           A.      Yes.
 3           Q.      And Mr. Adams responded:                          "If false
 4    positive, they will use this one against us."                                Do
 5    you see that?
 6           A.      Yes.
 7           Q.      And did you understand Mr. Adams by
 8    saying "false positive" to mean someone who was
 9    actually a citizen?
10           A.      I don't know what I understood at the
11    time.    That's one possibility, yes.
12           Q.      That's one possibility?
13           A.      Yes.
14           Q.      What's another possibility?
15           A.      I can't think of any others.
16           Q.      So it's fair to say that as of March
17    28, 2017, PILF recognized that the records that
18    they just received from the State of Virginia
19    possibly had citizens on the list?
20                   MR. LOCKERBY:              Object to the form.
21                   THE WITNESS:             No, I don't think we had
22           any way of -- to verify whether those people
23           were citizens.
24    BY MR. TEPE:
25           Q.      Well, you had phone numbers for

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                                                                          Page 192
 1    hundreds of people, right?
 2           A.      I don't know about hundreds, but there
 3    were phone numbers on some of the applications.
 4           Q.      Right.      The applications that you
 5    didn't want to look at before to determine how
 6    many had phone numbers, right?
 7                   MR. LOCKERBY:            Object to the form.
 8                   THE WITNESS:           The applications you did
 9           not ask me to look at, yes.
10    BY MR. TEPE:
11           Q.      No, I offered.            I said if you're not
12    sure how many of those applications have phone
13    numbers, please go right ahead and look, correct?
14                   MR. LOCKERBY:            Object to the form.
15           Counsel is arguing with the witness.
16           Counsel could have asked the witness a
17           direct question directing him to look at
18           them.    Instead the question was "Would you
19           like to?"      Understandably the witness said
20           no.   No one likes to read through hundreds
21           of documents voluntarily.
22    BY MR. TEPE:
23           Q.      You had the phone numbers for at least
24    some of the people you had listed in the Alien
25    Invasion II.       Would you agree with that?

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                                                                          Page 193
 1           A.      Yes.
 2           Q.      And PILF didn't call a single one of
 3    those people, correct?
 4           A.      Not to my knowledge.
 5           Q.      You can put that document aside.
 6                   In October of 2017, PILF received a
 7    letter from a U.S. citizen who complained about
 8    being included in the Alien Invasion II report,
 9    correct?
10           A.      Well, I would have to see the letter
11    to know if that date is correct.
12           Q.      Well, if you don't recall what the
13    date was, you do recall that PILF received a
14    letter from a U.S. citizen who complained about
15    being included in the Alien Invasion II report,
16    right?
17           A.      Well, I think the letter you're
18    referring to included the claim that the author
19    was a U.S. citizen.             Again, I don't have that
20    letter in front of me.
21           Q.      Do you recall that that was a Jean
22    Rosen?
23           A.      I recall the foundation received a
24    letter from Ms. Rosen.
25           Q.      Also PILF received along with that

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                                                                                Page 194
 1    letter copies of her passport?
 2           A.      That sounds right.
 3           Q.      But you still considered her to just
 4    be making a claim to citizenship?
 5                   MR. LOCKERBY:              Object to the form.
 6                   THE WITNESS:             That is what I recalled
 7           ten seconds ago.
 8    BY MR. TEPE:
 9           Q.      Do you have a belief as to Ms. Rosen's
10    citizenship?
11                   MR. LOCKERBY:              Object to the form.
12           Calls for opinion testimony from a lay
13           witness, and Ms. Rosen's citizenship is not
14           a belief.
15    BY MR. TEPE:
16           Q.      The question again is do you have a
17    belief?     It's a "yes" or "no" question.                       Do you
18    have a belief as to Ms. Rosen's citizenship?
19           A.      Do I have a belief?
20           Q.      Yes.
21           A.      Yes.
22           Q.      And what is that belief?
23           A.      I have no reason to doubt her claim
24    that she's a citizen based on what she's provided
25    to us.

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                                                                          Page 195
 1           Q.      And Ms. Rosen's voter registration
 2    application was included in Exhibit 12 to the
 3    Alien Invasion II initially, correct?
 4           A.      Yes, inadvertently included.
 5           Q.      And we had discussed earlier that
 6    there was one version, that's the version that's
 7    sitting in front of you, in which there are a
 8    number of voter registration applications that
 9    were subsequently pulled out, correct?
10           A.      Yes.
11                   (Exhibit 28 marked for identification
12           and attached hereto.)
13    BY MR. TEPE:
14           Q.      The court reporter has marked what is
15    Exhibit 28, a document with the Bates number
16    9322.
17           A.      Yeah, I see that.
18           Q.      Do you recognize this document?
19           A.      Yes, I've seen this before, or most of
20    it I believe.
21           Q.      It begins on October 11, 2017, an
22    e-mail from Shawna Powell to you and
23    Mr. Churchwell.          Do you see that?
24           A.      I see that.
25           Q.      She wrote:           "See attached letter from

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                                                                                 Page 196
 1    Jean Rosen regarding her name being used in the
 2    VVA report."
 3                   Do you see that?
 4           A.      Yes.
 5           Q.      And then Mr. Adams responded to that,
 6    asking you to do a nasty cease and desist
 7    letter -- Strike that.
 8                   Mr. Adams responded to you the same
 9    day with what he felt was the most important
10    takeaway from the letter.                  Is that right?
11           A.      That's what it says, yes.
12           Q.      And the most important takeaway from
13    the letter, according to Mr. Adams, is that
14    Ms. Rosen had received a phone call from the
15    Southern Coalition for Southern Justice.                         Is that
16    right?
17           A.      Social Justice, yes.
18           Q.      Social Justice, I'm sorry.
19                   And then Mr. Adams asked you to do a,
20    quote, nasty cease and desist letter, close
21    quote, to SCSJ, correct?
22           A.      Yes, that's what he asked.
23           Q.      And the purpose of this letter was to
24    get SCSJ to stop talking to people who had been
25    listed in the Alien Invasion II report, correct?

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                                                                          Page 197
 1                   MR. LOCKERBY:             Object to the form of
 2           the question.
 3                   THE WITNESS:            That's not how I
 4           understood it.
 5    BY MR. TEPE:
 6           Q.      Oh, you were okay with SCSJ speaking
 7    to registrants listed in Alien Invasion II?
 8           A.      No.    I meant your characterization of
 9    what Mr. Adams was concerned with.
10           Q.      Well, what was Mr. Adams concerned
11    with?
12           A.      Not just that they were talking to
13    them, but that they were telling them certain
14    things about what we had done with their records
15    and names.
16           Q.      Like publishing them?
17                   MR. LOCKERBY:             Object to the form.
18                   THE WITNESS:            No.       I believe -- I
19           believe he was concerned with the fact that
20           they were calling people at random and
21           telling them that we had said that they had
22           committed crimes or things like that.
23    BY MR. TEPE:
24           Q.      Well, you don't actually know what
25    SCSJ told people that they spoke to, correct?

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                                                                               Page 198
 1           A.      Yes, I do, because Jean Rosen put it
 2    in her letter.
 3           Q.      Other than Ms. Rosen, are you aware of
 4    the contents of communications between SCSJ and
 5    people listed in the Alien Invasion II report?
 6           A.      Specifically words they used?                   No, I'm
 7    not familiar.
 8           Q.      Well, you're not familiar with any
 9    language that they used in those communications,
10    correct?
11           A.      I'm familiar with what Jean Rosen said
12    she was told.
13           Q.      Right.      And I'm asking you about what
14    SCSJ spoke to with other people other than
15    Ms. Rosen.
16           A.      When you say "other people," people on
17    the VERIS reports?
18           Q.      People who were listed in the exhibits
19    to Alien Invasion II.
20           A.      No, I'm not privy to those
21    conversations.
22           Q.      Mr. Adams instructed you to defend the
23    report.     That's the Alien Invasion II report,
24    correct?
25           A.      I see that in his e-mail.

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                                                                                 Page 199
 1           Q.      And he said:             "Make it clear the fault
 2    is Virginia's."          Close quote.              I'm sorry.      "Make
 3    it clear the fault of Virginia's."                          Is that
 4    correct?
 5           A.      That's what it says.
 6           Q.      And you, in a later e-mail, said that
 7    you did a search for Exhibit 1 for Rosen and came
 8    up with nothing.
 9           A.      I did say that in this, yes.
10           Q.      So Ms. Rosen was another example along
11    with Ms. Gearhart of PILF including her voter
12    registration application in Exhibit 12 that
13    shouldn't have been there, correct?
14           A.      Yes.      The inclusion was inadvertent.
15                   MR. LOCKERBY:              I'm going to object to
16           the form of the question, especially the
17           statement "shouldn't have been included."
18           Exhibit 12 is a footnote to a portion -- is
19           referenced in a footnote to a portion of the
20           report.
21                   MR. TEPE:          I appreciate the speaking
22           objection.        I will --
23                   MR. LOCKERBY:              I don't appreciate the
24           gratuitous comments about the objections.
25                   MR. TEPE:          Well, I don't appreciate

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                                                                                  Page 200
 1           the speaking objections.
 2                   MR. LOCKERBY:            You said you appreciate
 3           it and then you said you don't appreciate
 4           it.   Those two are mutually exclusive.
 5    BY MR. TEPE:
 6           Q.      Ms. Rosen was one of the people
 7    included in Exhibit 12 to Alien Invasion II,
 8    correct?
 9           A.      Her application for voter registration
10    was included inadvertently.
11           Q.      The same thing with Ms. Gearhart.                      Her
12    registration application was included
13    inadvertently, as you would call it, in Exhibit
14    12?
15                   MR. LOCKERBY:            Object to the form.
16                   THE WITNESS:           Yes, under her previous
17           name.
18    BY MR. TEPE:
19           Q.      Now, at 3:09 p.m. you write:                    "Her
20    application was provided to us," Exhibit 12,
21    which is not in the cancellation list, which is
22    Exhibit 1.      Correct?
23           A.      Right.
24           Q.      And then you wrote:                 "Another layer of
25    error on ELECT's behalf."

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                                                                                 Page 201
 1                   Who is ELECT?
 2           A.      The Department of Elections.
 3           Q.      But that's not correct.                      It wasn't an
 4    error on the Virginia Department of Elections,
 5    correct?
 6           A.      I don't know completely their role,
 7    but I would not say that it was directly an error
 8    on their behalf.
 9           Q.      Are you saying it was indirectly their
10    error?
11           A.      No.     In terms of the correspondence
12    that was sent to Ms. Rosen, I wasn't aware of who
13    had sent her that correspondence.
14           Q.      What are you talking about,
15    correspondence sent to Ms. Rosen?
16           A.      I believe she had been sent
17    correspondence from some election officials
18    regarding her citizenship.
19           Q.      Are you talking about a notice of
20    intent to cancel?
21           A.      Yes.
22           Q.      But Ms. Rosen's registration was not
23    canceled, correct?
24                   MR. LOCKERBY:              Object to the form.
25           Assumes facts not in evidence and in fact is

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                                                                                 Page 202
 1           contrary to the evidence.
 2                   MR. TEPE:          Again --
 3                   THE WITNESS:             I'm not sure --
 4                   MR. TEPE:          You can object to form and
 5           not testify.
 6                   MR. LOCKERBY:              I didn't testify.
 7                   MR. TEPE:          You just did testify.
 8                   MR. LOCKERBY:              I objected.
 9                   MR. TEPE:          You just testified to what
10           you believe to be facts in evidence.
11                   MR. LOCKERBY:              Counsel has an
12           obligation not to ask questions for which
13           there is no factual basis.                      And in fact
14           there is evidence that at one point
15           Ms. Rosen's registration was canceled.                        The
16           entire -- the premise of the question is
17           wrong.     And by simply objecting that it
18           assumes facts not in evidence, that is not
19           testimony.
20    BY MR. TEPE:
21           Q.      Mr. Johnson, in your e-mail dated
22    October 11th at 3:09 p.m. you say with respect to
23    Ms. Rosen, she's not in the cancellation list,
24    correct?
25           A.      Yes.

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                                                                          Page 203
 1           Q.      And the cancellation list was Exhibit
 2    1 to Alien Invasion II, correct?
 3           A.      Yes.
 4           Q.      Her application was provided and
 5    published as part of Exhibit 12, correct?
 6           A.      Yes.
 7           Q.      At the date that Alien Invasion II was
 8    published, did PILF have any basis to believe
 9    that her registration had been canceled?
10           A.      I think we believed that the inclusion
11    of her application indicated that she was someone
12    who had been canceled previously.
13           Q.      But as we saw with the correspondence
14    with Mr. Latham from York County, he sent you
15    copies of notices of intent to cancel, correct?
16           A.      Yes.
17           Q.      He also sent you copies of
18    affirmations of citizenship, correct?
19           A.      Correct.
20           Q.      And it's Mr. Latham's correspondence
21    with PILF that was the basis for the records that
22    were included, at least with respect to York
23    County individuals, in Exhibit 12, correct?
24           A.      I believe that Mr. Latham -- what I
25    believe Mr. Latham had sent us was a VERIS report

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                                                                          Page 204
 1    of everyone who had been canceled for citizenship
 2    reasons and copies of their applications.
 3           Q.      On November -- November, the e-mail
 4    chain, remember there were four e-mails in
 5    November?
 6           A.      Yes.
 7           Q.      Mr. Latham didn't send any VERIS
 8    report, correct?
 9           A.      No, not on that day.
10           Q.      And Ms. Rosen didn't appear on any
11    VERIS report that was sent to PILF, correct?
12           A.      Not that I'm aware of.
13           Q.      Do you recall how many voter
14    registration applications PILF pulled from
15    Exhibit 12?
16           A.      Not -- not the exact number.
17           Q.      Does 51 sound right?
18           A.      That sounds right.
19                   (Exhibit 29 marked for identification
20           and attached hereto.)
21    BY MR. TEPE:
22           Q.      The court reporter has handed you
23    what's been marked Exhibit 29 with Bates number
24    17930.      Do you see that?
25           A.      I see that.

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                                                                              Page 205
 1           Q.      This is a long e-mail chain involving
 2    complaints that PILF had received from people
 3    listed in Alien Invasion II.                      Is that right?
 4           A.      Could you repeat that again?
 5           Q.      I'm saying this is a long e-mail chain
 6    involving complaints that PILF -- this is a long
 7    e-mail chain involving a discussion about
 8    complaints PILF had received from people listed
 9    in the Alien Invasion report, correct?
10           A.      At least one complaint, Ms. Rosen's.
11           Q.      I really just want to ask you one
12    thing.      On the first page, Ms. Powell's e-mail
13    November 3, 2017, at 11:36 a.m., do you see that?
14           A.      And 48 seconds, yes.
15           Q.      She says:          "I just talked to Noel and
16    he thinks we should err on the side of caution
17    and pull all 51 voter apps from Exhibit 12.                        Do
18    you have issue with that?"
19                   Do you see that?
20           A.      Yes.
21           Q.      Do you recall having a conversation
22    with Ms. Powell in which you expressed that
23    opinion?
24           A.      Yes, I do.
25           Q.      I'm sorry, yes?

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                                                                          Page 206
 1           A.      Yes, I do.
 2           Q.      You can put that document aside.
 3                   Now, when PILF pulled those 51 voter
 4    registration applications, they replaced Exhibit
 5    12 on the website with a new version, correct?
 6    Exhibit 12.
 7           A.      Right, a new version that excluded
 8    those 51 apps.
 9                   (Exhibit 30 marked for identification
10           and attached hereto.)
11    BY MR. TEPE:
12           Q.      The court reporter has just marked as
13    Exhibit 30 a document.
14                   Do you recognize this document?
15           A.      It looks like a printout of a page of
16    our website.
17           Q.      And in particular, this is the page
18    that houses the exhibits to Alien Invasion II?
19           A.      That's right.
20           Q.      And unfortunately the printout doesn't
21    have the date.        Sometimes it does.                  I'll
22    represent that this was printed out yesterday.
23           A.      Okay.
24           Q.      If you go to the second page, there is
25    an asterisk after Exhibit 12.

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                                                                          Page 207
 1           A.      Yeah, I see that.
 2           Q.      Voter application is revised, then an
 3    asterisk?
 4           A.      Yes.
 5           Q.      And then the asterisk below says:
 6    "Exhibit 12 was updated after the discovery that
 7    some records were erroneously disclosed by the
 8    Commonwealth of Virginia which reflected
 9    individuals incorrectly categorized in the
10    official voter registration archives as being
11    declared noncitizens.               Those records were
12    removed."
13                   Do you see that?
14           A.      I see that.
15           Q.      That statement is incorrect, isn't it?
16           A.      I think it reflected our belief at the
17    time.    It is -- it might be imprecise.
18           Q.      It might be?
19           A.      I believe at the time it was written
20    we believed that the applications we had received
21    belonged to those whose registrations had been
22    canceled under the category declared noncitizen,
23    which is why the -- why the language after the
24    asterisk says what it says.
25           Q.      Well, we just looked at an exhibit in

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                                                                          Page 208
 1    which you wrote that Ms. Rosen was not listed in
 2    the cancellation report, correct?
 3           A.      Correct.
 4           Q.      And that's the only report or record
 5    that PILF received from the Virginia Department
 6    of Elections that it used in Alien Invasion II,
 7    correct?
 8           A.      I'm sorry.         Repeat that question.
 9           Q.      The only record that PILF received
10    from the Virginia Department of Elections which
11    it used in Alien Invasion II was the VERIS
12    report, correct?
13           A.      I believe so, yes.
14           Q.      And in the exhibit we just looked at
15    you stated that Ms. Rosen's name was not in the
16    VERIS report that was Exhibit 1 to Alien Invasion
17    II, correct?
18           A.      Correct.
19           Q.      And also Ms. Focht, now Gearhart, her
20    name was not listed there either?
21           A.      Correct.
22           Q.      The voter registration applications
23    that you received did not come from the Virginia
24    Department of Elections, correct?
25           A.      Correct.

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                                                                          Page 209
 1           Q.      Those come from the local
 2    jurisdictions, correct?
 3           A.      Correct.
 4           Q.      So it is not correct that PILF
 5    received, quote, "some records that were
 6    erroneously disclosed by the Commonwealth of
 7    Virginia," close quote?
 8                   MR. LOCKERBY:            Object to the form of
 9           the question.
10                   THE WITNESS:           Insofar as each
11           jurisdiction makes up the Commonwealth of
12           Virginia, it is correct.                  It does not say
13           the Department of Elections.                     It is a
14           commonwealth, after all.
15    BY MR. TEPE:
16           Q.      So the reader is supposed to
17    understand from this sentence that when you say
18    Commonwealth of Virginia you meant York County?
19           A.      No, they would not understand York
20    County from this language.                 But they would
21    understand that they were disclosed by someone in
22    the commonwealth.
23           Q.      And you said that these records
24    reflected individuals incorrectly categorized in
25    the official voter registration archive as being

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                                                                                 Page 210
 1    declared noncitizens.               Do you see that?
 2           A.      I see that.
 3           Q.      That's not correct either?
 4                   MR. LOCKERBY:              Object to the form.
 5                   THE WITNESS:             Is that a question?
 6    BY MR. TEPE:
 7           Q.      Yes.
 8           A.      What is the question?
 9           Q.      Isn't it true that the statement here
10    that the exhibits -- the voter registration --
11    Strike that.
12                   Isn't it true that the voter
13    registration records that were previously in
14    Exhibit 12 were not individuals incorrectly
15    characterized by the official voter registration
16    archive as being declared noncitizens?                           Is that
17    correct?
18           A.      Again, it's imprecise.                     It is -- it
19    was -- my understanding now is that the records
20    we had received, which included Ms. Rosen and
21    Ms. Gearhart's application, were records
22    belonging to people whose registrations had been
23    canceled for citizenship reasons.                         It may be
24    imprecise to say they were categorized in the
25    official voter registration archive as being

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                                                                          Page 211
 1    declared noncitizens, with "declared noncitizens"
 2    being in quotations.
 3           Q.      Because she wasn't actually on that
 4    list that --
 5                   MR. LOCKERBY:            Object to the form.
 6    BY MR. TEPE:
 7           Q.      -- that used the term "declared
 8    noncitizen"?
 9                   MR. LOCKERBY:            Reference to that list
10           is unclear.
11                   THE WITNESS:           Who is "she"?
12    BY MR. TEPE:
13           Q.      Ms. Rosen.
14           A.      She was not on the VERIS reports we
15    received.
16           Q.      And I believe none of the other 50
17    people whose applications were pulled from
18    Exhibit 12, correct?
19           A.      That's my understanding.
20           Q.      Do you believe this disclaimer on
21    PILF's website should be changed?
22                   MR. LOCKERBY:            Object to the form.
23                   THE WITNESS:           I think it could be more
24           precise.
25    BY MR. TEPE:

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                                                                          Page 212
 1           Q.      How so?
 2           A.      I think it might say that -- perhaps
 3    reflect our understanding as what the records we
 4    received indicated rather than they were
 5    categorized in the official archive.
 6           Q.      After the complaint in this
 7    litigation, the litigation that you're sitting
 8    here today for, after that complaint was filed,
 9    do you recall Mr. Vanderhulst commenting that he
10    was surprised the lawsuit hadn't happened sooner?
11           A.      I think I recall that, yes.
12           Q.      A lawsuit or an IRS complaint or
13    something?
14                   MR. LOCKERBY:            Object to the form.
15                   THE WITNESS:           The communication sounds
16           familiar.
17                   MR. LOCKERBY:            Would this be a good
18           time to take a break before we launch into
19           other exhibits?
20                   MR. TEPE:        It will be real quick.
21                   (Exhibit 31 marked for identification
22           and attached hereto.)
23    BY MR. TEPE:
24           Q.      The court reporter has just marked as
25    Exhibit 31 an e-mail with the Bates 11327.

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                                                                             Page 213
 1                   Do you see that?
 2           A.      Yes.
 3           Q.      And what do you recognize this to be?
 4           A.      The correspondence from
 5    Mr. Vanderhulst you were just describing.
 6                   MR. TEPE:          You can put that document
 7           aside and we can take a break.
 8                   THE VIDEOGRAPHER:                  We are going off
 9           the record.         The time is 2:59 p.m.
10                   (Recess taken.)
11                   THE VIDEOGRAPHER:                  We are back on the
12           record.     The time is 3:13 p.m.
13    BY MR. TEPE:
14           Q.      Mr. Johnson, do you know who Chris
15    Marston is?
16           A.      I do.
17           Q.      Who is he?
18           A.      I believe he is with the Republican
19    Party of Virginia.
20           Q.      Do you recall him helping you appear
21    before the Privileges and Elections Committee
22    after publication of Alien Invasion I?
23           A.      I remember some communications with
24    him preceding that.             I don't recall his -- what
25    you refer to as helping.                  I don't remember it

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                                                                                  Page 214
 1    like that.      But...
 2                   (Exhibit 32 marked for identification
 3           and attached hereto.)
 4    BY MR. TEPE:
 5           Q.      The court reporter has just handed you
 6    what's been marked as Exhibit 32, a document with
 7    Bates number 4883.            Do you see that?
 8           A.      I see that.
 9           Q.      Do you recognize this document?
10           A.      Yeah, I've seen it before.
11           Q.      And it's an e-mail chain from October
12    of 2016.      And it concerns in part testimony that
13    you were going to provide to the general
14    assembly.      Is that right?
15           A.      Yes.
16           Q.      But the e-mail begins on October 8th
17    with an e-mail from Mr. Marston to Mr. Adams with
18    the subject line "jury questionnaires."
19           A.      I see that.
20           Q.      And he writes to Christian:                       "You're
21    doing great work on the noncitizens on the voter
22    rolls.      Keep up the pressure."
23                   Do you see that?
24           A.      Yes.
25           Q.      "I'm trying to round up allies.                      We've

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                                                                              Page 215
 1    got a joint House session committee meeting next
 2    week on election readiness and the registration
 3    list.    I'm working to be sure we get them briefed
 4    up on your report and the issue."
 5                   Do you see that?
 6           A.      I see that there.
 7           Q.      And is that referring to the committee
 8    meeting that you ultimately testified to?
 9           A.      Yes, I think that's what he's
10    referring to.
11           Q.      He also said:              "I know you FOIA'd the
12    Alexandria clerk for any communications with the
13    registrar or EB regarding request for jury duty."
14                   Do you see that?
15           A.      Yes.
16           Q.      "Have you ever FOIA'd to actually get
17    the disqualification list with the reasons for
18    disqualification?"
19                   Do you see that?
20           A.      I see that he says that, yes.
21           Q.      And then he says:                  "If we did that, we
22    could go challenge registrations before the books
23    closed."
24                   Do you see that?
25           A.      Yes.

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                                                                          Page 216
 1           Q.      "I wondered if you've already done it
 2    and already checked out the law and likely
 3    responses."
 4           A.      I see that.
 5           Q.      Do you know what he's talking about
 6    with respect to a FOIA to the Alexandria clerk?
 7           A.      I believe I do, yes.
 8           Q.      And what do you understand that to be?
 9           A.      At some point in time we sent FOIA
10    requests to various jury clerks asking for data
11    regarding people who disqualified themselves for
12    jury duty.
13           Q.      What do you mean by disqualified
14    themselves for jury duty?
15           A.      As I understand it, when you are asked
16    to appear on a jury you're expected to answer
17    certain questions, and depending on how you
18    answer them, you may be disqualified from serving
19    on a jury.      And some of those reasons are --
20    would also disqualify you from registering to
21    vote.
22           Q.      Was PILF looking for the
23    disqualification list for jury duty?
24           A.      I believe we asked for records that
25    would reflect people who excused themselves from

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                                                                          Page 217
 1    jury duty.      I don't know if we specifically asked
 2    for a list.
 3           Q.      Who would know if you actually asked
 4    for a list of those disqualified from jury duty?
 5           A.      Well, I think there are records of the
 6    requests themselves that have been produced to
 7    you.
 8           Q.      Have you had personally any
 9    discussions with Chris Marston about jury
10    questionnaire data?
11           A.      Just me and him?
12           Q.      Yes.
13           A.      Not that I recall.
14           Q.      What about with you, him and other
15    people involved?
16           A.      Nothing specific is coming to mind,
17    but I can't say that there aren't communications.
18           Q.      So if I understand your testimony,
19    there may be communications involving Chris
20    Marston, yourself and others with respect to
21    obtaining jury disqualification lists?
22           A.      There may be.              The exhibit you just
23    showed me contains a chain in which it's being
24    discussed, so whether there are others like this
25    I can't say for sure.

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                                                                             Page 218
 1           Q.      Again, the first paragraph of
 2    Mr. Marston's e-mail to Mr. Adams talks about,
 3    I'm assuming, Alien Invasion I.                      Would you agree
 4    with that?
 5           A.      Based on the timing, I think that's
 6    what he's referring to.
 7           Q.      "Make sure we get them" -- I'm
 8    assuming the general assembly folks -- "briefed
 9    up on your report."
10                   Do you see that?
11           A.      Yeah.     It sounds like he's referring
12    to the joint House/Senate committee.
13           Q.      So he's working to be sure that the
14    joint House/Senate committee members are briefed
15    on your report.        Is that report the Alien
16    Invasion I report?
17           A.      I think that's what he's referring to,
18    yes.
19           Q.      Do you know why Mr. Marston was trying
20    to brief members of the joint House/Senate
21    committee on the Alien Invasion I report?
22           A.      I don't.
23           Q.      You can put this document aside.
24                   Earlier you testified that, generally
25    speaking, you were supervising the effort to

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                                                                          Page 219
 1    produce and publish the Alien Invasion reports,
 2    correct?
 3                   MR. LOCKERBY:              Object to the form.
 4                   MR. TEPE:          What's the basis for the
 5           objection?
 6                   MR. LOCKERBY:              It's been asked and
 7           answered.
 8                   MR. TEPE:          It's just a segue question.
 9                   MR. LOCKERBY:              Well, it's still
10           inappropriate.           The transcript reflects what
11           he said.
12                   THE WITNESS:             I can't say that's my
13           exact testimony.             That sounds right.
14    BY MR. TEPE:
15           Q.      There was an effort to collect records
16    from individual localities for the first Alien
17    Invasion report, correct?
18           A.      Jurisdictions.
19           Q.      Jurisdictions?
20           A.      Yes.
21           Q.      As well as for the second Alien
22    Invasion report, correct?
23           A.      Yes.
24           Q.      Now, PILF coordinated its efforts to
25    collect these election records from these

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                                                                          Page 220
 1    jurisdictions with the Republican Party of
 2    Virginia, correct?
 3                   MR. LOCKERBY:            Object to the form.
 4                   MR. TEPE:        What's the basis for the
 5           objection?
 6                   MR. LOCKERBY:            It's vague, including
 7           the use of the term "coordinate."
 8                   THE WITNESS:           I would not say we
 9           coordinated our collection of records with
10           them.    I have some recollection of them
11           having requested similar records.
12    BY MR. TEPE:
13           Q.      And their requests for similar records
14    was suggested by Mr. Adams, correct?
15           A.      I don't know if that's true or not.
16                   (Exhibit 33 marked for identification
17           and attached hereto.)
18    BY MR. TEPE:
19           Q.      The court reporter has handed you a
20    document marked as Exhibit 33 with the Bates
21    number 9399.
22                   Do you recognize this document?
23           A.      I think I've seen it before.
24           Q.      It's an e-mail chain that begins with
25    an e-mail from Shawna Powell dated November 16,

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                                                                                 Page 221
 1    2016 to you.       Is that right?
 2           A.      Yes.
 3           Q.      The subject line is "VA Stafford and
 4    Roanoke"?
 5           A.      Correct.
 6           Q.      Is this referencing the effort to
 7    collect records from Stafford and Roanoke
 8    Counties for the Alien Invasion II report?
 9           A.      Yes, I believe so.
10           Q.      Ms. Powell writes:                  "Regarding
11    Stafford, called 11/16 to F/U..."                         Is that follow
12    up, do you think?
13           A.      I hope so.
14           Q.      "...on the e-mail sent 11/15.                     Greg
15    Riddlemoser stated that RPV," Republican Party of
16    Virginia, "came to his office and went through
17    all the records so he considers this matter done.
18    I explained we are not working with RPV; however,
19    he stated that they" -- "said that they were
20    working with them."
21                   Do you see that?
22           A.      I see that.
23           Q.      You forwarded this to Mr. Adams, and
24    you asked:      "Any reason RPV would have asked for
25    the same records?"

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                                                                                   Page 222
 1                   Do you see that?
 2           A.      Yes.
 3           Q.      And Mr. Adams wrote back:                         "Yes.   I
 4    suggested it.        I believe swarming is better than
 5    lone attacks.        That's how the left plays."
 6                   Do you see that?
 7           A.      I see that.
 8           Q.      Do you recall having any follow-up
 9    conversation with Mr. Adams regarding his
10    suggestion to the Republican Party of Virginia?
11           A.      No, I don't recall any further
12    communications.
13           Q.      Is it your understanding that making a
14    request of jurisdictions for election records are
15    attacks?
16           A.      No.
17           Q.      Are you aware of other instances
18    besides Stafford in which the Republican Party of
19    Virginia was asking for the same records that
20    PILF was asking for?
21           A.      No, I don't recall any.                      Or have
22    knowledge of any.
23           Q.      You can put that document aside.
24                   Do you recall Mr. Adams reaching out
25    to the Republican Party of Virginia to get

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                                                                          Page 223
 1    addresses of Virginia congressional district
 2    chairs for the Republican Party to send copies of
 3    the Alien Invasion II report?
 4           A.      I do not recall that.
 5                   (Exhibit 34 marked for identification
 6           and attached hereto.)
 7    BY MR. TEPE:
 8           Q.      The reporter just handed you what's
 9    been marked as Exhibit 34, a document with the
10    Bates number 475358.
11                   Do you see that?
12           A.      Yes.
13           Q.      Do you recognize this document?
14           A.      Only vaguely.
15           Q.      At the bottom Mr. Adams wrote on
16    May 26, 2017:       "Chris, we want to snail mail a
17    copy of the Alien 2.0 report to the Virginia
18    congressional district chairs."
19                   Do you see that?
20           A.      Uh-huh.
21           Q.      Was that a yes?
22           A.      Yes.
23           Q.      And these are -- do you know what
24    Virginia congressional district chairs are?
25           A.      I believe it's the party chairs in

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                                                                              Page 224
 1    each congressional district.
 2           Q.      And then he responded:                   "Attached are
 3    the RPV leadership roster.                 The district chairs
 4    are at the top."
 5                   Do you see that?
 6           A.      He attached it.
 7           Q.      And then this is forwarded to you?
 8           A.      Oh, I see.         Yes, it was forwarded to
 9    me and two other people.
10           Q.      Do you recall the mailing list that we
11    looked at earlier that Virginia congressional
12    district chairs were included on the mailing
13    list?
14           A.      I do.
15           Q.      Did you mail Alien Invasion II to
16    Democratic Party of Virginia officials?
17           A.      Are you asking me?
18           Q.      Did PILF mail, to your knowledge,
19    Alien Invasion II to Democratic --
20           A.      I don't recall whether we did.
21           Q.      PILF is barred from endorsing a
22    political party or candidate.                    Is that right?
23                   MR. LOCKERBY:            Object to the form.
24                   THE WITNESS:           I think the IRS rules
25           prohibit partisan intervention, and that

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                                                                            Page 225
 1           might include endorsement.
 2    BY MR. TEPE:
 3           Q.      But in your reports you try and tiptoe
 4    around that, correct?
 5                   MR. LOCKERBY:              Object to the form of
 6           the question.
 7                   THE WITNESS:             I'm not sure I
 8           understand the question.
 9                   (Exhibit 35 marked for identification
10           and attached hereto.)
11    BY MR. TEPE:
12           Q.      The court reporter has marked what is
13    Exhibit 35, a document with Bates number 51869.
14                   Do you see that?
15           A.      Yes.
16           Q.      Do you recognize this document?
17           A.      Yeah, I think I've seen this.
18           Q.      It appears to be a draft of Alien
19    Invasion II, is that right, attached to this
20    e-mail?
21           A.      Yes, it's a draft.
22           Q.      So you e-mailed Mr. Adams and
23    Mr. Churchwell a draft on April 28, 2017.                        Is
24    that right?
25           A.      Yes.

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                                                                          Page 226
 1           Q.      You wrote:         "One thing to keep in
 2    mind, there is a new section on upcoming
 3    elections in Virginia.              We can't endorse any
 4    candidate or party, so I attempted to tiptoe
 5    around it.      McAuliffe is not a candidate, as you
 6    probably know, so he's fair game."
 7                   Do you see that?
 8           A.      I see that.
 9           Q.      What did you mean by this paragraph?
10                   MR. LOCKERBY:            Object to the form.
11                   THE WITNESS:           I believe we wanted to
12           mention the effect that ineligible
13           registration and voting can have on
14           elections.      Knowing that we couldn't endorse
15           candidates or parties, it required us to
16           steer clear of that while informing the
17           reader that there were elections on the
18           horizon in Virginia.
19    BY MR. TEPE:
20           Q.      Was, to your knowledge, PILF trying to
21    have an impact on the 2017 Virginia elections?
22                   MR. LOCKERBY:            Object to the form.
23                   THE WITNESS:           No.
24    BY MR. TEPE:
25           Q.      Do you recall in PILF's effort to

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                                                                          Page 227
 1    obtain I believe the VERIS reports, PILF sued the
 2    registrars of Chesterfield and Manassas?
 3           A.      I do recall that, yes.
 4           Q.      Do you recall if any amici appeared in
 5    favor of PILF's position?
 6           A.      Yes, I do recall.
 7           Q.      So who was an amici you're recalling?
 8           A.      I believe a brief was filed by the
 9    Republican Party of Virginia, or a more local
10    chapter of it; I'm not sure which one.
11           Q.      Did you work on a report called Safe
12    Spaces?
13           A.      I did.
14           Q.      Just generally, what was the purpose
15    of issuing the Safe Spaces report?
16           A.      To educate about the impact of
17    sanctuary policies on voter registration and
18    voting.     Sanctuary city policies.
19           Q.      And what did PILF believe to be the
20    impact of sanctuary city policies on voter
21    registration?
22           A.      We investigated whether sanctuary city
23    policies had an impact on the prevalence of
24    registration by ineligible noncitizens.
25           Q.      Well, did you examine the impact or

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                                                                              Page 228
 1    simply report on the number of purported
 2    noncitizens registered in sanctuary city
 3    locations?
 4                   MR. LOCKERBY:              Object to the form.
 5                   THE WITNESS:             That was part of the
 6           report, was the data.
 7    BY MR. TEPE:
 8           Q.      Safe Spaces was published by PILF
 9    after this lawsuit was filed.                      Is that correct?
10           A.      I believe that's correct.
11                   (Exhibit 36 marked for identification
12           and attached hereto.)
13    BY MR. TEPE:
14           Q.      The court reporter has marked what is
15    Exhibit 36, a document with the Bates number
16    beginning 250.
17                   Do you see that?
18           A.      I see that.
19           Q.      Do you recognize this document?
20           A.      Yeah, it looks like an e-mail and a
21    draft copy of the Safe Spaces report.
22           Q.      And so Mr. Adams e-mailed on August
23    15, 2018, a draft of his edits to the report.                      Is
24    that correct?
25           A.      Yes.

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                                                                                   Page 229
 1           Q.      That was sent to you and
 2    Mr. Churchwell?
 3           A.      Correct.
 4           Q.      And just flipping through the report,
 5    there are a bunch of comments with CA and then a
 6    number in the comment bubble.                      Do you see that?
 7           A.      I see those.
 8           Q.      Does that refer to Christian Adams?
 9           A.      Yes.
10           Q.      Can you flip to the Bates-numbered
11    page 268.
12           A.      I'm looking at 268.
13           Q.      There is a paragraph second from the
14    top that originally read before edits:                           "Virginia
15    currently contains three sanctuary jurisdictions,
16    all of which disclosed records of noncitizens
17    previously registered and voting there."
18                   Did I read the initial draft correct?
19           A.      I think the last word says therein,
20    but yes, that is correct.
21           Q.      Therein.
22                   Mr. Adams crossed that out and
23    replaced "noncitizens previously registered and
24    voting therein" to "registrants canceled for
25    citizenship defects."

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                                                                          Page 230
 1                   Do you see that?
 2           A.      I see that.
 3           Q.      Do you know why he made that edit?
 4                   MR. LOCKERBY:            Object to the form.
 5           Lack of foundation.
 6    BY MR. TEPE:
 7           Q.      Let's go -- hanging off this edit is a
 8    comment, comment number 18.                     Do you see that?
 9           A.      I do.
10           Q.      And Mr. Adams appears to have written:
11    "How is it that after we are involved in
12    litigation that we are still referring to these
13    Virginia cases as 'noncitizens'?                       It defies
14    explanation.       On numerous occasions and in
15    numerous places I have explicitly said they are
16    registrations removed for citizenship defects or
17    registrants canceled for reasons of
18    noncitizenship.        We have to use the actual terms
19    and not make assumptions they are necessarily
20    aliens.     The continuing improper terminology
21    contributed to us losing the motion to dismiss
22    because the court ruled that these subsequent
23    statements were re-publications with a statute of
24    limitations."
25                   Did I read that comment correctly?

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                                                                          Page 231
 1           A.      Yes, you did.
 2           Q.      Would you agree with Mr. Adams that
 3    calling the individuals listed on the records
 4    that you published in Alien Invasion II as
 5    noncitizens was improper terminology?
 6                   MR. LOCKERBY:            Object to the form.
 7                   THE WITNESS:           Well, at the time
 8           Mr. Adams wrote this comment, as you have
 9           mentioned, this lawsuit had begun in which
10           it was in dispute -- or the terminology used
11           was part of the basis for the complaint.                 I
12           think that is what Mr. Adams is concerned
13           about here.       His comment otherwise speaks
14           for itself.
15    BY MR. TEPE:
16           Q.      The numbers that are listed here for
17    Fairfax County, Chesterfield County, Arlington
18    County, do these come from VERIS reports?
19           A.      Yes, they do.
20           Q.      Were they updated reports that you
21    received from jurisdictions?
22           A.      I believe they were, yes.
23           Q.      And in the final publication of Safe
24    Spaces, PILF doesn't call the individuals
25    identified on the VERIS reports noncitizens,

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                                                                          Page 232
 1    correct?
 2           A.      I don't believe so.
 3           Q.      You can put that document aside.
 4                   (Exhibit 37 marked for identification
 5           and attached hereto.)
 6    BY MR. TEPE:
 7           Q.      The court reporter has just marked and
 8    handed you what is Exhibit 37 with Bates number
 9    3971.
10                   Do you see that?
11           A.      I do see that.
12           Q.      What do you recognize this document to
13    be?
14           A.      It looks like an e-mail attaching a
15    copy of my written testimony before the
16    Privileges and Elections Committee of the
17    Virginia general assembly.
18           Q.      Why did you testify before this
19    committee?
20           A.      I believe Mr. Adams was unavailable
21    and asked me to go.
22           Q.      Why did anyone from PILF testify
23    before this committee?
24           A.      I believe we were invited to it.
25           Q.      And do you know why PILF was invited

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                                                                          Page 233
 1    to it?
 2           A.      I think our research was germane to
 3    the purpose of the hearing.
 4           Q.      Do you recall questions arising during
 5    the hearing from members of the committee
 6    questioning the assertions in Alien Invasion I?
 7           A.      I recall some comments in that regard,
 8    yes.
 9           Q.      And do you recall these committee
10    members stating that certain individuals listed
11    in Alien Invasion I were not noncitizens?
12           A.      I'm not sure if that's an accurate
13    recitation of what was stated, but I remember
14    something along those lines.
15           Q.      Well, what do you recall?
16           A.      I recall a committeewoman I believe
17    claiming that she knew of certain individuals
18    listed in the report that were not removed for
19    citizenship reasons.
20           Q.      Did you follow up with this
21    committeewoman?
22           A.      I don't believe so.
23           Q.      Why not?
24           A.      I don't recall.
25           Q.      Is it fair to say that she was

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                                                                              Page 234
 1    suggesting that there was some inaccuracy in
 2    Alien Invasion I?
 3           A.      I think more directly she was
 4    asserting that there was some inaccuracy in the
 5    VERIS report attached to the report.
 6           Q.      That you relied on in Alien Invasion
 7    I, correct?
 8           A.      Correct.
 9           Q.      But you don't recall PILF following up
10    with the committeewoman regarding her concerns?
11           A.      No, I don't recall that.
12           Q.      Is there anything else that you recall
13    from that committee hearing?
14           A.      Yes.
15           Q.      What do you recall?
16           A.      I recall that Reagan George gave
17    testimony.      I recall that Edgardo Cortes gave
18    testimony.      Various general registrars in the
19    commonwealth gave testimony.                      I recall there were
20    other members of the public that gave testimony.
21           Q.      Do you recall if Mr. George had any
22    prepared testimony?
23           A.      Yes, he did.
24           Q.      Do you have a copy of that testimony?
25           A.      Yes, I think he provided us with one.

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                                                                          Page 235
 1           Q.      Do you know if PILF still has a copy
 2    of that?
 3           A.      I believe that we do.
 4                   MR. TEPE:          Counsel, I don't believe
 5           we've received that.
 6                   MR. LOCKERBY:              Pardon me?
 7                   MR. TEPE:          I don't believe we have
 8           received this testimony of Mr. George that
 9           Mr. Johnson suggested may be in PILF's
10           possession.
11                   MR. LOCKERBY:              I don't know whether
12           we've produced it or whether in fact PILF
13           has it or whether it's responsive, but we
14           can look.
15                   MR. TEPE:          I'm just noting it for the
16           follow-up.
17    BY MR. TEPE:
18           Q.      Do you recall the content of
19    Mr. George's testimony by chance?
20           A.      No, I don't remember the specifics.
21           Q.      Do you recall the content of any of
22    the registrars' testimony?
23           A.      Yes.
24           Q.      What do you recall?
25           A.      I recall that Larry Haake testified

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                                                                             Page 236
 1    and that he, I believe, addressed sort of the
 2    subject matter of the Alien Invasion report
 3    insofar as the registration of noncitizens.
 4           Q.      Do you recall anything else
 5    specifically?
 6           A.      No.
 7                   MR. TEPE:         Do you want to go off the
 8           record for five minutes?
 9                   MR. LOCKERBY:             Sure, absolutely.
10                   THE VIDEOGRAPHER:                 We are going off
11           the record.        The time is 3:54 p.m.
12                   (Recess taken.)
13                   THE VIDEOGRAPHER:                 We are back on the
14           record.     The time is 4:00 p.m.
15    BY MR. TEPE:
16           Q.      Mr. Johnson, before the Virginia
17    Department of Elections sent PILF statewide VERIS
18    reports, the Virginia Department of Elections
19    sent you a different report generated from VERIS.
20    Is that correct?
21           A.      They sent us a different report.                 They
22    did not tell us how it was generated, so I cannot
23    say it was generated from VERIS.
24           Q.      And sometimes that's referred to as
25    the custom report?

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                                                                          Page 237
 1           A.      Yes, that's how Mr. Cortes referred to
 2    it.
 3                   (Exhibit 38 marked for identification
 4           and attached hereto.)
 5    BY MR. TEPE:
 6           Q.      The court reporter has just handed
 7    over what's been marked as Exhibit 38, a document
 8    beginning Bates number 16737.
 9                   Do you recognize this document?
10           A.      This looks like the e-mail from
11    Mr. Cortes transmitting the so-called custom
12    report along with a copy of that report.
13           Q.      And so on September 30, 2016,
14    Mr. Cortes e-mails you and Ms. Powell, correct?
15           A.      Yes.
16           Q.      And he begins his e-mail by stating:
17    "On September 16, 2016, the Department of
18    Elections offered to create a customized report
19    containing information available in our statewide
20    voter registration system related to
21    correspondence sent to potential noncitizens by
22    local general registrars."
23                   Do you see that?
24           A.      I do.
25           Q.      The statewide voter registration

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                                                                          Page 238
 1    system, that's VERIS, correct?
 2           A.      That's how I understand it.
 3           Q.      And then below he lists the fields
 4    that are included in the attached report,
 5    correct?
 6           A.      Correct.
 7           Q.      And a number of these fields are the
 8    same fields that appear in what we've been
 9    calling the VERIS report before, correct?
10           A.      Some of the information is the same,
11    yes.
12           Q.      Right.        And that's the cancellation
13    report that's been published in the Alien
14    Invasion reports, correct?
15           A.      The VERIS report is, yes.
16           Q.      Right.        And so both the VERIS report
17    and this custom report contains a registrant's
18    last name, right?
19           A.      Yes.
20           Q.      First name?
21           A.      Yes.
22           Q.      Voter registration ID?
23           A.      If you mean voter ID number.
24           Q.      Yes.
25           A.      Yes.

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                                                                          Page 239
 1           Q.      Registration address?
 2           A.      Yes.
 3           Q.      One difference is that the custom
 4    report has a field for current registration
 5    status?
 6           A.      Yes.
 7           Q.      But the VERIS reports that were
 8    published in the Alien Invasion reports don't
 9    have that field, correct?
10           A.      Correct.
11           Q.      And then two other fields listed here
12    are the date noncitizen correspondence was sent
13    and the date that they had for a response being
14    received, if at all?
15           A.      Yes.
16           Q.      Now, your first reaction to receiving
17    this report was that it was incredibly helpful --
18    excuse me, incredibly useful.                      Is that right?
19           A.      I don't recall what my immediate
20    reaction was.
21                   (Exhibit 39 marked for identification
22           and attached hereto.)
23    BY MR. TEPE:
24           Q.      The court reporter has marked as
25    Exhibit 39 a document with the Bates number 5276.

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                                                                          Page 240
 1    Do you see that?
 2           A.      I see it.
 3           Q.      Do you recognize this document?
 4           A.      Yes, I've seen this before.
 5           Q.      And so this is an e-mail from you
 6    forwarding the September 30 e-mail and custom
 7    report sent by Mr. Cortes?
 8           A.      Correct.
 9           Q.      And you sent this to Mr. Adams?
10           A.      Yes.
11           Q.      And you wrote:              "The data, however,
12    looks incredibly useful."
13                   Do you see that?
14           A.      Yes.
15           Q.      "If I'm reading this correctly, I
16    don't see how this is any different than the
17    lists we asked for originally."
18                   Do you see that?
19           A.      Yes.
20           Q.      And the lists you had asked for
21    originally was the VERIS report --
22           A.      Yes.
23           Q.      -- that was published in Alien
24    Invasion I and Alien Invasion II?
25           A.      Yes.

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                                                                           Page 241
 1           Q.      "Some registrations" -- the e-mail of
 2    yours continues:           "Some registrations indicated
 3    the voters active but most note as canceled."
 4                   Do you see that?
 5           A.      Yes.
 6           Q.      Did PILF end up accepting this report
 7    from Mr. Cortes as being sufficient to satisfy
 8    your requests?
 9           A.      No, we did not.
10           Q.      Here you say that the data looks
11    incredibly useful.            Did you change your mind?
12           A.      I don't recall if I changed my mind.
13           Q.      Fair enough.
14                   You wrote here:               "I don't see how this
15    is any different than the lists we asked for
16    originally."
17                   Did you change your mind as to that
18    statement?
19           A.      I did.
20           Q.      Now, do you recall PILF rejecting
21    Mr. Cortes' custom report as being insufficient
22    to satisfy your requests?
23           A.      I believe we informed him that it did
24    not satisfy our request for the VERIS report.
25                   (Exhibit 40 marked for identification

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                                                                          Page 242
 1           and attached hereto.)
 2    BY MR. TEPE:
 3           Q.      The court reporter has handed you a
 4    document marked as Exhibit 40, Bates number 5129.
 5                   Do you see that?
 6           A.      Sorry, 5129?
 7           Q.      Correct.
 8           A.      Yes.
 9           Q.      Okay.       And do you recognize this
10    document?
11           A.      Yes, I've seen this before.
12           Q.      This is a response from you to
13    Mr. Cortes' September 30 e-mail with the custom
14    report, correct?
15           A.      Yes, it's a response to his e-mail.
16           Q.      So Mr. Cortes e-mailed you at
17    4:27 p.m.
18           A.      Yes.
19           Q.      You sent -- in the previous exhibit
20    you forwarded that report at 4:42 p.m. on the
21    same day.
22           A.      Correct.
23           Q.      And then at 6:09 p.m. you responded to
24    Mr. Cortes, correct?
25           A.      6:09, yes.

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                                                                                   Page 243
 1           Q.      And you wrote:              "Mr. Cortes, we are in
 2    receipt of your report.                 This report, however,
 3    does not satisfy our requests to the county
 4    registrars.       We requested lists of registrants
 5    who were removed from the voter rolls because
 6    they were determined to be noncitizens.                          Your
 7    report indicates only that the listed individuals
 8    were mailed citizenship confirmation notices.                           It
 9    does not indicate that they were removed for
10    citizenship reasons."
11                   Do you see that?
12           A.      Yes.
13           Q.      Now, in the second sentence where you
14    said "We requested lists of registrants who were
15    removed from the voter rolls because they were
16    determined to be noncitizens," that's not exactly
17    what your original request to the jurisdictions
18    was, right?
19                   MR. LOCKERBY:              Object to the form.
20                   THE WITNESS:             Well, I think that that
21           would -- by this point in time he was aware
22           that that's what we were requesting.
23    BY MR. TEPE:
24           Q.      What makes you say that?
25           A.      I believe at this time he had

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                                                                                Page 244
 1    instructed county registrars not to provide us
 2    with the VERIS reports because he knew that's
 3    what we wanted.
 4           Q.      The VERIS reports?
 5           A.      Right.
 6           Q.      The VERIS reports that do not have a
 7    determination as to whether or not someone is a
 8    citizen, correct?
 9                   MR. LOCKERBY:              Object to the form.
10                   THE WITNESS:             Well, I wouldn't agree
11           with that, and we've been over the fact they
12           say declared noncitizen on them.                          But we
13           don't have to go through that again.
14    BY MR. TEPE:
15           Q.      That is the phrase used in the column
16    called "Cancel Type," right?
17           A.      Correct.
18           Q.      But essentially what PILF wanted was
19    that particular VERIS report, right?
20           A.      We wanted the statewide VERIS report.
21           Q.      Right.        That had the column with the
22    cancel type that said declared noncitizen?
23           A.      Correct.
24           Q.      That's what PILF wanted?
25           A.      Yes.

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                                                                           Page 245
 1           Q.      You can put that document aside.
 2           A.      Both of them?
 3           Q.      Yes.
 4                   MR. TEPE:          The witness has been handed
 5           a document that's been previously marked as
 6           VVA Deposition Exhibit 39.
 7    BY MR. TEPE:
 8           Q.      Do you recognize this document?
 9           A.      I have seen it before.
10           Q.      It's got the Bates number of 1408.
11    This document begins with an e-mail from
12    Mr. Cortes, March 28, 2017.
13           A.      Correct.
14           Q.      Attaching a statewide VERIS report as
15    PILF requested.          Is that right?
16           A.      Correct.
17           Q.      And then you responded thanking him
18    for the report and noting that there appears to
19    be 15 jurisdictions missing.                      Do you see that?
20           A.      I see that.
21           Q.      And then Mr. Cortes on April 4th
22    responds to your question about the missing
23    jurisdictions.         Is that right?
24           A.      Yes.
25           Q.      And then you forward -- you forward

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                                                                                     Page 246
 1    Mr. Cortes' response on April 4th to Mr. Adams,
 2    copying Mr. Churchwell, right?
 3           A.      Correct.
 4           Q.      And you wrote:              "Response from
 5    Mr. Cortes" -- Strike that.
 6                   "Response from Cortes on the missing
 7    reports.      Those counties have not canceled a
 8    single person for citizenship reasons in six-plus
 9    years.      Otherwise he just confirms what we
10    already knew.       The report includes only people
11    who were flagged, then sent an affirmation and
12    did not return."
13                   Did I read that correctly?
14           A.      Yes.
15           Q.      And this is with reference to the
16    VERIS report, or one of the VERIS reports that
17    was published in Alien Invasion II, right?
18           A.      Yes.
19                   MR. TEPE:          You can put that document
20           aside.
21                   Subject to any questions that your
22           counsel has, I'm done.
23                   MR. LOCKERBY:              All right.             I will have
24           a few.     Just a few.
25    //

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                                                                                 Page 247
 1                               EXAMINATION
 2    BY MR. LOCKERBY:
 3           Q.      Mr. Johnson, I would like you to look
 4    back, please, at what was marked as Exhibit 4 to
 5    your deposition.
 6           A.      I have Exhibit 4 in front of me.
 7           Q.      On the very first page you write:
 8    "Response from Bedford County, 35 people removed
 9    for being noncitizens.              Interestingly, they also
10    provide copies of notices sent to all individuals
11    who indicated to the DMV that they were
12    noncitizens.       Each person was sent a notice
13    asking them to confirm their citizenship.                           That
14    list contains 54 people.
15                   "So 19 people indicated they were
16    citizens in response to the notice after
17    indicating they were noncitizens at the DMV.
18    Those people were kept on the rolls.                           Hard to
19    believe all 19 people simply made a mistake at
20    the DMV."
21                   First of all, is it sometimes the case
22    that individuals become naturalized citizens at
23    some point after initially registering to vote?
24                   MR. TEPE:        Objection to form.
25           Leading.

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                                                                           Page 248
 1                   THE WITNESS:           Yes, that happens.
 2    BY MR. LOCKERBY:
 3           Q.      And if someone subsequently affirms
 4    citizenship after being sent a notice of
 5    cancellation, is that still an honor system in
 6    Virginia as you understand it?                     In other words,
 7    the registrar takes the voter's word for it?
 8                   MR. TEPE:        Objection to form.
 9           Leading.
10                   THE WITNESS:           That's how I understand
11           it.
12    BY MR. LOCKERBY:
13           Q.      And does the subsequent affirmation of
14    citizenship change the fact that the person
15    previously stated under oath that he or she was
16    not a citizen?
17                   MR. TEPE:        Objection; leading.
18                   THE WITNESS:           No, it does not change
19           that.
20    BY MR. LOCKERBY:
21           Q.      As you understand the process, does
22    the fact that someone reregistered after
23    affirming citizenship represent any kind of
24    adjudication by the Department of Elections that
25    the individual is in fact a citizen of the United

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                                                                             Page 249
 1    States?
 2                   MR. TEPE:        Objection; leading.
 3                   THE WITNESS:           No.
 4    BY MR. LOCKERBY:
 5           Q.      As far as you know, does the fact that
 6    someone reregisters after completing an
 7    affirmation of citizenship constitute an
 8    adjudication by a local registrar that any
 9    particular voter is in fact a citizen of the
10    United States?
11                   MR. TEPE:        Objection; leading.
12                   THE WITNESS:           No.
13    BY MR. LOCKERBY:
14           Q.      Is it your understanding that federal
15    or state prosecutors would have access to
16    information about voter registrations and voting
17    history that PILF does not?
18                   MR. TEPE:        Objection; leading.            Lacks
19           foundation.
20                   THE WITNESS:           Can you repeat the
21           question?
22    BY MR. LOCKERBY:
23           Q.      Let me ask you a different question.
24                   Have you ever heard of the SAVE
25    program database that is maintained by the

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                                                                          Page 250
 1    Department of Homeland Security?
 2           A.      Yes.
 3           Q.      Does PILF have access to the contents
 4    of that database?
 5           A.      No.
 6           Q.      Is it your understanding that someone
 7    who is not a United States citizen but falls in
 8    one of several categories can obtain a driver's
 9    license in the Commonwealth of Virginia?
10                   MR. TEPE:          Objection; form.
11                   THE WITNESS:             Yes, that's my
12           understanding.
13    BY MR. LOCKERBY:
14           Q.      And is it also your understanding that
15    a noncitizen who does so will sometimes
16    prevent -- present certain types of
17    documentation, for example what's currently
18    referred to or commonly referred to as a green
19    card?
20                   MR. TEPE:          Objection to form.
21                   THE WITNESS:             Yes, that's my
22           understanding.
23    BY MR. LOCKERBY:
24           Q.      Does PILF have access to documentation
25    used by noncitizens to obtain driver's licenses

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                                                                          Page 251
 1    in the Commonwealth of Virginia?
 2                   MR. TEPE:        Objection to form.
 3                   THE WITNESS:           No, we don't.
 4    BY MR. LOCKERBY:
 5           Q.      Do you know whether federal or state
 6    prosecutors would have access to that?
 7                   MR. TEPE:        Objection to form.
 8                   THE WITNESS:           My guess is that they
 9           would.
10    BY MR. LOCKERBY:
11           Q.      I would like you to look, please, at
12    what was previously marked as Exhibit 7.
13           A.      You might have to give me your copy if
14    that's possible because I'm not sure where it
15    ended up.      What is Exhibit 7?
16           Q.      I'll just give you a copy of it.
17                   MR. TEPE:        You didn't mark it up, did
18           you?
19                   MR. LOCKERBY:            I wrote "Exhibit 7" on
20           it, and the answers to my questions.
21                   MR. TEPE:        Thank you.
22    BY MR. LOCKERBY:
23           Q.      What is the date on Exhibit 7?
24           A.      September 29 of 2016.
25           Q.      And did Exhibit 7 contain a draft of

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                                                                          Page 252
 1    what eventually became the Alien Invasion I
 2    report?
 3           A.      Yes, it does.
 4           Q.      And from memory, you don't recall how
 5    long before the date of Exhibit 7 you began
 6    drafting what became the Alien Invasion I report,
 7    do you?
 8                   MR. TEPE:        Objection to form.
 9           Misstates his testimony.
10                   THE WITNESS:           I do not recall how long
11           before this exhibit, or before September
12           29th, I started drafting what became Alien
13           Invasion I.
14                   MR. LOCKERBY:            I would like to have
15           this marked as Exhibit 42, I believe.
16                   THE REPORTER:            41.
17                   MR. LOCKERBY:            Just for the record,
18           what is Exhibit 41?              Because I had marked an
19           April 4, 2017, document by hand as Exhibit
20           41.   I want to make sure.
21                   MR. TEPE:        That one already has the
22           VVA 39.
23                   MR. LOCKERBY:            So we just used the
24           same number as before?
25                   MR. TEPE:        Yeah.

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                                                                                Page 253
 1                   MR. LOCKERBY:              Got it.         So this will
 2           be 41.
 3                   (Exhibit 41 marked for identification
 4           and attached hereto.)
 5    BY MR. LOCKERBY:
 6           Q.      Is the first page of Exhibit 41 an
 7    e-mail that you sent on August 22, 2016?
 8           A.      Yes.
 9           Q.      And then there is an attachment.                     And
10    what is the attachment?
11           A.      According to the e-mail, it's an info
12    sheet on our correspondence with various Virginia
13    counties regarding our efforts to get lists of
14    noncitizens on the voter rolls.
15           Q.      Did you use this information sheet in
16    any way to develop what later became Alien
17    Invasion I?
18                   MR. TEPE:          Objection to form.
19                   THE WITNESS:             I believe some of the
20           material was used in the report.
21    BY MR. LOCKERBY:
22           Q.      I would like you to look now, please,
23    at what was previously marked as Exhibit 10 to
24    your deposition.           If it helps, it's the Alien
25    Invasion I report dated September 30, 2016.

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                                                                                Page 254
 1           A.      I still can't find it.
 2           Q.      All right.         If you can't find it, we
 3    may need to take a break so you can find it.
 4                   Is that it upside-down, perhaps?
 5           A.      There we go, thank you.                    Okay, I'm
 6    looking at Exhibit 10.
 7           Q.      And within Exhibit 10 there is an
 8    Exhibit 7 to the report, and I want you to look,
 9    please, at page 48 of 84 within Exhibit 7.
10           A.      Okay, I'm looking at that page.
11           Q.      And that is a voter registration for
12    Luciania Freeman.          Is that right?
13           A.      That is right.
14           Q.      And on this particular voter
15    registration she's checked the box "Yes" in
16    response to the question "Are you a citizen of
17    the United States?"
18           A.      Yes, she has.
19           Q.      And underneath her signature there is
20    a date that says September 26, 2008, correct?
21           A.      I see that.
22           Q.      And then if you look down at the
23    bottom of the page, what does that say?                        There is
24    some handwriting that is stamped there.
25           A.      It says, "Canceled - declared

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                                                                            Page 255
 1    noncitizen August 12, 2015."
 2           Q.      And was that notation on this document
 3    when you received it from Prince William County?
 4           A.      I believe it was, yes.
 5           Q.      I would like you to look, please, now
 6    at Alien Invasion II, which is the mother of all
 7    deposition exhibits.
 8           A.      Okay.     It's Exhibit 11?
 9           Q.      Exhibit 11, yes.                 Thank you.
10           A.      Okay, I have that in front of me.
11           Q.      There is a page of this document that
12    has a tab on it, or at least it did on mine, that
13    is a report that says up top "Commonwealth of
14    Virginia Department of Elections Cancellation -
15    Declared Noncitizen, 059 Fairfax County."                       Can
16    you find that?
17           A.      Is that page 99 of 486?
18           Q.      The one I'm looking at actually is
19    page 100 of 486.
20           A.      I'm looking at page 100.
21           Q.      And do you see Eliud Bonilla's name on
22    that?
23           A.      I do.     It's at the bottom.
24           Q.      And under the cancel type, what does
25    it say there?

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                                                                          Page 256
 1           A.      It says declared noncitizen.
 2           Q.      And the date of this report is
 3    March 20, 2017.          That's what it says in the upper
 4    right-hand corner.            Is that right?
 5           A.      That's right.
 6                   MR. TEPE:          Objection to form.
 7                   MR. LOCKERBY:              And what's the basis
 8           for the objection?
 9                   MR. TEPE:          You said the date of the
10           report.     The date of the report is actually
11           at the bottom.
12    BY MR. LOCKERBY:
13           Q.      If you look at -- in the upper
14    right-hand corner, it says start date 1/1/2011.
15    Is that right?
16           A.      Yes.
17           Q.      And do you see an end date that says
18    3/2/2017?
19           A.      Yes, I do.
20           Q.      And then at the bottom it says
21    generated on 3/23/2017.                 Do you see that?
22           A.      I see that.
23           Q.      Now, before PILF published Alien
24    Invasion II, did you inquire of Commissioner
25    Cortes of what the significance was of someone

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                                                                              Page 257
 1    being listed on this report that says
 2    "cancellation - declared noncitizen"?
 3                   MR. TEPE:        Objection to form.             Vague.
 4                   THE WITNESS:           I believe he volunteered
 5           that information in an e-mail.
 6    BY MR. LOCKERBY:
 7           Q.      Do you recall receiving an e-mail from
 8    Commissioner Cortes on that subject?
 9                   MR. TEPE:        Objection to form.             Vague.
10                   THE WITNESS:           Yes, I do.
11    BY MR. LOCKERBY:
12           Q.      I'm going to show you a document that
13    has been filed in the Eastern District of
14    Virginia in this case as Docket Number 66-2.
15    It's one page.
16                   MR. LOCKERBY:            If you would like, we
17           can take a break and I can get it right now.
18           It's Exhibit B to PILF's answer, but I don't
19           have a hard copy.
20                   MR. TEPE:        What is it?
21                   MR. LOCKERBY:            It's an e-mail from
22           Edgardo Cortes to Noel Johnson and Shawna
23           Powell dated April 4, 2017.
24                   MR. TEPE:        Is it what's already here?
25                   MR. LOCKERBY:            No.      It's a different

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                                                                              Page 258
 1           e-mail that same date.
 2                   MR. TEPE:        Yeah, if we can get a copy.
 3                   MR. LOCKERBY:            Why don't we all e-mail
 4           it to Andrew and we can take a short break
 5           and get a copy.
 6                   MR. TEPE:        Appreciate that.
 7                   THE VIDEOGRAPHER:                We are going off
 8           the record.       The time is 4:33 p.m.
 9                   (Recess taken.)
10                   THE VIDEOGRAPHER:                We are back on the
11           record.     The time is 4:33 p.m.
12    BY MR. LOCKERBY:
13           Q.      VVA Exhibit 39, the April 4, 2017,
14    10:04 a.m. e-mail from Mr. Cortes in the third
15    sentence it says:          "This report shows individuals
16    that were canceled due to self-reported as
17    noncitizen status and failed to complete an
18    affirmation of citizenship in the allotted time
19    frame and continued to be in canceled status.                      If
20    an individual was previously canceled and then
21    subsequently affirmed citizenship and was
22    reregistered, they would no longer appear on this
23    report because they would now be on active
24    status."
25                   What was your understanding of that

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                                                                          Page 259
 1    communication from Mr. Cortes?
 2                   MR. TEPE:        Objection.            Calls for a
 3           narrative.      Vague.
 4                   THE WITNESS:           My understanding was
 5           that the statewide VERIS report that he sent
 6           us, if an individual appeared on that
 7           report, they were on that report due to
 8           their self-reported noncitizen status and
 9           failed to complete an affirmation of
10           citizenship in the allotted time frame, and
11           that anyone listed on that report continued
12           to be in canceled status.
13    BY MR. LOCKERBY:
14           Q.      So based on that e-mail, what, if
15    anything, did you conclude with respect to Eliud
16    Bonilla who is identified on page 100 of 486 of
17    Exhibit 7 to the Alien Invasion report?
18                   MR. TEPE:        Objection to form.
19           Foundation.
20                   THE WITNESS:           He was -- by his
21           inclusion in this list, he was subject to
22           that explanation that Mr. Cortes gave,
23           namely that he had self-reported his
24           noncitizen status, failed to complete an
25           affirmation of citizenship in the allotted

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                                                                          Page 260
 1           time frame, and continued to be in canceled
 2           status.
 3    BY MR. LOCKERBY:
 4           Q.      Elsewhere within the VERIS report
 5    that's part of Exhibit 11 to your deposition
 6    there should be a tab that has Luciania Freeman's
 7    name on it.       I believe it's on page 258 of 486.
 8           A.      Is that the very last tab?
 9           Q.      I don't think that it is.
10           A.      You said the application of Luciania
11    Freeman?
12           Q.      No, it's not an application of
13    Luciania Freeman.          It is part of the VERIS
14    report.
15           A.      Sorry.      Page 258?
16           Q.      Page 258 of 486.                 Are you with me?
17           A.      I'm looking at 258.                  Yes.
18           Q.      Based on Mr. Cortes' e-mail to you on
19    Tuesday, April 4, 2017, what, if anything, did
20    you conclude about the fact that Luciania Freeman
21    was listed on that particular page?
22                   MR. TEPE:        Objection to form.
23           Foundation.
24                   THE WITNESS:           That her inclusion on
25           this list meant she was subject to the

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                                                                                 Page 261
 1           explanation Mr. Cortes gave, namely that she
 2           was someone who self-reported her
 3           noncitizenship status, failed to complete an
 4           affirmation of citizenship in the allotted
 5           time frame, and continued to be in canceled
 6           status.
 7    BY MR. LOCKERBY:
 8           Q.      Later on in Exhibit 11 there is
 9    another tab that is on a document that has the
10    number PILF 00050 in the bottom right-hand
11    corner.
12           A.      Okay, I'm looking at that page.
13           Q.      And on this particular document
14    Mr. Bonilla has checked the box "Yes," "Are you a
15    citizen of the United States?"                       Do you see that?
16           A.      Yes.
17           Q.      But on the same page it does say
18    canceled - declared noncitizen 5/3/2012.                         Is that
19    right?
20           A.      Yes, that language appears directly
21    below his signature.
22           Q.      And then if you look at another tabbed
23    page within Exhibit 11 -- this one unfortunately
24    does not have a number on it.                      It's a voter
25    application -- a voter registration application

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                                                                                 Page 262
 1    for Luciania Freeman.
 2           A.      Yes, I'm looking at that page.
 3           Q.      And on this voter application back in
 4    2008, Ms. Freeman has checked the box "Yes" to
 5    "Are you a citizen of the United States?"                         Do you
 6    see that?
 7                   MR. TEPE:        Did we already go through
 8           this?
 9                   MR. LOCKERBY:            We did, yes.           I'm
10           setting a predicate.              It's a segue question.
11                   MR. TEPE:        So it's okay now, a segue
12           question.
13                   THE WITNESS:           She checked the box
14           "Yes," I'm a United States citizen.
15    BY MR. LOCKERBY:
16           Q.      But at the bottom of the page it says
17    "canceled - declared noncitizen August 12, 2015,"
18    correct?
19                   MR. TEPE:        Asked and answered.
20                   THE WITNESS:           Yes, it does.
21    BY MR. LOCKERBY:
22           Q.      To be registered in the commonwealth
23    of Virginia, as you understood it, a voter had to
24    have checked the box "Yes" when registering to
25    vote, correct?

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                                                                                     Page 263
 1           A.      I believe that's a requirement.                         But
 2    in practice that's not always what happened.                              By
 3    that I mean some people that checked "No" were
 4    still registered to vote.
 5           Q.      But by and large, the majority of
 6    voters that later showed up as canceled
 7    noncitizen had originally checked the box "Yes."
 8    Isn't that right?
 9           A.      Yes.
10           Q.      And the fact that a voter checked the
11    box "Yes" did not mean the voter necessarily was
12    a citizen of the United States.                        Is that right?
13                   MR. TEPE:          Objection to form.                  Lacks
14           foundation.
15                   THE WITNESS:             That's my understanding.
16    BY MR. LOCKERBY:
17           Q.      If you look in Alien Invasion II, the
18    body of the report that's been marked as Exhibit
19    11 itself, at the bottom of page 13, do you see
20    there is a footnote 69?
21           A.      I see that.
22           Q.      And then if you look after the
23    conclusion of the report -- I said footnote.
24    It's actually technically end note.                              End note 69
25    says the voter registration applications are

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                                                                            Page 264
 1    produced in Exhibit 12.
 2                   Do you see that?
 3           A.      I see that.
 4           Q.      And then if you read the sentence
 5    before the end note, it says:                    "For the remaining
 6    702 noncitizen registrants getting on the voter
 7    rolls was as easy as checking yes to the
 8    citizenship question."
 9                   That's what it says, right?
10           A.      That's what it says.
11           Q.      And it doesn't say that the registrant
12    was not telling the truth when he or she checked
13    the box "Yes," does it?
14                   MR. TEPE:        Objection to form.
15           Leading.
16                   THE WITNESS:           It does not say that.
17    BY MR. LOCKERBY:
18           Q.      And in fact was it true that for the
19    remaining 702 noncitizen registrants getting on
20    the voter rolls was as easy as checking "Yes" to
21    the citizenship question?
22                   MR. TEPE:        Objection to form.
23                   THE WITNESS:           That is true.
24    BY MR. LOCKERBY:
25           Q.      I would like you to look, please, at

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                                                                           Page 265
 1    what's been marked as Exhibit 31 to your
 2    deposition.
 3           A.      Okay, I'm looking at Exhibit 31.
 4           Q.      At the bottom of Exhibit 31 there is
 5    an e-mail from a Tierney Sneed of Talking Points
 6    Memo.    Do you know who she is?
 7           A.      I don't know who she is.
 8           Q.      Do you know anything about this
 9    publication Talking Points Memo that she says she
10    works for or with?
11                   MR. LOCKERBY:             Objection to form.
12                   THE WITNESS:            I only know that it's a
13           website.
14    BY MR. LOCKERBY:
15           Q.      And as of Ms. Sneed's e-mail, had PILF
16    itself actually seen the lawsuit in which you're
17    now testifying?
18                   MR. TEPE:         Objection to form.
19                   THE WITNESS:            Had we seen the
20           complaint at the time of this e-mail?
21    BY MR. LOCKERBY:
22           Q.      Yes, sir.
23           A.      No.
24           Q.      In fact, she mentions a lawsuit being
25    filed in federal court today.                     Do you see that?

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                                                                               Page 266
 1           A.      I see that.
 2           Q.      So you don't have any idea how this
 3    alleged reporter obtained the complaint or had
 4    caught wind of it, or wing of it as she put it,
 5    before it was filed, do you?
 6                   MR. TEPE:        Objection to form.
 7                   THE WITNESS:           I don't know.
 8    BY MR. LOCKERBY:
 9           Q.      Now, at the top of the page
10    Mr. Vanderhulst mentions that he was surprised it
11    hasn't happened sooner, a lawsuit or an IRS
12    complaint or something.
13                   Have you yourself ever worked
14    representing clients in connection with
15    tax-exempt status?
16                   MR. TEPE:        Objection to form.             Outside
17           the scope of the deposition.
18                   THE WITNESS:           Yes, I have.
19    BY MR. LOCKERBY:
20           Q.      And have you worked on litigation in
21    which an entity's tax-exempt status has been,
22    shall we say, held up at the IRS?
23                   MR. TEPE:        Objection to form.
24           Leading.     Outside the scope.
25                   THE WITNESS:           Yes, I have.

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                                                                          Page 267
 1    BY MR. LOCKERBY:
 2           Q.      Well, I certainly wouldn't want to
 3    lead you, so let me rephrase the question.
 4                   Have you worked on litigation
 5    involving -- or when you worked on litigation
 6    involving tax-exempt status, what was the nature
 7    of that litigation?
 8                   MR. TEPE:        Objection to the form.
 9           Outside the scope.
10                   THE WITNESS:           It involved an entity
11           that was targeted by the IRS in a so-called
12           IRS targeting scandal involving Lois Lerner
13           and others.
14    BY MR. LOCKERBY:
15           Q.      And what was or were the entity or
16    entities that were part of the IRS targeting
17    scandal, as you use that term?
18                   MR. TEPE:        Objection; outside the
19           scope.
20                   THE WITNESS:           Could you rephrase the
21           question?
22    BY MR. LOCKERBY:
23           Q.      What entity or entities had allegedly
24    been targeted by the IRS?
25                   MR. TEPE:        Same objection.

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                                                                          Page 268
 1                   THE WITNESS:           We represented an
 2           organization called True the Vote.
 3    BY MR. LOCKERBY:
 4           Q.      And who were the defendants in that
 5    litigation?
 6           A.      The IRS, the commissioner of the IRS,
 7    Lois Lerner and various IRS employees, and the
 8    chief counsel for the IRS.
 9           Q.      And what was the nature of the
10    allegations in that litigation?
11                   MR. TEPE:        Objection; outside the
12           scope.
13                   THE WITNESS:           Our client alleged that
14           her constitutional rights were violated in
15           the processing of her tax-exempt status.
16           The organization she headed, I should say.
17    BY MR. LOCKERBY:
18           Q.      And were there any congressional
19    investigations in connection with what you refer
20    to as the IRS scandal?
21           A.      Yes, there were.
22           Q.      Were there any reports issued by the
23    U.S. Congress in connection with that?
24           A.      Yes, there were.
25           Q.      And what report or reports were those,

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                                                                          Page 269
 1    if you call?
 2           A.      Well, I recall a report issued by the
 3    inspector general for tax administration.
 4                   MR. TEPE:        I'm going to make a running
 5           objection to this line of questioning.
 6    BY MR. LOCKERBY:
 7           Q.      And in view of that experience, would
 8    you yourself have been surprised if there had
 9    been some kind of complaint with the IRS
10    involving PILF?
11           A.      No, I would not have been surprised.
12           Q.      Would you have been surprised or were
13    you surprised that there might be a lawsuit
14    against PILF resulting from publication of the
15    Alien Invasion reports?
16                   MR. TEPE:        Objection to form.
17           Speculation.
18                   THE WITNESS:           I was surprised that
19           there was a lawsuit.
20    BY MR. LOCKERBY:
21           Q.      When you received this e-mail from
22    Logan Churchwell at 10:06 a.m., Thursday, April
23    12, 2018, you replied five minutes later
24    according to this.          Right?
25           A.      Correct.

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                                                                             Page 270
 1           Q.      And you wrote, quote:                  "Allison Riggs
 2    is lead counsel you think?"
 3                   What do you mean by that?
 4           A.      I knew Allison Riggs to be involved
 5    with the Southern Coalition for Social Justice,
 6    who we knew had contacted at least Ms. Rosen
 7    about her name or her records being included in
 8    the Alien Invasion appendix.
 9           Q.      And in fact, when you saw the
10    complaint, did you see Allison Riggs' name and
11    organization's name as being among the
12    plaintiffs?
13           A.      I believe so.
14                   MR. TEPE:        Objection to form.
15           Misstates the complaint.
16    BY MR. LOCKERBY:
17           Q.      As of April 12, 2018, were you aware
18    of the involvement of Justin Levitt contacting
19    individuals identified in the exhibits to the
20    Alien Invasion reports?
21                   MR. TEPE:        Objection to form.
22                   THE WITNESS:           As of what date?
23    BY MR. LOCKERBY:
24           Q.      April 12, 2018.
25           A.      I was not aware of Mr. Levitt's

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                                                                          Page 271
 1    involvement at that time.
 2           Q.      When did you become aware of
 3    Mr. Levitt's involvement?
 4                   MR. TEPE:        Objection to form.
 5                   THE WITNESS:           Through production of
 6           discoverable material as a result of this
 7           lawsuit.
 8    BY MR. LOCKERBY:
 9           Q.      If you could look back, please, at
10    what was marked as Exhibit 13 to your deposition.
11    While you're at it, perhaps if you could pull
12    Exhibit 14 and Exhibit 15 as well.
13           A.      I'm looking at Exhibit 13.
14           Q.      And Exhibits 13, 14 and 15 are e-mails
15    from the registrar of York County, correct?
16           A.      Correct.
17           Q.      And the date of all three e-mails is
18    November 22, 2016.          Is that right?
19           A.      Correct.
20           Q.      And as of the date of these e-mails,
21    had PILF received reports from the VERIS system
22    from the Department of Elections or any
23    jurisdiction in the Commonwealth of Virginia?
24                   MR. TEPE:        Objection to form.
25                   THE WITNESS:           Yes, some jurisdictions

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                                                                               Page 272
 1           had provided VERIS reports, but not the
 2           Department of Elections.
 3    BY MR. LOCKERBY:
 4           Q.      And the Department of Elections had
 5    previously advised registrars not to provide the
 6    records that PILF was requesting.                       Is that right?
 7                   MR. TEPE:        Objection; form.
 8                   THE WITNESS:           Correct.
 9    BY MR. LOCKERBY:
10           Q.      And as of November 22, 2016, did you
11    understand York County to be complying with the
12    Department of Elections' directive not to provide
13    a list of voters canceled because of a
14    declaration of noncitizenship?
15                   MR. TEPE:        Objection to form.
16                   THE WITNESS:           That's what he states in
17           one of his e-mails.
18    BY MR. LOCKERBY:
19           Q.      Did you have any understanding as to
20    whether the documents being provided by York
21    County were responsive to the request that PILF
22    had previously made to York County and other
23    jurisdictions?
24                   MR. TEPE:        Objection to form.
25                   THE WITNESS:           Yes.       It was my

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                                                                                 Page 273
 1           understanding that the records he was
 2           providing were responsive to our request.
 3    BY MR. LOCKERBY:
 4           Q.      I would like you to look now, please,
 5    at Exhibit 17.
 6           A.      I'm looking at Exhibit 17.
 7           Q.      And the date is May 17, 2017.                     Is that
 8    right?
 9           A.      May 26, 2017.
10           Q.      What's the --
11                   Can you look, please, at the document
12    that's marked VVA Deposition Exhibit 26, which is
13    dated May 17, 2017.             I can simply show it to you
14    if you can't find it.               It might speed things up.
15                   That was an e-mail from you back in
16    May 2017, correct?
17           A.      Yes.
18           Q.      And as of the date of the e-mail, had
19    PILF previously hoped to publish Alien Invasion
20    II before May of 2017?
21                   MR. TEPE:          Objection; foundation.
22                   THE WITNESS:             I don't recall.
23    BY MR. LOCKERBY:
24           Q.      I would like you to look now, please,
25    at what's previously been marked as Exhibit 38.

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                                                                          Page 274
 1           A.      I'm looking at Exhibit 38.
 2           Q.      And you see there is a column in
 3    Exhibit 38 that says "Registration Status."
 4           A.      I see that.
 5           Q.      And it says either -- it says canceled
 6    or active or inactive.               Is that right?
 7           A.      I see entries marked with each of
 8    those, yes.
 9           Q.      And from this document, could you tell
10    which voters had had their registrations canceled
11    based on noncitizen status?
12           A.      No.
13                   MR. TEPE:         Objection; form.
14                   THE WITNESS:            No, I cannot tell.
15    BY MR. LOCKERBY:
16           Q.      Had PILF requested information about
17    voters whose registrations had been canceled
18    because they were dead or moved to Nebraska or
19    anything like that?
20                   MR. TEPE:         Objection to form.
21                   THE WITNESS:            No.
22    BY MR. LOCKERBY:
23           Q.      What reasons for cancellation was
24    PILF's request directed to?
25           A.      For reasons of non-United States

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                                                                                  Page 275
 1    citizenship.
 2                   MR. LOCKERBY:            All right.             Thank you.
 3           I have no further questions.
 4                               EXAMINATION
 5    BY MR. TEPE:
 6           Q.      Mr. Johnson, the document you were
 7    just looking at that was marked as Exhibit 38.
 8           A.      I have it in front of me.
 9           Q.      The cover e-mail of Mr. Cortes states
10    that the spreadsheet that was attached which
11    notes whether or not someone has a canceled
12    registration status pertains to those voters who
13    were sent correspondence on potential
14    noncitizenship by local registrars.                            Is that
15    right?
16                   MR. LOCKERBY:            Object to the form.
17                   MR. TEPE:        What's the basis?
18                   MR. LOCKERBY:            Pardon me?
19                   MR. TEPE:        What's the basis?
20                   MR. LOCKERBY:            The document speaks for
21           itself.
22                   MR. TEPE:        Let me start again.
23    BY MR. TEPE:
24           Q.      Mr. Lockerby was asking you a couple
25    of questions about Exhibit 38, correct?

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                                                                              Page 276
 1           A.      Yes.
 2           Q.      And he asked you about the
 3    registration status column.                       Is that right?
 4           A.      He did.
 5           Q.      And he suggested that this report
 6    wouldn't tell you the reason for someone's
 7    cancellation.       Is that correct?
 8                   MR. LOCKERBY:              Objection.
 9                   THE WITNESS:             I stated that the report
10           does not tell me the reason for the
11           cancellation.
12    BY MR. TEPE:
13           Q.      Now, if you go to the cover e-mail of
14    Mr. Cortes --
15           A.      I'm looking at it.
16           Q.      He tells you that those individuals
17    listed were sent correspondence concerning their
18    citizenship status.             Is that right?
19           A.      Is there a particular sentence you're
20    referring to?
21           Q.      Yeah.       The first sentence.                    "On
22    September 16, the Department of Elections offered
23    to create a customized report containing
24    information available in our statewide voter
25    registration system related to correspondence

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 1    sent to potential noncitizens by local general
 2    registrars."
 3                   Do you see that?
 4           A.      I see that.
 5           Q.      And one of the fields is the date the
 6    correspondence regarding potential noncitizenship
 7    was sent, right?
 8           A.      That's one of the fields.
 9           Q.      And one of the fields is the date the
10    response -- whether or not the person responded
11    to correspondence.          Is that right?
12           A.      Correct.
13           Q.      So this is not a report regarding
14    individuals who were canceled because of felony
15    status, correct?
16                   MR. LOCKERBY:            Object to the form of
17           the question.        The document speaks for
18           itself and it's contrary to evidence in the
19           record.
20                   MR. TEPE:        I don't appreciate your
21           interpretation of evidence in the record.
22                   MR. LOCKERBY:            Actually it's not my
23           interpretation.          It's the sworn testimony of
24           Edgardo Cortes, commissioner of the Virginia
25           Department of Elections.

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                                                                               Page 278
 1                   MR. TEPE:        It is your interpretation
 2           of the testimony of Edgardo Cortes, and I
 3           appreciate you declining from your speaking
 4           objections.
 5                   THE WITNESS:           Nothing in the attached
 6           report gives a reason any one of those
 7           individuals was canceled.
 8    BY MR. TEPE:
 9           Q.      So my question was this is not a
10    report regarding individuals who are canceled
11    because of felony status, correct?                         That was my
12    question.      Right?
13           A.      I don't know if any of these
14    individuals were canceled for felony status.
15           Q.      Right.      Because Mr. Cortes didn't send
16    you a report generated based on citizenship -- he
17    did not send you a report based on felony status,
18    correct?
19                   MR. LOCKERBY:            Object to the form.
20                   THE WITNESS:           Again, I think what he
21           says is in the report.                   It speaks for
22           itself.
23    BY MR. TEPE:
24           Q.      He sent you a report that lists people
25    who were sent correspondence about potential

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                                                                          Page 279
 1    noncitizenship, correct?
 2           A.      Correct.
 3           Q.      And the report provides current
 4    registration status for those individuals,
 5    correct?
 6           A.      Correct.
 7           Q.      Some were in active status, right?
 8           A.      Yes.
 9           Q.      And some were in canceled status?
10           A.      Correct.
11           Q.      But all of these individuals were sent
12    correspondence regarding their citizenship,
13    correct?
14           A.      That's what Mr. Cortes says, yes.
15           Q.      Now, am I understanding your testimony
16    that this report was not sufficient because
17    possibly some of these individuals who were
18    canceled for failure to provide an affirmation of
19    citizenship later died?
20           A.      That's one of the possible reasons
21    that it's not sufficient.                  It's also not what we
22    asked for.
23           Q.      You asked for documents pertaining to
24    individuals who were canceled due to potential
25    noncitizenship, correct?

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                                                                          Page 280
 1           A.      At this point in time Mr. Cortes knew
 2    we were asking for the VERIS reports because he
 3    instructed his county officials not to give us
 4    those reports.
 5           Q.      Right.        And you testified earlier that
 6    you wanted those VERIS reports, correct?
 7           A.      Yes.
 8           Q.      Right.        And you wanted those VERIS
 9    reports because they had the notation "declared
10    noncitizen" on it, correct?
11           A.      That, and that they were generated
12    from the VERIS system.
13           Q.      Right.        But having a report generated
14    from the VERIS system wasn't sufficient for
15    PILF's purposes, correct?                  Because he generated a
16    custom report which you rejected, correct?
17           A.      We --
18                   MR. LOCKERBY:              Objection; asked and
19           answered repeatedly.
20                   THE WITNESS:             We did not reject this
21           report.     We said it was not sufficient to
22           satisfy our records request.
23    BY MR. TEPE:
24           Q.      Because PILF wanted reports that said
25    "declared noncitizenship" on it, correct?

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                                                                          Page 281
 1                   MR. LOCKERBY:              Object to the form.
 2                   THE WITNESS:             The reports we wanted
 3           said "declared noncitizenship" on them, yes.
 4    BY MR. TEPE:
 5           Q.      And these were reports of voter
 6    registration cancellation, correct?
 7           A.      Yes.
 8           Q.      These were not reports adjudicating
 9    people's citizenship, correct?
10                   MR. LOCKERBY:              Object to the form.
11           Asked and answered repeatedly now.
12                   THE WITNESS:             Again, the way that they
13           are compiled means, according to Mr. Cortes,
14           that the individual stated under oath that
15           they are not a citizen.
16    BY MR. TEPE:
17           Q.      And also these records were compiled
18    after citizens stated under oath that they were a
19    citizen by getting onto the voter registration
20    application -- voter rolls, correct?
21           A.      Can you repeat the question?
22           Q.      And these records were also compiled
23    after citizens stated under oath that they were
24    U.S. citizens in order to get on the voter rolls,
25    correct?

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                                                                          Page 282
 1           A.      At some point in time they were added
 2    to the voter rolls.             I don't know if each one of
 3    them indicated at that time they were a citizen.
 4           Q.      Well, you had looked at 764 voter
 5    registration applications, correct?
 6           A.      Yes.
 7           Q.      And 702 of those had the applicants
 8    checking "Yes," they were a citizen.
 9           A.      Yes.
10           Q.      And so do you not believe they're
11    checking that they are U.S. citizens?
12           A.      Well, I can see that on the
13    application that they checked "Yes," if that's
14    what you're asking.
15           Q.      But you said before that certain
16    people, to your knowledge, got onto the VERIS
17    reports because they checked "No," they were not
18    a citizen, and you made the emphasis that it was
19    under oath, correct?
20           A.      Well, they didn't get onto the VERIS
21    report.     They got onto the voter roll.
22           Q.      No.     My question was you testified
23    earlier that people at the DMV checked "No" with
24    regard to citizenship, correct?
25           A.      Yes.

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                                                                               Page 283
 1           Q.      And that's how they got onto the VERIS
 2    reports, correct?
 3           A.      People that were already on the voter
 4    roll subsequently checked "No"?                       That may be one
 5    way that they are flagged as noncitizens, yes,
 6    sir.
 7           Q.      So these individuals had checked "Yes"
 8    to get on the rolls, and then potentially checked
 9    "No" at the DMV, which triggered a cancellation?
10           A.      Yeah, that's a possible process.                   Yes.
11           Q.      And the State of Virginia has not
12    adjudicated whether or not these individuals are
13    citizens, correct?
14           A.      Right.       As far as I understand it, the
15    list is compiled based on the sworn statements of
16    the applicant.
17           Q.      Is it the case that you want to
18    believe that these individuals are not citizens?
19           A.      No.    The records reflect what they
20    reflect.
21           Q.      Right.       And so you had records
22    reflecting in one case citizenship and in one
23    case potentially noncitizenship, correct?
24           A.      Yes, there could be that case.
25           Q.      And in that case you don't know if

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                                                                          Page 284
 1    these individuals are or are not citizens,
 2    correct?
 3           A.      I can take them at their word for what
 4    they say on the form.
 5           Q.      Which form?
 6           A.      What do you mean, which form?
 7           Q.      You have two forms, one saying
 8    citizenship, one potentially saying
 9    noncitizenship.        Which one are you taking them at
10    their word for?
11           A.      Well, the subsequent registration is
12    the more recent in time.
13           Q.      So you were choosing to believe that
14    form over another form?
15           A.      I'm not choosing to believe anything.
16           Q.      You're not?
17           A.      The Department of Elections or the
18    county registrar is the one who makes that
19    determination.
20           Q.      And all they do is actually just send
21    a notice of intent to cancel to voters who they
22    have conflicting information about and then tell
23    people to affirm their citizenship if they are in
24    fact citizens, correct?
25           A.      Well, not every case is going to have

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                                                                          Page 285
 1    conflicting information.                 Like I said, we have
 2    people who checked "No" on their original
 3    application and still registered to vote.
 4           Q.      And Alien Invasion II is not limited
 5    to those people, correct?
 6           A.      No.
 7           Q.      Alien Invasion II calls 5562 people
 8    noncitizens even though you have information that
 9    at least 702 of them had said yes, they're a
10    citizen, correct?
11           A.      No.    It's based on their inclusion in
12    the VERIS report that says "declared noncitizen"
13    next to their name.
14           Q.      Right.       And so that is the report that
15    you want to believe, correct?
16                   MR. LOCKERBY:             Object to the form.
17                   THE WITNESS:            It's the report on which
18           the report relies, yes.
19    BY MR. TEPE:
20           Q.      And so you never called Luciania
21    Freeman even though you had records indicating
22    that she checked "Yes," that she was a citizen,
23    correct?
24           A.      We never called Luciania Freeman.
25           Q.      And you never called Eliud Bonilla,

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                                                                            Page 286
 1    correct?
 2           A.      Not to my knowledge.
 3           Q.      And yet you called them in Alien
 4    Invasion II noncitizens, correct?
 5                   MR. LOCKERBY:            Objection.
 6                   THE WITNESS:           They are -- they are
 7           included in the report under all of the data
 8           that is in there.            They are two of those
 9           people.
10                   THE VIDEOGRAPHER:                Excuse me, counsel.
11           Your mic.
12    BY MR. TEPE:
13           Q.      Mr. Lockerby asked you questions about
14    what was marked as VVA Deposition Exhibit 39.
15           A.      He did.
16           Q.      You asked Mr. Cortes a question at
17    3:01 p.m. on March 28th.
18           A.      My e-mail on that day includes a
19    question, yes.
20           Q.      You didn't ask Mr. Cortes for a
21    definition of what declared noncitizen means, did
22    you?
23           A.      No, not in that e-mail.
24           Q.      Did Mr. von Spakovsky -- Strike that.
25                   Who is Hans von Spakovsky?

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                                                                          Page 287
 1           A.      He is a board member of the
 2    foundation.
 3           Q.      To your recollection, did he opine on
 4    the content of either of the Alien Invasion
 5    reports before they were published?
 6           A.      I believe he did, yes.
 7                   MR. TEPE:        Nothing further from me.
 8                               EXAMINATION
 9    BY MR. LOCKERBY:
10           Q.      Just briefly, if the Commonwealth of
11    Virginia wanted to determine which sworn
12    statement is true where voters checked "Yes" on
13    one form, I am a United States citizen, but "No"
14    on a DMV form, I'm not a United States citizen,
15    does the Commonwealth of Virginia, as far as you
16    know, have some documents that would help it make
17    that determination?
18                   MR. TEPE:        Objection to form.
19           Foundation.
20                   THE WITNESS:           The DMV could have
21           documents presented with a driver's license
22           application that would show whether the
23           person was a noncitizen, such as a copy of a
24           green card.
25    BY MR. LOCKERBY:

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                                                                                 Page 288
 1           Q.      And again, those are documents to
 2    which you, PILF, had access?
 3           A.      Correct.
 4                   MR. LOCKERBY:            Thank you.             I have no
 5           further questions.
 6                   THE VIDEOGRAPHER:                This marks the end
 7           of the deposition of Noel Johnson.                         We are
 8           going off the record.               The time is 5:15 p.m.
 9                   (Deposition adjourned at 5:15 p.m.)
10

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                                                                          Page 289
 1                   ACKNOWLEDGMENT OF DEPONENT
 2

 3           I, NOEL JOHNSON, have read or have had the
 4    foregoing testimony read to me and hereby certify
 5    that it is a true and correct transcription of my
 6    testimony with the exception of any attached
 7    corrections or changes.
 8

 9

10    ______________________________
11    NOEL JOHNSON
12    [ ] No corrections
13    [ ] Correction sheet(s) enclosed
14

15           SUBSCRIBED AND SWORN TO BEFORE ME, the
16    undersigned authority, by the witness, NOEL
17    JOHNSON, on this the _____ day of
18    ___________________, _______.
19

20

21

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                                                                          Page 290
 1                       C E R T I F I C A T E
 2

 3    DISTRICT OF COLUMBIA
 4                 I, JOHN L. HARMONSON, a Notary Public
 5    within and for the District of Columbia, do
 6    hereby certify:
 7                 That NOEL JOHNSON, the witness
 8    whose deposition is hereinbefore set forth, was
 9    duly sworn or affirmed by me and that such
10    deposition is a true record of the testimony
11    given by such witness.
12                 That if the foregoing pertains to a
13    federal case, before completion of the
14    proceedings, review and signature of the
15    transcript [x] was [ ] was not requested.
16                 I further certify that I am not related
17    to any of the parties to this action by blood or
18    marriage; and that I am in no way interested in
19    the outcome of this matter.
20                 IN WITNESS WHEREOF, I have hereunto set
21    my hand this 24th day of April, 2019.
22

23                             ______________________________
24                             JOHN L. HARMONSON, RPR
                               My commission expires: 11/14/20
25


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 1                           ERRATA SHEET
 2   Case Name:
 3   Deposition Date:
 4   Deponent:
 5   Pg.    No. Now Reads             Should Read            Reason
 6   ___    ___ __________            __________             ____________________
 7   ___    ___ __________            __________             ____________________
 8   ___    ___ __________            __________             ____________________
 9   ___    ___ __________            __________             ____________________
10   ___    ___ __________            __________             ____________________
11   ___    ___ __________            __________             ____________________
12   ___    ___ __________            __________             ____________________
13   ___    ___ __________            __________             ____________________
14   ___    ___ __________            __________             ____________________
15   ___    ___ __________            __________             ____________________
16   ___    ___ __________            __________             ____________________
17   ___    ___ __________            __________             ____________________
18   ___    ___ __________            __________             ____________________
19   ___    ___ __________            __________             ____________________
20

                                                      _____________________
21                                                    Signature of Deponent
22   SUBSCRIBED AND SWORN BEFORE ME
23   THIS ____ DAY OF __________, 2019.
24   ____________________
25   (Notary Public)         MY COMMISSION EXPIRES:__________

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